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 9
10
11
                                UNITED STATES DISTRICT COURT
12
                                     DISTRICT OF ALASKA
13
14    ALEUTIAN PRIBILOF ISLANDS                           Case No.: 3:18-cv-00294-SLG
      ASSOCIATION, INC.,
15                                                        COMPLAINT

16                                       Plaintiff,
                                                          JURY TRIAL DEMANDED
17    vs.
18    PURDUE PHARMA L.P.; PURDUE
19    PHARMA INC.; THE PURDUE
      FREDERICK COMPANY; RHODES
20    PHARMACEUTICALS, L.P; CEPHALON,
      INC.; TEVA PHARMACEUTICAL
21    INDUSTRIES, LTD.; TEVA
22    PHARMACEUTICALS USA, INC;
      JANSSEN PHARMACEUTICALS, INC.;
23    ORTHO-MCNEIL-JANSSEN
      PHARMACEUTICALS, INC. N/K/A
24    JANSSEN PHARMACEUTICALS, INC.;
25    JANSSEN PHARMACEUTICA, INC.
      N/K/A JANSSEN PHARMACEUTICALS,
26    INC.; NORAMCO, INC.; ENDO HEALTH
      SOLUTIONS INC.; ENDO
27


     COMPLAINT

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 1    PHARMACEUTICALS INC.; ENDO
      INTERNATIONAL PLC; PAR
 2    PHARMACEUTICAL, INC.; PAR
      PHARMACEUTICALS COMPANIES,
 3
      INC. F/K/A PAR PHARMACEUTICAL
 4    HOLDINGS, INC.; ALLERGAN PLC
      F/K/A ACTAVIS PLC; ALLERGAN
 5    FINANCE LLC, F/K/A ACTAVIS, INC.,
      F/K/A WATSON PHARMACEUTICALS,
 6
      INC.; WATSON LABORATORIES, INC.;
 7    ACTAVIS LLC; ACTAVIS PHARMA,
      INC. F/K/A WATSON PHARMA, INC.;
 8    INSYS THERAPEUTICS, INC.;
      MALLINCKRODT PLC;
 9
      MALLINCKRODT, LLC; SPECGX LLC;
10    ABBOTT LABORATORIES; ABBOTT
      LABORATORIES, INC; AMNEAL
11    PHARMACEUTICALS, INC F/K/A
      AMNEAL PHARMACEUTICALS, LLC;
12
      KVK-TECH, INC.; MCKESSON CORP.;
13    CARDINAL HEALTH, INC.; CARDINAL
      HEALTH 110, LLC;
14    AMERISOURCEBERGEN CORP.; ANDA,
      INC.; ANDA PHARMACEUTICALS,
15    INC.; HENRY SCHEIN, INC.; HENRY
16    SCHEIN MEDICAL SYSTEMS, INC.; and
      JOHN & JANE DOES 1-100 INCLUSIVE,
17
                              Defendants.
18
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     COMPLAINT

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     COMPLAINT - iii


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 1
         I.       INTRODUCTION
 2
                  1.       An epidemic of opioid abuse is devastating the United States. Opioid
 3
 4   analgesics are widely diverted and improperly used, and the widespread abuse of opioids has

 5   resulted in a national epidemic of opioid overdose deaths and addictions.1 The opioid epidemic
 6
     is “directly related to the increasingly widespread misuse of powerful opioid pain medications.”2
 7
                  2.       The cause of this epidemic and the conditions for its acceleration were
 8
     intentionally brought about by Defendants, who manufacture and distribute prescription opioids
 9
10   and who have made billions of dollars off the epidemic. The Defendants’ unlawful marketing,

11   sales, and distribution of prescription opioids resulted in the diversion, misuse, overdose and
12
     addiction described below.
13
                  3.       Opioids are now the leading cause of accidental death in the U.S., surpassing
14
     deaths caused by car accidents. Opioid overdose deaths (which include prescription opioids as
15
16   well as heroin) have risen steadily every year, from approximately 4,030 in 1999, to 15,597 in

17   2009, and to over 33,000 in 2015. In 2016, that toll climbed to 53,000. 3 The recent surge in
18   opioid-related deaths involves prescription opioids, heroin, and other synthetic opioids.
19
                  4.       More than half of all drug overdose deaths involve an opioid drug like those
20
     manufactured by Defendants,4 and the increase in overdoses from non-prescription opioids is
21
22   1
       See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain - Misconceptions and Mitigation
     Strategies, 374 N. Engl. J. Med. 1253 (2016), https://www.nejm.org/doi/full/10.1056/nejmra1507771 (last accessed
23   Nov. 14, 2018).
     2
       See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Engl. J. Med. 1480 (2016),
24   https://www.nejm.org/doi/full/10.1056/NEJMsr1601307 (last accessed Nov. 14, 2018).
     3
       Overdose Death Rates, NIH National Institute on Drug Abuse, https://www.drugabuse.gov/related-topics/trends-
25   statistics/overdose-death-rates (revised Aug. 2018).
     4
       Understanding the Epidemic, Centers for Disease Control and Prevention,
26   https://www.cdc.gov/drugoverdose/epidemic/index.html (last updated Aug. 30, 2017) (last accessed Nov. 14, 2018).
27


     COMPLAINT - 1


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 1   directly attributable to Defendants’ success in expanding the market for opioids of any kind. In

 2   2016, the number of overdose deaths involving opioids (including prescription opioids and
 3
     illegal opioids like heroin and illicitly manufactured fentanyl) was 5 times higher than in 1999.5
 4
                 5.       Communities throughout the State of Alaska have been devastated by the
 5
     opioid epidemic brought about by Defendants’ conduct. On February 14, 2017, the Governor of
 6
 7   the State of Alaska issued a Declaration of Disaster Emergency “in response to the growing

 8   number of overdoses attributed to opioid use,” declaring that “an outbreak and a condition of
 9
     public health disaster emergency exists statewide[.]”6
10
                 6.       In 2012, Alaska’s prescription opioid pain reliever overdose death rate was
11
     more than double the rate in the U.S. (10.5 vs. 5.1 per 100,000 persons, respectively), and
12
13   Alaska’s heroin-associated overdose death rate was over 50% higher than the national rate (3.0

14   vs. 1.9 per 100,000 persons, respectively).7
15               7.       In 2013, Alaska’s drug overdose death rate (14.4 per 100,000 persons)
16
     exceeded the national rate (13.8 per 100,000 persons).
17
                 8.       Further, “the impact of the opioid crisis on American Indians and Alaska
18
19   Natives is immense. The Centers for Disease Control and Prevention (CDC) reported that

20   American Indians and Alaska Natives had the highest drug overdose death rates in 2015 and the
21   largest percentage increase in the number of deaths over time from 1999-2015 compared to other
22
     5
23     Id.
     6
       Governor Bill Walker, State of Alaska Declaration of Disaster Emergency, https://gov.alaska.gov/wp-
24   content/uploads/sites/5/2017021417_Opioid-Disaster-Declaration.pdf.
     7
       State of Alaska Epidemiology Bulletin, DHHS, Drug Overdose Deaths in Alaska, 2009-2015, No. 6, March 24.
25   2016, http://www.epi.alaska.gov/bulletins/docs/b2016_06.pdf

26
27


     COMPLAINT - 2


               Case 3:18-cv-00294-SLG Document 1 Filed 12/17/18 Page 7 of 163
 1   racial and ethnic groups. During that time, deaths rose more than 500 percent among American

 2   Indians and Alaska Natives.”8
 3
                  9.      The opioid epidemic is devastating the people, institutions, and resources of
 4
     Alaska Native Tribes and tribal organizations throughout the State, which must shoulder the
 5
     burden of responding to the opioid epidemic through their governmental and social services. The
 6
 7   opioid epidemic is causing substantial loss of resources, economic damages, addiction,

 8   disability, and harm to the health and welfare of the Plaintiff, Aleutian Pribilof Islands
 9
     Association, Inc. (APIA), a tribal organization, the Tribes it represents, and their tribal Members
10
     (including newborn babies).
11
                  10.     Health care providers throughout the State of Alaska, including Alaska Native
12
13   tribal health organizations, have also faced overwhelming costs as a direct result of this public

14   health crisis. Plaintiff provides health care services to Alaska Natives, American Indians, and
15   other eligible individuals in the State of Alaska, and has suffered substantial loss of resources,
16
     economic damages, and increased costs in responding to the opioid epidemic.
17
                  11.     The effects of the opioid crisis have been exacerbated by Defendants’ efforts
18
19   to conceal or minimize the risks of—and to circumvent or ignore safeguards against—opioid

20   abuse. Instead of acting with reasonable care and in compliance with their legal duties, the
21   Defendants intentionally flooded the market with opioids and pocketed billions of dollars in the
22
     process.
23
24   8
      Cynthia Gunderson, The IHS Launches New Opioids Website, Indian Health Service,
     https://www.ihs.gov/newsroom/ihs-blog/july2018/the-ihs-launches-new-opioids-website/; Illicit Drug Use, Illicit
25   Drug Use Disorders, and Drug Overdose Deaths in Metropolitan and Nonmetropolitan Areas – United States, 66
     Morbidity and Mortality Wkly. Rep. 1, CDC (Oct. 20, 2017),
26   https://www.cdc.gov/mmwr/volumes/66/ss/pdfs/ss6619.pdf

27


     COMPLAINT - 3


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 1                12.     Defendants pursued a knowing, deliberate and deceptive campaign to

 2   persuade both doctors and patients that prescription opioids could and should be used long-term
 3
     to treat chronic pain, and that they posed a low risk of addiction. Those claims were false and
 4
     unsupported by scientific evidence,9 and Defendants were aware of that at the time they were
 5
     made. Nevertheless, through ongoing, fraudulent marketing, the Defendants transformed
 6
 7   medical thinking about opioids. Defendants convinced doctors that the risk of addiction was

 8   modest and manageable, and outweighed by the benefits in reduced pain and improved quality
 9
     of life for their patients; that it was safe to prescribe opioids previously used only for acute pain
10
     for long-term use; and that abuse-deterrent technology was effective in curbing opioid misuse
11
     and abuse.
12
13                13.     Moreover, the prescription drug industry is required by statute and regulation

14   to secure and monitor opioids at every step of the stream of commerce, thereby protecting opioids
15   from theft, misuse, and diversion. The industry is also supposed to implement processes to alert
16
     it to “red flags” that stop suspicious or unusual orders by pharmacies, doctors, clinics, or patients.
17
     Defendants utterly failed to meet these obligations with respect to the opioid drugs they sold and
18
19   distributed, despite their ability to do so.

20                14.     Defendants, through their actions, thus fueled the opioid epidemic for their
21   own financial gain, causing the United States as a whole, the State of Alaska, and the geographic
22
     region within the State served by the Plaintiff, in particular, to be flooded with opioids.
23
     Defendants created an environment where opioid diversion and abuse is rampant. Such diversion
24
25   9
      See Letter from Vivek H. Murthy, U.S. Surgeon General, August 2016, available at
     https://www.aafp.org/patient-care/public-health/pain-opioids/turn_the_tide.html
26
27


     COMPLAINT - 4


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 1   and abuse was an entirely foreseeable result of the Defendants’ actions in intentionally creating

 2   an inflated market for dangerously addictive drugs through, in part, concealing the risks of
 3
     addiction, and in shipping massive quantities of such drugs throughout the United States without
 4
     taking reasonable and necessary steps to prevent diversion and misuse.
 5
                15.     Defendants’ actions directly and foreseeably caused damages to the Plaintiff,
 6
 7   including but not limited to the costs of (a) providing medical and therapeutic care, and

 8   prescription drug purchases (including prescribing and administering opioids based on
 9
     Defendants’ widespread and pervasive campaign of misinformation); (b) treatment costs for
10
     patients suffering from opioid addiction or disease, overdose, or death, including unreimbursed
11
     costs; (c) counseling, treatment and rehabilitation services; (d) treatment of infants born with
12
13   opioid-related medical conditions; (e) lost opportunity costs; (f) increased human resource costs;

14   (g) the diversion of funding from other needed programs and services (h) welfare and foster care
15   for children whose parents suffer from opioid-related disability or incapacitation; (i) law
16
     enforcement and public safety relating to the opioid epidemic within the tribal communities; (j)
17
     funeral and burial services; and (k) increased costs for other social and governmental services.
18
19   The Plaintiff has also suffered substantial damages due to the lost productivity, increased

20   administrative costs, and the lost opportunities for tribal community growth and self-
21   determination. These damages have been suffered and continue to be suffered directly by the
22
     Plaintiff, who is specifically responsible for the provision of health care and related services to
23
     eligible populations at no cost or reduced cost, among other things.
24
25
26
27


     COMPLAINT - 5


             Case 3:18-cv-00294-SLG Document 1 Filed 12/17/18 Page 10 of 163
 1                   16.      The Plaintiff seeks injunctive relief, compensatory and statutory damages, as

 2   well as the means to abate the epidemic created by Defendants’ wrongful and/or unlawful
 3
     conduct.
 4
          II.        THE PARTIES
 5
                A.         The Plaintiff
 6
 7                   17.      Plaintiff is the tribal organization of the Aleut people in Alaska, with its

 8   principal place of business in Anchorage, AK. It was created by the merger of two predecessor
 9
     organizations: The Aleut League, formed in 1966, and the Aleutian Planning Commission,
10
     formed a few years later. APIA was chartered in 1976. Plaintiff represents 13 Tribes located in
11
     the Aleutian Islands, which extend westward over 1,100 miles from the southwestern corner of
12
13   the Alaska mainland, and include the Pribilof Islands, which lie to the north. This area is

14   distributed over an area of approximately 100,000 square miles.10
15                   18.      Plaintiff provides a broad range of governmental services, including health
16
     care services, to American Indians and Alaska Natives, and to other eligible individuals in the
17
     State of Alaska, pursuant to Titles IV and V of the Indian Self-Determination and Education
18
19   Assistance Act (ISDEAA), 25 U.S.C. §§ 5301, et seq. The ISDEAA authorizes tribes and tribal

20   organizations like the Plaintiff to enter into contracts and compacts to assume responsibility to
21
     10
       Plaintiff’s Member Tribes include: Agdaagux Tribal Council for the Agdaagux Tribe of King Cove; Akutan
22   Tribal Council for the Native Village of Akutan; Atka IRA Council for the Native Village of Atka; Belkofski Tribal
     Council for the Native Village of Belkofski; False Pass Tribal Council for the Native Village of False Pass; Nelson
23   Lagoon Tribal Council for the Native Village of Nelson Lagoon; Nikolski IRA Council for the Native Village of
     Nikolski; Pauloff Harbor Tribe; Qagan Tayagungin Tribe of Sand Point; Qawalangin Tribal Council for the
24   Qawalangin Tribe of Unalaska; St. George Traditional Council for the Pribilof Island Aleut Community of St.
     George; Tribal Government of St. Paul Island for the Pribilof Island Aleut Community of St. Paul; and Unga Tribal
25   Council for the Native Village of Unga.

26
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     COMPLAINT - 6


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 1   provide programs and services that the federal government would otherwise be obligated to

 2   provide for the benefit of American Indians and Alaska Natives.
 3
                  19.     In addition to federal funding, Plaintiff contracts with state and local
 4
     governments and secures private funding, on its own behalf and on behalf of the communities it
 5
     represents, to provide this broad spectrum of services. These services include health, education,
 6
 7   social, psychological, employment and vocational training, family services, public safety

 8   services, community development, environmental programs, energy, and traditional foods.11
 9
                  20.     Plaintiff provides health care services under the Alaska Tribal Health
10
     Compact, which is the umbrella agreement, entered into between Alaska Native Tribes and tribal
11
     organizations in Alaska and the Indian Health Service (IHS) pursuant to Title V of the ISDEAA,
12
13   that authorizes those tribes and tribal organizations to operate health and health-related programs

14   formerly operated by the IHS. In addition, each tribal co-signer to the Alaska Tribal Health
15   Compact enters into separate funding agreements with the IHS that govern the scope of programs
16
     and services to be performed.
17
                  21.     Over 99% of the IHS budget in Alaska is administered by tribes and tribal
18
19   health programs under the Alaska Tribal Health Compact and other ISDEAA agreements. The

20   Alaska Tribal Health System, which administers these programs and services, is composed of
21   individual tribes and Tribal Health Organizations throughout the State, virtually all of whom are
22
     co-signers to the Alaska Tribal Health Compact.
23
24   11
        Plaintiff’s Mission is: “To promote self-sufficiency and independence of the Unangan/Unangas by advocacy,
     training, technical assistance and economic enhancement; To assist in meeting the health, safety and well-being
25   needs of each Unangan/Unangas community; To promote, strengthen and ensure the unity of the Unangan; and To
     strengthen and preserve Unangax cultural heritage.”
26
27


     COMPLAINT - 7


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 1               22.     Plaintiff operates in one of the most isolated regions of the country, and is the

 2   sole health care provider in most communities in the service area. The Plaintiff serves high-needs
 3
     populations with limited resources, including in remote areas where access to other providers
 4
     does not exist or, at the very least, would require a flight (sometimes in a floatplane) or a boat
 5
     ride to a larger community.
 6
 7               23.     Plaintiff provides health care services in Atka, Nikolski, St. George, and

 8   Unalaska to American Indians and Alaska Natives, and to other eligible individuals within its
 9
     service area. In the communities of Atka, Nikolski, & St. George, Plaintiff operates HRSA-
10
     designated Community Health Centers, which provide primary and emergency services to the
11
     general public, regardless of ability to pay.
12
13               24.     Plaintiff’s Oonalaska Wellness Center (OWC) in Unalaska is staffed with a

14   mid-level provide and, regional medical director, while Plaintiff’s health clinics in Atka and
15   Nikolski share a mid-level provider and Community Health Aides/Practitioners (“CHA/P”).12
16
     The St. George Health Center is staffed with a mid-level provider as well as CHA/P.
17
                 25.     Plaintiff provides behavioral health services as an integral part of the services
18
19   provided to patients who are recovering from addiction, as much of the addiction is related to

20   co-occurring mental health challenges. At any one time over the last several years, Plaintiff has
21   had between two to five doctor level behavioral health clinicians and two to three master-level
22
     behavioral health clinicians.
23
24   12
       See Alaska Community Health Aide Program, About the CHAP Program, http://www.akchap.org/html/about-
     chap.html (last accessed Nov. 14, 2018).
25
26
27


     COMPLAINT - 8


              Case 3:18-cv-00294-SLG Document 1 Filed 12/17/18 Page 13 of 163
 1              26.      Plaintiff provides behavioral health and counseling services in Anchorage.

 2   Plaintiff has patients who are in our Intensive Outpatient Program (IOP) that are based in
 3
     Anchorage and meet as a group with regional patients as well for group counseling via tele-video
 4
     that is facilitated in the Anchorage Office. The doctor level clinicians have been primarily in our
 5
     Anchorage office.
 6
 7              27.      Plaintiff has two clinicians and a behavioral health aide working out of our

 8   Unalaska Behavioral Health clinic for the past several years. Of those two clinicians, they
 9
     generally have been master level clinicians, with the exception of one employee for about a year.
10
     Plaintiff also has had a behavioral health aide working in both the Atka and St. George clinics
11
     for the past few years.
12
13              28.      Plaintiff also provides community-based training as well as EMS-related

14   supplies and equipment.
15              29.      The diversion of funding to address a public health crisis like the opioid
16
     epidemic, including associated overhead and administrative costs, can have devastating impacts
17
     on the ability of the Plaintiff to provide an adequate level of basic health care and other needed
18
19   specialty care in these areas, to meet its obligations under the ISDEAA and agreements with the

20   IHS, and to carry out its organizational missions.
21              30.      In addition to health care services, Plaintiff provides Village Public Safety
22
     Officers (VPSO’s) to the Aleutian Pribilof regional communities.           VPSO’s perform law
23
     enforcement duties and are first responders to many types of emergencies, to include but not
24
25   limited to, fire, medical, and search and rescue.

26
27


     COMPLAINT - 9


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 1               31.      In collaboration with USAFV in Unalaska, Plaintiff administers the Family

 2   Violence grant, which provides funds for immediate shelter and support services to adult and
 3
     youth victims and their dependents, of family violence, domestic violence, or dating violence,
 4
     while also providing funds for prevention training and services.
 5
                 32.      Plaintiff’s Indian Child Welfare Act (ICWA, 25 U.S.C. §§ 1901-1963)
 6
 7   Program serves as the Tribal Representative and represents Tribal children on behalf of twelve

 8   of the Tribes in the region by intervening when families are involved with child protection
 9
     services. Plaintiff also provides Family Services, including childcare.
10
                 33.      Plaintiff also provides supportive services to help participants gain volunteer
11
     and work experience to increase marketable job skills and build resumes and cover letters to
12
13   obtain full-time, unsubsidized employment after the training period.

14               34.      The Plaintiff has standing to recover damages incurred because of
15   Defendants’ actions and omissions. The Plaintiff has standing to bring all claims pled herein,
16
     including, inter alia, to bring claims under the federal RICO statutes, pursuant to 18 U.S.C. §
17
     1961(3) (“persons” include entities which can hold legal title to property) and 18 U.S.C. § 1964
18
19   (“persons” have standing).

20          B.         Manufacturer Defendants
21               35.      The Manufacturer Defendants are identified below. At all relevant times, the
22
     Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of
23
     commerce, labeled, described, marketed, advertised, promoted, and purported to warn or
24
25   purported to inform prescribers and users regarding the benefits and risks associated with the use

26   of prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured and
27


     COMPLAINT - 10


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 1   sold prescription opioids without fulfilling their legal duty to prevent diversion and report

 2   suspicious orders.
 3
                  36.      PURDUE PHARMA L.P. is a limited partnership organized under the laws
 4
     of Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of
 5
     business in Stamford, Connecticut. THE PURDUE FREDERICK COMPANY is a Delaware
 6
 7   corporation with its principal place of business in Stamford, Connecticut. RHODES

 8   PHARMACEUTICALS, L.P. is a limited partnership organized under the laws of Delaware with
 9
     its principal place of business in Coventry, Rhode Island.
10
                  37.      Each Purdue entity acted in concert with one another and acted as agents
11
     and/or principals of one another in connection with the conduct described herein.
12
13                38.      Purdue manufactures, promotes, sells, and distributes opioids such as

14   OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER,13 and Targiniq ER in the
15   U.S., including Alaska. OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual
16
     sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from
17
     its 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market for
18
19   analgesic drugs (painkillers).

20                39.      CEPHALON, INC. is a Delaware corporation with its principal place of
21   business in Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (Teva Ltd.)
22
     is an Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva
23
     Ltd. acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (Teva USA) is a wholly
24
25   13
       Long-acting or extended release (ER or ER/LA) opioids are designed to be taken once or twice daily. Short-acting
     opioids, also known as immediate release (IR) opioids, last for approximately 4-6 hours.
26
27


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 1   owned subsidiary of Teva Ltd. and is a Delaware corporation with its principal place of business in

 2   Pennsylvania. Teva USA acquired Cephalon, Inc. in October 2011. Teva Pharmaceuticals
 3
     Industries, Ltd., Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to collectively
 4
     as “Cephalon.”
 5
                40.     Cephalon, Inc. manufactures, promotes, sells and distributes opioids such as
 6
 7   Actiq and Fentora in the U.S., including in Alaska. The FDA approved Actiq and Fentora only for

 8   the management of breakthrough cancer pain in patients who are tolerant to around-the-clock
 9
     opioid therapy for their underlying persistent cancer pain. In 2008, Cephalon pleaded guilty to a
10
     criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading promotion of
11
     Actiq and two other drugs and agreed to pay $425 million.
12
13              41.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with

14   its principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of
15   JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in
16
     New Brunswick, New Jersey. Janssen Pharmaceuticals, Inc. formerly was known as Ortho-
17
     McNeil-Janssen Pharmaceuticals, Inc., which in turn was formerly known as Janssen
18
19   Pharmaceutica, Inc. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as

20   Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in
21   Titusville, New Jersey. JANSSEN PHARMACEUTICA, INC., now known as Janssen
22
     Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in
23
     Titusville, New Jersey. NORAMCO is a Delaware company headquartered in Wilmington,
24
25   Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active pharmaceutical

26   ingredients until July 2016 when J&J sold its interests to SK Capital. Janssen Pharmaceuticals,
27


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 1   Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and

 2   J&J are referred to collectively as “Janssen”. Upon information and belief, J&J controls the sale
 3
     and development of Janssen Pharmaceutical’s products and corresponds with the FDA regarding
 4
     Janssen’s products.
 5
                42.    Janssen manufactures, promotes, sells, and distributes drugs in the United
 6
 7   States, including in Alaska, including the opioid Duragesic (fentanyl). Until January 2015,

 8   Janssen also developed, marketed, and sold the opioids Nucynta and Nucynta ER. Together,
 9
     Nucynta and Nucynta ER accounted for $172 million in sales in 2014.
10
                43.    ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its
11
     principal place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a
12
13   wholly owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its

14   principal place of business in Malvern, Pennsylvania. ENDO INTERNATIONAL PLC, has
15   global headquarters in Dublin, Ireland and U.S. headquarters in Malvern, Pennsylvania. PAR
16
     PHARMACEUTICAL, INC. is a Delaware corporation with its principal place of business
17
     located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly-owned subsidiary of
18
19   Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc. PAR

20   PHARMACEUTICAL COMPANIES, INC. is a Delaware corporation with its principal place of
21   business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. and Par Pharmaceutical
22
     Companies, Inc. are collectively referred to as “Par Pharmaceutical.” Par Pharmaceutical was
23
     acquired by Endo International plc in September 2015 and is an operating company of Endo
24
25   International plc. Endo Health Solutions Inc., Endo Pharmaceuticals Inc., Endo International plc,

26   and Par Pharmaceutical are referred to collectively as “Endo.”
27


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 1              44.     Endo develops, markets, and sells prescription drugs, including the opioids

 2   Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States, including in Alaska.
 3
     Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in 2012. Opana
 4
     ER yielded $1.15 billion in revenue from 2010 to 2013, and it accounted for 10% of Endo’s total
 5
     revenue in 2012. Endo also manufactures and sells generic opioids such as oxycodone,
 6
 7   oxymorphone, hydromorphone, and hydrocodone products in the United States, including in

 8   Alaska, by itself, through Par Pharmaceutical and through its subsidiary, Qualitest
 9
     Pharmaceuticals, Inc.
10
                45.     ALLERGAN PLC is a public limited company incorporated in Ireland with its
11
     principal place of business in Dublin, Ireland. ACTAVIS PLC acquired Allergan plc in March
12
13   2015, and the combined company changed its name to Allergan PLC in January 2013. Before

14   that, WATSON PHARMACEUTICALS, INC. acquired Actavis, Inc. in October 2012. The
15   combined company changed its name to Actavis, Inc. as of January 2013, and then to Actavis plc
16
     in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation with its principal
17
     place of business in Corona, California, and is a wholly owned subsidiary of Allergan plc
18
19   (ALLERGAN FINANCE, LLC, f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).

20   ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place
21   of business in New Jersey, and was formerly known as WATSON PHARMA, INC. ACTAVIS
22
     LLC is a Delaware limited liability company with its principal place of business in Parsippany,
23
     New Jersey. Each of these defendants is owned by Allergan plc, which uses them to market and
24
25   sell its drugs in the United States, including in Alaska. Upon information and belief, Allergan plc

26   exercises control over these marketing and sales efforts, and profits from the sale of
27


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 1   Allergan/Actavis products ultimately inure to its benefit. Allergan plc, Actavis plc, Actavis, Inc.,

 2   Actavis LLC, Actavis Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and
 3
     Watson Laboratories, Inc. are referred to collectively as “Actavis.”
 4
                  46.      Actavis manufactures, promotes, sells, and distributes opioids, including the
 5
     branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic
 6
 7   and Opana, in the U.S., including in Alaska.

 8                47.      INSYS THERAPEUTICS, INC. is a Delaware corporation with its principal
 9
     place of business in Arizona. Insys’s principal product and source of revenue is Subsys, a
10
     transmucosal immediate-release formulation (TIRF) of fentanyl. Subsys was approved by the
11
     FDA solely for the treatment of breakthrough cancer pain. Insys promotes, sells, and distributes
12
13   Subsys throughout the United States, including Alaska.

14                48.      Insys’s founder and owner was recently arrested and charged, along with other
15   Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe
16
     practitioners to prescribe Subsys and defraud insurance companies. Insys specifically targeted at
17
     least one prescriber in Anchorage, Alaska, who was one of the top prescribers of Insys in the
18
19   United States and whose license was ultimately suspended and then surrendered as a result of an

20   investigation by the Alaska State Medical Board into his opioid prescribing practices.14
21                49.      MALLINCKRODT, PLC is an Irish public limited company headquartered in
22
     14
23     See Linette Lopez, One company symbolizes everything sickening about the opioid crisis, Business Insider, Apr.
     13, 2017, available at http://www.businessinsider.com/opioid-crisis-and-insys-therapeutics-fentanyl-spray-2017-4.
24   See also, ProPublica, Prescriber Checkup: Subsys, https://projects.propublica.org/checkup/drugs/8147 (last visited
     Nov.14, 2018) (listing top prescribers of Subsys in the United States, including Dr. Ahmad of Anchorage, Alaska);
25   ProPublica, Dollars for Docs: Talk With Your Doctor - Mahmood Ahmad,
     https://projects.propublica.org/docdollars/doctors/print/128721 (last visited Nov. 14, 2018) (listing payments from
26   Insys to Dr. Ahmad).

27


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 1   Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

 2   MALLINCKRODT, LLC, is a limited liability company organized and existing under the laws of
 3
     the State of Delaware. Mallinckrodt, LLC is a wholly-owned subsidiary of Mallinckrodt, plc.
 4
     SPECGX LLC is a Delaware limited liability company with its headquarters in Clayton, Missouri
 5
     and is a wholly-owned subsidiary of Mallinckrodt plc. Mallinckrodt, plc, Mallinckrodt, LLC, and
 6
 7   SpecGX LLC are collectively referred to as “Mallinckrodt.”

 8               50.    Mallinckrodt manufactures, markets, and sells drugs in the United States and
 9
     Alaska, including generic oxycodone. Mallinckrodt is the largest U.S. supplier of opioid pain
10
     medications and among the top ten generic pharmaceutical manufacturers in the United States,
11
     based on prescriptions. Mallinckrodt is one of the largest manufacturers of generic oxycodone. In
12
13   July 2017, Mallinckrodt agreed to pay $35 million to settle allegations brought by the Department

14   of Justice that it failed to detect and notify the DEA of suspicious orders of controlled substances.
15               51.    ABBOTT LABORATORIES is an Illinois corporation with its principal place
16
     of business in Abbott Park, Illinois. Defendant, ABBOTT LABORATORIES, INC., is an Illinois
17
     corporation with its principal place of business in Abbott Park, Illinois. ABBOTT
18
19   LABORATORIES and ABBOTT LABORATORIES, INC. are referred to collectively as

20   “Abbott.”
21               52.    Abbott was primarily engaged in the promotion and distribution of opioids
22
     nationally due to a co-promotional agreement with Defendant Purdue. Abbott promoted and
23
     distributed these opioids in the United States, including Alaska. Pursuant to an agreement with
24
25   Purdue, between 1996 and 2006, Abbott actively promoted, marketed, and distributed Purdue’s

26   opioid products.
27


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 1               53.      Abbott, as part of the co-promotional agreement, helped make OxyContin into

 2   the largest selling opioid in the nation. Under the co-promotional agreement with Purdue, the
 3
     more Abbott generated in sales, the higher the reward. Specifically, Abbott received twenty-five
 4
     to thirty percent (25-30%) of all net sales for prescriptions written by doctors its sales force called
 5
     on. This agreement was in operation from 1996-2002, following which Abbott continued to
 6
 7   receive a residual payment of six percent (6%) of net sales up through at least 2006.

 8               54.      With Abbott’s help, sales of OxyContin went from a mere $49 million in its
 9
     first full year on the market to $1.6 billion in 2002. Over the life of the co-promotional agreement,
10
     Purdue paid Abbott nearly half a billion dollars. Abbott and Purdue’s conspiring with pharmacy
11
     benefits managers to drive opioid use is well established.
12
13               55.      As described in an October 28, 2016 article from Psychology Today entitled

14   America’s Opioid Epidemic:
15               Abbott and Purdue actively misled prescribers about the strength and
16               safety of the painkiller [OxyContin]. To undermine the policy of
                 requiring prior authorization, they offered lucrative rebates to
17               [intermediaries] and other pharmacy benefits managers, on condition
                 that they eased availability of the drug and lowered co-pays. The records
18               were part of a case brought by the state of West Virginia against both
19               drug makers alleging inappropriate and illegal marketing of the drug as
                 a cause of widespread addiction.
20
                 ....
21
22               One reason the documents are so troubling is that, in public at least, the
                 drug maker was carefully assuring authorities that it was working with
23               state authorities to curb abuse of OxyContin. Behind the scenes,
                 however, as one Purdue official openly acknowledged, the drug maker
24               was “working with Medco (PBM) [now Express Scripts] to try to make
25               parameters [for prescribing] less stringent.15

26
     15
       Christopher Lane, America’s Opioid Epidemic – Court released documents show drug makers blocked efforts to
     curb prescribing, Psychology Today, Oct. 28, 2016, https://www.psychologytoday.com/blog/side-
27   effects/201610/america-s-opioid-epidemic



     COMPLAINT - 17


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 1
                 56.      AMNEAL PHARMACEUTICALS, INC. is a Delaware business entity with
 2
     its principal place of business in New Jersey. Amneal Pharmaceuticals, Inc. was created when
 3
 4   AMMEAL PHARMACEUTICALS, LLC merged with Impax. The merger was approved in

 5   2018. Amneal Pharmaceuticals was headquartered in New Jersey. Amneal Pharmaceuticals, Inc.,
 6
     and Amneal Pharmaceuticals LLC, are collectively referred to as “Amneal.”                Amneal
 7
     manufactures, promotes, sells, and distributes generic opioid products in the United States,
 8
     including Alaska.
 9
10               57.      KVK-Tech, Inc. (KVK) is a Pennsylvania business entity with its principal

11   place of business in Pennsylvania. KVK manufactures, promotes, sells, and distributes generic
12
     opioid products in the United States, including in Alaska.
13
                 58.      Collectively, Purdue, Cephalon, Janssen, Endo, Actavis, Insys, Mallinckrodt,
14
     Amneal, and KVK are the “Manufacturer Defendants.”
15
16          C.         Distributor Defendants

17               59.      Distributor Defendants are identified below. At all relevant times, the
18   Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce
19
     prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to
20
     detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor
21
22   Defendants universally failed to comply with federal law. Plaintiff alleges the unlawful conduct

23   by the Distributor Defendants is responsible for the volume of prescription opioids plaguing the
24   United States, including Alaska.
25
                 60.      CARDINAL HEALTH, INC. is a publicly traded company incorporated under
26
     the laws of Ohio and with a principal place of business in Ohio. CARDINAL HEALTH 110,
27


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 1   LLC, is based in Dublin, Ohio, and operates as a subsidiary of Cardinal Health, Inc. Cardinal

 2   Health, Inc., and Cardinal Health 110, LLC, are referred to collectively as “Cardinal.” During
 3
     all relevant times, Cardinal has distributed substantial amounts of prescription opioids to
 4
     providers and retailers in Alaska and held a business and/or professional license in the State.
 5
                 61.     AMERISOURCEBERGEN CORPORATION (AmerisourceBergen) is a
 6
 7   publicly traded company incorporated under the laws of Delaware and with a principal place of

 8   business in Pennsylvania. During all relevant times, AmerisourceBergen has distributed
 9
     substantial amounts of prescription opioids to providers and retailers in Alaska and held a
10
     business and/or professional license in the State.
11
                 62.     MCKESSON CORPORATION (McKesson) is a publicly traded company
12
13   incorporated under the laws of Delaware and with a principal place of business in San Francisco,

14   California. During all relevant times, McKesson has distributed substantial amounts of
15   prescription opioids to providers and retailers in Alaska and held a business and/or professional
16
     license in the State.
17
                 63.     ANDA, INC. is a Florida corporation with its principal office located in
18
19   Weston, Florida. ANDA PHARMACEUTICALS, INC. was founded in 1992 and is based in

20   Groveport, Ohio. Anda, Inc. and Anda, Pharmaceuticals Inc. are referred to collectively as
21   “Anda”. In October 2016, Defendant Teva acquired Anda from Allergan plc (i.e., Defendant
22
     Actavis), for $500 million in cash. At all times relevant, Anda distributed prescription opioids
23
     throughout the United States, including in Alaska.
24
25               64.     HENRY SCHEIN, INC. is incorporated in Delaware, with its principal place

26   of business in Melville, New York. Henry Schein, Inc. describes its business as providing a
27


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 1   comprehensive product and services offerings to integrated health systems, designed specifically

 2   for and focused exclusively on, the non-acute care space. Henry Schein, Inc. distributes, among
 3
     other things, branded and generic pharmaceuticals to customers that include dental practitioners,
 4
     dental laboratories, animal health practices and clinics, and office-based medical practitioners,
 5
     ambulatory surgery centers, and other institutions. HENRY SCHEIN MEDICAL SYSTEMS,
 6
 7   INC. (Henry Schein Medical) is a subsidiary of Henry Schein, Inc. that provides practice

 8   management, electronic medical records, and document management for medical groups. Henry
 9
     Schein, Inc. and Henry Schein Medical Systems Inc. are referred to collectively as “Henry
10
     Schein.”
11
                65.     In November of 2014, Henry Schein Medical and Cardinal Health entered
12
13   into a strategic partnership, which consolidated Cardinal Health’s physician office sales

14   organization into Henry Schein Medical. Henry Schein took responsibility for serving physician
15   offices, and through its “symbiotic” arrangement with Cardinal Health, gained access to over
16
     25,000 physical offices as customer locations. As a result of this agreement, Henry Schein
17
     Medical added more than $300 million in annual sales. At all relevant times, Henry Schein was
18
19   in the business of distributing, and redistributing, pharmaceutical products to consumers within

20   the State of Alaska.
21              66.     In 2015, Henry Schein reported that its sales reached a record $10.4 billion
22
     and that it had grown at a compound annual rate of approximately 16 percent since becoming a
23
     public company in 1995. Overall, it is the world’s largest provider of health care products and
24
25   services to office-based dental, animal health, and medical practitioners.

26              67.     Collectively, Cardinal, AmerisourceBergen, McKesson, Anda, and Henry
27


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 1   Schein are the “Distributor Defendants”.

 2                  68.      The data that reveals and/or confirms the identity of each wrongful opioid
 3
     distributor and the extent of their activity in Alaska is hidden from public view in the DEA’s
 4
     confidential ARCOS database. See Madel v. U.S. Dep’t of Justice, 784 F.3d 448, 451 (8th Cir.
 5
     2015). Neither the DEA nor the wholesale distributors will voluntarily disclose the data
 6
 7   necessary to identify with specificity the transactions that will form the evidentiary basis for the

 8   claims asserted herein. See id. at 452-53.
 9
                    69.      Collectively, AmerisourceBergen, Cardinal, and McKesson dominate 85% of
10
     the market share for the distribution of prescription opioids. The “Big 3” are Fortune 500
11
     corporations listed on the New York Stock Exchange whose principal business is the nationwide
12
13   wholesale distribution of prescription drugs. See Fed. Trade Comm’n v. Cardinal Health, Inc., 12

14   F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal, McKesson, and AmerisourceBergen
15   predecessors). Anda is the fourth largest distributor of generic pharmaceuticals in the United
16
     States.
17
               D.         John and Jane Does 1-100, inclusive
18
19                  70.      In addition to Defendants, the true names, roles, and/or capacities in the

20   wrongdoing alleged herein of Defendants named John and Jane Does 1 through 100, inclusive,
21   are currently unknown to Plaintiff, and thus are named Defendants under fictitious names as
22
     permitted by the Rules of this Court. Plaintiff will amend this Complaint and identify their true
23
     identities and their involvement in the wrongdoing at issue, as well as the specific causes of
24
25   action asserted against them when they become known.

26
27


     COMPLAINT - 21


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 1      III.       JURISDICTION AND VENUE

 2                 71.   This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because
 3
     this action presents a federal question. This Court has supplemental jurisdiction over the state
 4
     law causes of action under 28 U.S.C. § 1367 because the state law claims are part of the same
 5
     case or controversy.
 6
 7                 72.   This Court independently has subject-matter jurisdiction over Plaintiff’s state

 8   law claims under 28 U.S.C. § 1332(a)(2), because the matter in controversy exceeds the sum of
 9
     $75,000 and no Defendant is a citizen of the same state as the Plaintiff.
10
                   73.   This Court has personal jurisdiction over all Defendants because all
11
     Defendants have substantial contacts and business relationships with the State of Alaska, and
12
13   have purposefully availed themselves of business opportunities within the State of Alaska,

14   including by marketing, distributing, or selling prescription opioids within the State of Alaska.
15                 74.   This Court also has personal jurisdiction over all of the defendants under 18
16
     U.S.C. § 1965(b). This Court may exercise nationwide jurisdiction over the named Defendants
17
     where the “ends of justice” require national service and Plaintiff demonstrates national contacts.
18
19   Here, the interests of justice require that Plaintiff be allowed to bring all members of the

20   nationwide RICO enterprise before the court in a single trial. See, e.g., Iron Workers Local Union
21   No. 17 Ins. Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (N.D. Ohio 1998); Butcher’s Union
22
     Local No. 498, United Food & Commercial Workers v. SDC Inv., Inc., 788 F.2d 535, 539 (9th
23
     Cir. 1986).
24
25                 75.   Venue is proper in this Court under 28 U.S.C. § 1391(b) and 18 U.S.C. § 1965

26   because a substantial part of the events or omissions giving rise to this action occurred in this
27


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 1   judicial district and because all defendants are subject to this Court’s exercise of personal

 2   jurisdiction.
 3
          IV.        ADDITIONAL FACTUAL ALLEGATIONS
 4
                A.         Background
 5
                     76.     The term “opioid” includes all drugs derived from the opium poppy. The
 6
 7   United States Food and Drug Administration (FDA) describes opioids as follows: “Prescription

 8   opioids are powerful pain-reducing medications that include prescription oxycodone,
 9
     hydrocodone, and morphine, among others, and have both benefits as well as potentially serious
10
     risks.” These medications can help manage pain when prescribed for the right condition and
11
     when used properly. But when misused or abused, they can cause serious harm, including
12
13   addiction, overdose, and death.16

14                   77.     Prescription opioids with the highest potential for addiction are listed under
15   Schedule II of the Controlled Substances Act. This includes non-synthetic opium derivatives
16
     (such as codeine and morphine, also known generally as “opiates”), partially synthetic derivatives
17
     (such as hydrocodone and oxycodone), and fully synthetic derivatives (such as fentanyl and
18
19   methadone).

20                   78.     Historically, opioids were considered too addictive and debilitating for the
21   treatment of chronic pain, like back pain, migraines, and arthritis. According to Dr. Caleb
22
     Alexander, director of Johns Hopkins University’s Center for Drug Safety and Effectiveness,
23
     “[opioids] have very, very high inherent risks . . . and there’s no such thing as a fully safe
24
25   16
       See U.S. Food & Drug Admin.,U.S. Dep’t of Health and Human Servs., Opioid Medications,
     https://www.fda.gov/Drugs/DrugSafety/InformationbyDrugClass/ucm337066.htm (last updated June 14, 2018).
26
27


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 1   opioid.”17

 2                79.      Opioids also tend to induce tolerance, whereby a person who uses opioids
 3
     repeatedly over time no longer responds to the drug as strongly as before, thus requiring a higher
 4
     dose to achieve the same effect. This tolerance contributes to the high risk of overdose during a
 5
     relapse.
 6
 7                80.      Before the 1990s, generally accepted standards of medical practice dictated

 8   that opioids should only be used short-term for acute pain, pain relating to recovery from surgery,
 9
     or for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved
10
     patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints
11
     as patients developed tolerance to opioids over time, and the serious risk of addiction and other
12
13   side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result,

14   doctors generally did not prescribe opioids for chronic pain.
15
     17
       Matthew Perrone, et al., Drugmakers push profitable, but unproven, opioid solution, The Center for Public
16   Integrity, Dec. 15, 2016, available at https://www.publicintegrity.org/2016/12/15/20544/drugmakers-push-
     profitable-unproven-opioid-solution (last accessed Nov. 14, 2018).
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     COMPLAINT - 24


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 1           B.         The Manufacturer Defendants engaged in false, deceptive, and unfair
                        marketing of opioids in order to create, and profit from, an inflated opioid
 2                      market
 3
                  81.      To take advantage of the much larger and more lucrative market for chronic
 4
     pain patients, the Manufacturer Defendants actively worked to change medical thinking about
 5
     opioids.18
 6
 7                82.      To that end, each Manufacturer Defendant developed a well-funded

 8   marketing scheme based on deception to persuade doctors, health care providers, and patients
 9
     that opioids can and should be used for treatment of chronic pain, resulting in opioid treatment
10
     for a far larger group of patients who are much more likely to become addicted. In connection
11
     with this scheme, each Manufacturer Defendant spent, and continue to spend, millions of dollars
12
13   on promotional activities and materials that falsely deny or minimize the risks of opioids while

14   overstating the benefit of using them for chronic pain.
15                83.      The deceptive marketing schemes included, among others, (1) false or
16
     misleading direct, branded advertisements; (2) false or misleading direct-to-physician marketing,
17
     also known as “detailing;” (3) false or misleading materials, speaker programs, webinars, and
18
19   brochures; and (4) false or misleading unbranded advertisements or statements by purportedly

20   neutral third parties that were really designed and distributed by the Manufacturer Defendants.
21   In addition to using third parties to disguise the source of their misinformation campaign, the
22
     Manufacturer Defendants also retained the services of certain physicians, known as “key opinion
23
24   18
       See Harriet Ryan, et al., ‘You want a description of hell?’ OxyContin’s 12-hour problem, L.A. Times, May 5,
     2016, available at http://www.latimes.com/projects/oxycontin-part1 (last accessed Nov. 14, 2018).
25
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27


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 1   leaders” or “KOLs” to convince both doctors and patients that opioids were safe for the treatment

 2   of chronic pain.
 3
                84.     As part of these marketing efforts the Manufacturer Defendants have made
 4
     false and misleading claims, contrary to the language on their drugs’ labels regarding the risks
 5
     of using their drugs that: (1) downplayed the seriousness of addiction; (2) created and promoted
 6
 7   the concept of “pseudoaddiction” when signs of actual addiction began appearing and advocated

 8   that the signs of addiction should be treated with more opioids; (3) exaggerated the effectiveness
 9
     of screening tools to prevent addiction; (4) claimed that opioid dependence and withdrawal are
10
     easily managed; (5) denied the risks of higher dosages; and (6) exaggerated the effectiveness of
11
     “abuse-deterrent” opioid formulations to prevent abuse and addiction. The Manufacturer
12
13   Defendants have also falsely touted the benefits of long-term opioid use, including the supposed

14   ability of opioids to improve function and quality of life, even though there was no scientifically
15   reliable evidence to support the Manufacturer Defendants’ claims.
16
                85.     The Manufacturer Defendants have intentionally disseminated these common
17
     messages to reverse the medical understanding and public conceptions of opioids and risks of
18
19   opioid use. They disseminated these messages directly, through their sales representatives, in

20   speaker groups led by physicians the Manufacturer Defendants recruited for their support of the
21   Manufacturer Defendants’ marketing messages, through unbranded marketing and through
22
     industry-funded Front Groups. The messages were intended to, and did, reach throughout the
23
     medical community within the United States, including Alaska, in order to influence medical
24
25   thinking and prescribing behavior nationwide.

26
27


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 1               86.      These statements were not only unsupported by or contrary to the scientific

 2   evidence, they were also contrary to pronouncements by and guidance from the FDA and the
 3
     Center for Disease Control (CDC) based on that same evidence.
 4
                 87.      The Manufacturer Defendants began their marketing schemes decades ago
 5
     and continue them today.
 6
 7               88.      As discussed herein, the 2016 Guideline for Prescribing Opioids for Chronic

 8   Pain, published by the CDC, makes it patently clear that the Manufacturer Defendants’ schemes
 9
     were and continue to be deceptive.19
10
                 89.      On information and belief, as a part of their deceptive marketing scheme, the
11
     Manufacturer Defendants identified and targeted susceptible prescribers and vulnerable patient
12
13   populations in the United States, including in Alaska, and in particular in the geographic area in

14   Alaska served by the Plaintiff.
15               90.      For example, on information and belief, the Manufacturer Defendants focused
16
     their deceptive marketing on primary care doctors, who were more likely to treat chronic pain
17
     patients and prescribe them drugs, but were less likely to be schooled in treating pain and the
18
19   risks and benefits of opioids and therefore more likely to accept the Manufacturer Defendants’

20   misrepresentations.
21               91.      On information and belief, the Manufacturer Defendants also targeted
22
     vulnerable patient populations like the elderly and veterans, injured workers, and cancer patients,
23
     who tend to suffer from chronic pain.
24
25   19
       Deborah Dowell, et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, 65
     Morbidity & Mortality Wkly. Rep. 1 (2016) [hereinafter "2016 CDC Guideline"], available at
26   https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
27


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 1                92.     The Manufacturer Defendants targeted these vulnerable patients even though

 2   the risks of long-term opioid use were significantly greater for them. For example, the 2016 CDC
 3
     Guideline observed that existing evidence showed that elderly patients taking opioids suffer from
 4
     elevated fall and fracture risks, greater risk of hospitalization, and increased vulnerability to
 5
     adverse drug effects and interactions. The Guideline therefore concluded that there are special
 6
 7   risks of long-term opioid use for elderly patients and recommended that doctors use “additional

 8   caution and increased monitoring”20 to minimize the risks of opioid use in elderly patients. The
 9
     same is true for veterans, who are more likely to use anti-anxiety drugs (benzodiazepines) for
10
     posttraumatic stress disorder, which interact dangerously with opioids.
11
                  93.     To increase the impact of their deceptive marketing schemes, on information
12
13   and belief, the Manufacturer Defendants coordinated and created unified marketing plans to

14   ensure that their messages were consistent and effective across all their marketing efforts.
15                94.     Defendants’ efforts have been wildly successful. Opioids are now the most
16
     prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug
17
     companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually
18
19   since 2009.21 In Alaska, two of the top ten most prescribed drugs are opioids.22

20
     20
        Id. at 27.
21   21
        See Katherine Eban, OxyContin: Purdue Pharma’s painful medicine, Fortune, Nov. 9, 2011, available at
     http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers hooked on
22   $10bn opioid habit, Fin. Times (Aug. 10, 2016), available at https://www.ft.com/content/f6e989a8-5dac-11e6-bb77-
     a121aa8abd95.
23   22
        From March 2017 to February 2018, the top prescriptions included: #1. Hydrocodone/acetaminophen – pain
     medication and #4. Oxycodone/acetaminophen – pain medication. Kylie Walsh, Most frequently prescribed
24   medication in Alaska is an opioid, State of Reform, Mar 27, 2018, https://stateofreform.com/featured/2018/03/most-
     frequently-prescribed-medication-in-alaska-is-an-opioid/ (last visited Nov. 14, 2018).
25
26
27


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 1                  95.      In an open letter to the nation’s physicians in August 2016, the then-U.S.

 2   Surgeon General expressly connected this “urgent health crisis” to “heavy marketing of opioids
 3
     to doctors. . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive
 4
     when prescribed for legitimate pain.”23
 5
                    96.      The Manufacturer Defendants intentionally continued their conduct, as
 6
 7   alleged herein, with knowledge that such conduct was creating the opioid epidemic and causing

 8   the harms and damages alleged herein.
 9
                          1. The Manufacturer Defendants’ used various types of Marketing
10                           Activities to disseminate false and misleading statements

11                  97.      The Manufacturer Defendants spread their false and deceptive statements by
12
     marketing their branded opioids directly to doctors and patients throughout the United States.
13
     They also deployed seemingly unbiased and independent third parties that they controlled to
14
     spread their false and deceptive statements about the risks and benefits of opioids for the
15
16   treatment of chronic pain throughout the United States, including Alaska and the geographic area

17   in Alaska served by the Plaintiff.
18                           a. Direct Marketing
19
                    98.      The Manufacturer Defendants’ direct marketing of opioids generally
20
     proceeded on two tracks: advertising campaigns and direct-to-physician marketing.
21
22                  99.      First, each Manufacturer Defendant conducted and continues to conduct

23   advertising campaigns touting the purported benefits of their branded drugs. For example, upon
24
     23
          Murthy, supra note 9.
25
26
27


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 1   information and belief, the Manufacturer Defendants spent more than $14 million on medical

 2   journal advertising of opioids in 2011, nearly triple what they spent in 2001.
 3
                100.    A number of the Manufacturer Defendants’ branded ads deceptively
 4
     portrayed the benefits of opioids for chronic pain. Some examples include:
 5
                    a. Endo, on information and belief, has distributed and made available on its
 6
 7                      website opana.com a pamphlet promoting Opana ER with photographs

 8                      depicting patients with physically demanding jobs like construction worker
 9
                        and chef, misleadingly implying that the drug would provide long-term pain
10
                        relief and functional improvement.
11
                    b. On information and belief, Purdue also ran a series of ads, called “Pain
12
13                      vignettes,” for OxyContin in 2012 in medical journals. These ads featured

14                      chronic pain patients and recommended OxyContin for each. One ad
15                      described a “54-year-old writer with osteoarthritis of the hands” and implied
16
                        that OxyContin would help the writer work more effectively.
17
                101.    Although Endo and Purdue agreed in late 2015 and 2016 to halt these
18
19   misleading representations in New York, they continued to disseminate them elsewhere.

20              102.    The direct advertising disseminated by the Manufacturer Defendants did not
21   disclose studies that were unfavorable to their products, nor did they disclose that the lack of
22
     clinical evidence to support many of their claims.
23
24
25
26
27


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 1                      b. “Detailing” and speaker programs

 2              103.    Second, each Manufacturer Defendant promoted the use of opioids for
 3
     chronic pain through “detailers”—sophisticated and specially trained sales representatives who
 4
     visited individual doctors and medical staff in their offices—and small group speaker programs.
 5
                104.    The Manufacturer Defendants invested heavily in promoting the use of
 6
 7   opioids for chronic pain through detailers and small group speaker programs.

 8              105.    Each Defendant devoted massive resources to direct sales contacts with
 9
     doctors. Upon information and belief, the Manufacturer Defendants spent in excess of $168
10
     million in 2014 alone on detailing branded opioids to doctors, more than twice what they spent
11
     on detailing in 2000.
12
13              106.    On information and belief, these detailers have spread and continue to spread

14   misinformation regarding the risks and benefits of opioids to hundreds of thousands of doctors,
15   including doctors in Alaska. For example, on information and belief, the Manufacturer
16
     Defendants’ detailers, over the past two years, continue to falsely and misleadingly:
17
                    a. Describe the risk of addiction as low or fail to disclose the risk of addition;
18
19                  b. Describe their opioid products as “steady state”—falsely implying that these

20                      products are less likely to produce the highs and lows that fuel addiction—or
21                      as less likely to be abused or result in addiction;
22
                    c. Tout the effectiveness of screening or monitoring patients as a strategy for
23
                        managing opioid abuse and addiction;
24
25                  d. State that there is no maximum dose and that doctors can safely increase doses

26                      without disclosing the significant risks to patients at higher doses;
27


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 1                  e. Promote the fictional concept of “pseudoaddiction” (this concept is described

 2                      in paragraphs 125 and 160-162, infra);
 3
                    f. State that patients would not experience withdrawal if they stopped using their
 4
                        opioid products;
 5
                    g. State that their opioid products are effective for chronic pain without
 6
 7                      disclosing the lack of evidence for the effectiveness of long-term opioid use;

 8                      and
 9
                    h. State that abuse-deterrent formulations are tamper- or crush-resistant and
10
                        harder to abuse or misuse.
11
                107.    Because these detailers must adhere to scripts and talking points drafted by
12
13   the Manufacturer Defendants, it can be reasonably inferred that most, if not all, of the

14   Manufacturer Defendants’ detailers made and continue to make these misrepresentations to the
15   thousands of doctors they have visited and continue to visit. The Manufacturer Defendants have
16
     not corrected this misinformation.
17
                108.    The Manufacturer Defendants’ detailing to doctors was highly effective in the
18
19   national proliferation of prescription opioids. On information and belief, the Manufacturer

20   Defendants used sophisticated data mining and intelligence to track and understand the rates of
21   initial prescribing and renewal by individual doctors, allowing specific and individual targeting,
22
     customizing, and monitoring of their marketing.
23
                109.    The Manufacturer Defendants also identified doctors to serve, for payment
24
25   and other remuneration, on their speakers’ bureaus and to attend programs with speakers and

26   meals paid for by the Manufacturer Defendants. These speakers gave the false impression that
27


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 1   they were providing unbiased and medically accurate presentations when they were, in fact,

 2   presenting a script prepared by the Manufacturer Defendants. On information and belief, these
 3
     presentations conveyed misleading information, omitted material information, and failed to
 4
     correct the Manufacturer Defendants’ prior misrepresentations about the risks and benefits of
 5
     opioids.
 6
 7                110.   Each Manufacturer Defendant devoted and continues to devote massive

 8   resources to direct sales contacts with doctors.
 9
                  111.   Marketing impacts prescribing habits, with face-to-face detailing having the
10
     greatest influence. On information and belief, physicians who prescribe opioids frequently are
11
     generally more likely to have received a detailing visit. In some instances, physicians who
12
13   prescribed opioids only infrequently received a detailing visit from a Manufacturer Defendant’s

14   detailer, and then prescribed only that Manufacturer Defendant’s opioid products.
15                112.   The FDA has cited at least one Manufacturer Defendant for deceptive
16
     promotions by its detailers and direct-to-physician marketing. In 2010, the FDA notified Actavis
17
     that certain brochures distributed by Actavis were “false or misleading because they omit and
18
19   minimize the serious risks associated with the drug, broaden and fail to present the limitations to

20   the approved indication of the drug, and present unsubstantiated superiority and effectiveness
21   claims.” The FDA also found that “[t]hese violations are a concern from a public health
22
     perspective because they suggest that the product is safer and more effective than has been
23
     demonstrated.”24
24
25   24
       Letter from Thomas Abrams, Director, Div. of Drug Marketing, Advertising & Communications, U.S. Food &
     Drug Admin., to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), available at
26   http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.
27


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 1                      c. Unbranded advertising disseminated by seemingly independent third
                           parties
 2
                113.    The Manufacturer Defendants also deceptively marketed opioids through
 3
 4   unbranded advertising—i.e., advertising that promotes opioid use generally but does not name a

 5   specific opioid. This advertising was ostensibly created and disseminated by independent third
 6
     parties. Yet, by funding, directing, reviewing, editing, and distributing this unbranded
 7
     advertising, the Manufacturer Defendants coordinated and controlled the deceptive messages
 8
     disseminated by these third parties and acted in concert with them to falsely and misleadingly
 9
10   promote opioids for the treatment of chronic pain.

11              114.    The Manufacturer Defendants marketed opioids through third-party,
12
     unbranded advertising to avoid regulatory scrutiny because that advertising is not submitted to
13
     and typically is not reviewed by the FDA. The Manufacturer Defendants also used third-party,
14
     unbranded advertising to give the false appearance that the deceptive messages came from an
15
16   independent and objective source. Like tobacco companies, the Manufacturer Defendants used

17   third parties that they funded, directed, and controlled to carry out and conceal their scheme to
18   deceive doctors and patients about the risks and benefits of long-term opioid use for chronic
19
     pain.
20
                115.    The Manufacturer Defendants’ deceptive unbranded marketing often
21
22   contradicted what they said in their branded materials reviewed by the FDA.

23              116.    The Manufacturer Defendants also spoke through a small circle of doctors—
24   the KOLs—who, upon information and belief, were selected, funded, and elevated by the
25
     Manufacturer Defendants because their public positions supported the use of opioids to treat
26
     chronic pain.
27


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 1               117.    Through their use of KOLs and strategic placement of these KOLs throughout

 2   every critical distribution channel of information within the medical community, the
 3
     Manufacturer Defendants were able to exert control of each of these modalities through which
 4
     doctors receive their information.
 5
                 118.    Pro-opioid doctors are one of the most important avenues that the
 6
 7   Manufacturer Defendants use to spread their false and misleading statements about the risks and

 8   benefits of long-term opioid use. The Manufacturer Defendants know that doctors rely heavily
 9
     and more uncritically on their peers for guidance, and KOLs provide the false appearance of
10
     unbiased and reliable support for chronic opioid therapy.
11
                 119.    For example, the New York Attorney General (“NY AG”) found in its
12
13   settlement with Purdue that through March 2015, the Purdue website “In the Face of Pain” failed

14   to disclose that doctors who provided testimonials on the site were paid by Purdue, 25 and
15   concluded that Purdue’s failure to disclose these financial connections potentially misled
16
     consumers regarding the objectivity of the testimonials.
17
                 120.    Pro-opioid KOLs have admitted to making false claims about the
18
19   effectiveness of opioids. Dr. Russell Portenoy received research support, consulting fees, and

20   other compensation from Cephalon, Endo, Janssen, and Purdue, among others. Dr. Portenoy
21   admitted that he “gave innumerable lectures . . . about addictions that weren’t true.” His lectures
22
     falsely claimed that fewer than 1 percent of patients would become addicted to opioids. Dr.
23
     Portenoy admitted that the primary goal was to “destigmatize” opioids, and he conceded, “[d]ata
24
25   25
       See New York State Office of the Att’y Gen., A.G. Schneiderman Announces Settlement with Purdue Pharma
     That Ensures Responsible and Transparent Marketing Of Prescription Opioid Drugs By The Manufacturer (Aug.
26   20, 2015), https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-purdue-pharma-ensures-
     responsible-and-transparent (last accessed Nov. 14, 2018).
27


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 1   about the effectiveness of opioids does not exist.” According to Dr. Portenoy, “Did I teach about

 2   pain management specifically about opioid therapy, in a way that reflects misinformation?
 3
     Well,. . . .I guess I did.” Dr. Portenoy admitted that “[i]t was clearly the wrong thing to do.”26
 4
                 121.     Dr. Portenoy also made frequent media appearances promoting opioids and
 5
     spreading misrepresentation, such as his claim that “the likelihood that the treatment of pain
 6
 7   using an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.”

 8   He appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat
 9
     chronic pain. On this widely watched program, broadcast across the country, Dr. Portenoy
10
     claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a
11
     history, a personal history, of substance abuse, and does not have a history in the family of
12
13   substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

14   assured that the person is not going to become addicted.”27
15               122.     Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical
16
     Director of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah.
17
     Dr. Webster was President of the American Academy of Pain Medicine (AAPM) in 2013. He is
18
19   a Senior Editor of Pain Medicine, the same journal that published Endo special advertising

20   supplements touting Opana ER. Dr. Webster was the author of numerous Continuing Medical
21   Education or CMEs sponsored by Cephalon, Endo and Purdue. At the same time, Dr. Webster
22
     was receiving significant funding from the Manufacturer Defendants (including nearly $2
23
     million from Cephalon).
24
25   26
        Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall St. J., Dec. 17, 2012,
     available at https://www.wsj.com/articles/SB10001424127887324478304578173342657044604 (last accessed
26   Nov. 14, 2018).
     27
        Good Morning America (ABC television broadcast Aug. 30, 2010).
27


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 1               123.    Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five-

 2   question, one-minute screening tool relying on patient self-reports that purportedly allows
 3
     doctors to manage the risk that their patients will become addicted to or abuse opioids.28 The
 4
     claimed ability to pre-sort patients likely to become addicted is an important tool in giving
 5
     doctors confidence to prescribe opioids long-term, and, for this reason, references to screening
 6
 7   appear in various industry supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool

 8   appear on, or are linked to, websites run by Endo, Janssen and Purdue. Unaware of the flawed
 9
     science and industry bias underlying this tool, certain states and public entities have incorporated
10
     the Opioid Risk Tool into their own guidelines, indicating, also, their reliance on the
11
     Manufacturer Defendants and those under their influence and control.
12
13               124.    In 2011, Dr. Webster presented via webinar a program sponsored by Purdue

14   entitled “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” On information and
15   belief, Dr. Webster recommended the use of risk screening tools, urine testing and patient
16
     agreements as a way to prevent “overuse of prescriptions” and “overdose deaths.”29
17
                 125.    Dr. Webster was a leading proponent of the concept of “pseudoaddiction,”
18
19   the notion that addictive behaviors should be seen not as warnings that a patient was addicted to

20   the drug, but as indications of undertreated pain. In Dr. Webster’s description, when a patient
21   presented such behaviors the only way to differentiate the two was to increase the patient’s dose
22
     of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse
23
24   28
       https://www.drugabuse.gov/sites/default/files/files/OpioidRiskTool.pdf
     29
       See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
25   http://www.emergingsolutionsinpain.com/ce-education/opioidmanagement?option=com_continued&view=frontmatt
     er&Itemid=303 &course=209 (last visited Nov. 14, 2018).
26
27


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 1   While Managing Pain—a book that is still available online—when faced with signs of aberrant

 2   behavior, increasing the dose “in most cases . . . should be the clinician’s first response.”30 Upon
 3
     information and belief, Endo distributed this book to doctors. Years later, Dr. Webster reversed
 4
     himself, acknowledging that “[pseudoaddiction] obviously became too much of an excuse to
 5
     give patients more medication.”31
 6
 7               126.     The Manufacturer Defendants cited and promoted favorable studies or articles

 8   by their KOLs. By contrast, Manufacturer Defendants did not support, acknowledge, or
 9
     disseminate publications of doctors unsupportive or critical of chronic opioid therapy.
10
                 127.     On information and belief, the Manufacturer Defendants also entered into
11
     arrangements with seemingly unbiased and independent patient and professional organizations
12
13   to promote opioids for the treatment of chronic pain. Under the direction and control of the

14   Manufacturer Defendants, these “Front Groups”—which include, but are not limited to, the
15   American Pain Foundation (APF) (of which Dr. Portenoy was a member) and the AAPM—
16
     generated treatment guidelines, unbranded materials, and programs that favored chronic opioid
17
     therapy. The evidence did not support these guidelines, materials, and programs at the time they
18
19   were created, and the scientific evidence does not support them today. Indeed, they stand in

20   marked contrast to the 2016 CDC Guideline.
21               128.     The Manufacturer Defendants worked together, through Front Groups, to
22
     spread their deceptive messages about the risks and benefits of long-term opioid therapy.
23
24   30
       Lynn R. Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain at 59 (2007).
     31
       John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
25   http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
     139609053.html/.
26
27


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 1               129.     On information and belief, these Front Groups also assisted the Manufacturer

 2   Defendants by responding to negative articles, by advocating against regulatory or legislative
 3
     changes that would limit opioid prescribing in accordance with the scientific evidence, and by
 4
     conducting outreach to vulnerable patient populations targeted by the Manufacturer Defendants.
 5
                 130.     These Front Groups depended on the Manufacturer Defendants for funding
 6
 7   and, in some cases, for survival. A recent U.S. Senate Homeland Security and Governmental

 8   Affairs Committee Minority Staff Report reported that Purdue, Janssen, Insys, and other
 9
     manufacturers made nearly $9 million in payments to 14 outside groups between 2012 and 2017,
10
     and that physicians affiliated with those groups have been paid more than $1.6 million since
11
     2013.32 The Report further noted: “Payments from Purdue totaling $4,153,554.33 account for
12
13   roughly half of the $9 million in funding to groups.”33 “Primarily due to large payments to the

14   National Pain Foundation (now known as the Global Pain Initiative) and the U.S. Pain
15   Foundation, Insys had the second-highest contribution total from 2012 to 2017, with $3,146,265
16
     in payments.”34 During the investigation for the report, the Global Pain Initiative described
17
     $662,500 in contributions from Insys in 2013, 2015, 2016, and 2017—$100,000 more than Insys
18
19   32
        U.S. Senate Homeland Sec. & Governmental Affairs Committee, Fueling an Epidemic: Exposing the Financial
     Ties Between Opioid Manufacturers and Third Party Advocacy Groups, (Feb. 12, 2018) at 1, available at
20   https://www.hsgac.senate.gov/imo/media/doc/REPORT-Fueling%20an%20Epidemic-
     Exposing%20the%20Financial%20Ties%20Between%20Opioid%20Manufacturers%20and%20Third%20Party%20
21   Advocacy%20Groups.pdf, (last accessed Nov. 14, 2018). On July 24, 2018, the Committee released a press release
     U.S. Senate Homeland Sec. & Governmental Affairs Committee, McCaskill Amends Report After Finding Insys
22   Therapeutics Failed to Report $100,000 in Contributions to Third Party Advocacy Group,
     https://www.hsgac.senate.gov/media/minority-media/mccaskill-amends-report-after-finding-insys-therapeutics-
23   failed-to-report-100000-in-contributions-to-third-party-advocacy-group (last visited Nov. 14, 2018); U.S. Senate
     Homeland Sec. & Governmental Affairs Committee, Fueling an Epidemic, Supplement to February 2018 Report,
24   available at https://www.hsgac.senate.gov/imo/media/doc/SUPPLEMENT-Fueling%20an%20Epidemic-
     Exposing%20the%20Financial%20Ties%20Between%20Opioid%20Manufacturers%20and%20Third%20Party%20
25   Advocacy%20Groups.pdf, (last accessed Nov. 14, 2018) (“Supplement”).
     33
        Id.
26   34
        Id.
27


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 1   reported. In July 2018, Insys confirmed this additional $100,000 payment to the Global Pain

 2   Foundation.35
 3
                  131.     On information and belief, the Manufacturer Defendants exercised control
 4
     over programs and materials created by these groups by collaborating on, editing, and approving
 5
     their content, and by funding their dissemination. In doing so, the Manufacturer Defendants
 6
 7   made sure that the Front Groups would generate only the messages the Manufacturer Defendants

 8   wanted to distribute. Despite this, the Front Groups held themselves out as independent and
 9
     serving the needs of their members—whether patients suffering from pain or doctors treating
10
     those patients.
11
                  132.     Defendants Cephalon, Endo, Janssen and Purdue, in particular, utilized many
12
13   Front Groups, including many of the same ones. Several of the most prominent are described

14   below, but there are many others, including the American Pain Society (APS), American
15   Geriatrics Society (AGS), the Federation of State Medical Boards (FSMB), American Chronic
16
     Pain Association (ACPA), the Center for Practical Bioethics (CPB), the U.S. Pain Foundation
17
     (USPF),36 and the Pain & Policy Studies Group (PPSG).37
18
19                133.     The most prominent of the Manufacturer Defendants’ Front Groups was the

20   APF, which, on information and belief, received more than $10 million in funding from opioid
21
     35
        Id.
22   36
        The U.S. Pain Foundation lists “Platinum,” “Gold,” and “Basic” corporate members—including Manufacturer
     Defendants like Abbott, Teva, Janssen (through J&J), Endo, Purdue, and Mallinckrodt—without indicating the level
23   of donations required for each classification. They also list other Front Groups as members. U.S. Pain Foundation,
     Transparency, archived at https://web.archive.org/web/20170305004324/https://uspainfoundation.org/ transparency
24   (last accessed Nov. 14, 2018).
     37
        See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Finance, to Sec. Thomas E. Price, U.S.
25   Dep’t of Health and Human Servs., (May 5, 2015), available at
     https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
26   %20FDA%20Opioid%20Prescriber%20Working%20Group.pdf, (last accessed Nov. 14, 2018).

27


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 1   manufacturers (primarily from Endo and Purdue) from 2007 until it closed its doors in May 2012.

 2   APF issued education guides for patients, reporters, and policymakers that touted the benefits of
 3
     opioids for chronic pain and trivialized their risks, particularly the risk of addiction. APF also
 4
     launched a campaign to promote opioids for returning veterans, which has contributed to high
 5
     rates of addiction and other adverse outcomes—including death—among returning soldiers. APF
 6
 7   also engaged in a significant multimedia campaign—through radio, television, and the internet—

 8   to educate patients about their “right” to pain treatment, namely opioids. All of the programs and
 9
     materials were available nationally and were intended to reach citizens of all 50 states.
10
                134.    APF held itself out as an independent patient advocacy organization. It often
11
     engaged in grassroots lobbying against various legislative initiatives that might limit opioid
12
13   prescribing, and thus the profitability of its sponsors. Upon information and belief, APF was

14   often called upon to provide “patient representatives” for the Manufacturer Defendants’
15   promotional activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk
16
     Pain.
17
                135.    However, APF functioned largely as an advocate for the interests of the
18
19   Manufacturer Defendants, not patients. Indeed, upon information and belief, as early as 2001,

20   Purdue told APF that the basis of a grant was Purdue’s desire to “strategically align its
21   investments in nonprofit organizations that share [its] business interests.”
22
                136.    Organizations, including the U.S. Senate Finance Committee, began to investigate
23
     APF in 2012 to determine the links, financial and otherwise, between the organization and the opioid
24
25
26
27


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 1   industry.38 The investigation revealed that APF received 90 percent of its funding from the drug and

 2   medical-device industry, and “its guides for patients, journalists and policymakers had played down
 3
     the risks associated with opioid painkillers while exaggerating the benefits from the drugs.” Within
 4
     days of the beginning of the Senate Finance Committee’s investigation, APF dissolved “due to
 5
     irreparable economic circumstances.”
 6
 7               137.     Another front group for the Manufacturer Defendants was the AAPM. With the

 8   assistance, prompting, involvement, and funding of the Manufacturer Defendants, the AAPM issued
 9
     purported treatment guidelines, and sponsored and hosted medical education programs essential to
10
     the Manufacturer Defendants’ deceptive marketing of chronic opioid therapy.
11
                 138.     AAPM received substantial funding from opioid manufacturers. For example,
12
13   AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

14   of other funding) to participate. The benefits included allowing members to present educational
15   programs at off-site dinner symposia in connection with AAPM’s marquee event, its annual
16
     meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual
17
     event as an “exclusive venue” for offering education programs to doctors. Membership in the
18
19   corporate relations council also allows drug company executives and marketing staff to meet

20   with AAPM executive committee members in small settings. Defendants Endo, Purdue, and
21   Cephalon were members of the council and presented deceptive programs to doctors who
22
     attended this annual event. Defendant Teva is a current council member.39
23
24   38
        Charles Ornstein & Tracy Weber, Senate panel investigates drug companies ties to pain groups, The Washington
     Post, May 8, 2012, available at https://www.washingtonpost.com/national/health-science/senate-panel-
25   investigates-drug-companies-ties-to-paid-groups/2012/05/08/gIQA2X4qBU_story.html (last accessed Nov. 14,
     2018).
26   39
        AAPM, Corporate Relations Council Profiles, http://www.painmed.org/membercenter/corporate-relations-
     council-profiles/ (last accessed Nov. 14, 2018).
27


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 1                139.     Upon information and belief, AAPM is viewed internally by Endo as

 2   “industry friendly,” with Endo advisors and speakers among its active members. Endo attended
 3
     AAPM conferences, funded its CMEs, and distributed its publications. The conferences
 4
     sponsored by AAPM heavily emphasized sessions on opioids—37 out of roughly 40 at one
 5
     conference alone. AAPM’s presidents have included top industry-supported KOLs Dr. Perry
 6
 7   Fine of the University of Utah and Dr. Lynn Webster. Dr. Webster was even elected president

 8   of AAPM while under a DEA investigation.
 9
                  140.     The Manufacturer Defendants were able to influence AAPM through both
10
     their significant and regular funding, and the leadership of pro-opioid KOLs within the
11
     organization.
12
13                141.     In 1996, AAPM and APS jointly issued a consensus statement, “The Use of

14   Opioids for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and
15   claimed that the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored
16
     the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole
17
     consultant. The consensus statement remained on AAPM’s website until 2011, and, upon
18
19   information and belief, was taken down from AAPM’s website only after a doctor complained.40

20                142.     AAPM and APS issued their own guidelines in 2009 (“AAPM/APS
21   Guidelines”) and continued to recommend the use of opioids as “safe and effective” for treating
22
     chronic pain, despite acknowledging limited evidence, and concluding that the risk of addiction
23
     is manageable for patients regardless of past abuse histories.41 The AAPM/APS Guidelines have
24
25   40
        The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
     Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
26   41
        Roger Chou, et al., Clinical guidelines for the use of chronic opioid therapy in chronic noncancer pain, 10 J. Pain
     113 (2009), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4043401/.
27


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 1   been relied upon by doctors, especially the general practitioners and family doctors targeted by

 2   the Manufacturer Defendants.
 3
                 143.   At least 14 of the 21 panel members, who drafted the AAPM/APS Guidelines,
 4
     (including KOLs Dr. Portenoy and Dr. Fine), received support from Janssen, Cephalon, Endo,
 5
     and Purdue. One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan
 6
 7   State University and founder of the Michigan Headache & Neurological Institute, resigned from

 8   the panel because of his concerns that the 2009 Guidelines were influenced by contributions that
 9
     drug companies, including Manufacturer Defendants, made to the sponsoring organizations and
10
     committee members.
11
                 144.   These AAPM/APS Guidelines have been a particularly effective channel of
12
13   deception and have influenced not only treating physicians, but also the body of scientific

14   evidence on opioids. The AAPM/APS Guidelines have been cited hundreds of times in academic
15   and scientific literature, and were reprinted in the Journal of Pain. Further, the AAPM/APS
16
     Guidelines are referenced by third-party payors in determining whether they should cover
17
     treatments for specific indications.
18
19               145.   The Manufacturer Defendants widely referenced and promoted the 2009

20   Guidelines without disclosing the lack of evidence to support them or the Manufacturer
21   Defendants’ financial support to members of the panel. Pharmaceutical sales representatives
22
     employed by Endo, Actavis, and Purdue discussed the guidelines with doctors during individual
23
     sales visits.
24
25               146.   On information and belief, the Manufacturer Defendants combined their

26   efforts through the Pain Care Forum (PCF), which began in 2004 as an APF project. PCF is
27


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 1   comprised of representatives from opioid manufacturers (including Abbott, Allergan, Cephalon,

 2   Endo, Insys, Janssen (through J&J), Purdue and Teva) and various Front Groups, almost all of
 3
     which received substantial funding from the Manufacturer Defendants. Among other projects,
 4
     PCF worked to ensure that an FDA-mandated education project on opioids was not unacceptably
 5
     negative and did not require mandatory participation by prescribers. PCF also worked to address
 6
 7   a lack of coordination among its members and developed cohesive industry messaging. Further,

 8   PCF worked to “influence legislation concerning prescription pain medications on both federal
 9
     and state levels,” with an average of six lobbyists in Alaska from 2006-2015.42
10
                   147.    According to the Global Pain Initiative, Insys provided $50,000 in 2013 “to
11
     the organization without restrictions to start operations, in 4-separate payments of $12,500.00
12
13   each.” In 2015, Insys reportedly provided three payments totaling $350,000 to “launch a race car

14   program ‘Global Pain Initiative’ to reach public for feedback,” to “launch data discovery as to
15   pain in the U.S. and move that to pain abroad,” and to develop a “‘digital data’ collection tool
16
     for ‘person centric’ data.”43
17
                   148.    On information and belief, through Front Groups and KOLs, the
18
19   Manufacturer Defendants wrote or influenced prescribing guidelines that reflected the messaging

20   the Manufacturer Defendants wanted to promote rather than scientific evidence.
21                 149.    Through these means, and likely others still concealed, the Manufacturer
22
     Defendants collaborated to spread deceptive messages about the risks and benefits of long-term
23
     opioid use.
24
25   42
        Eugene Tauber, Lobbyists hired by advocates for opioid manufacturers in every state, The Morning Call,
     Sept. 17, 2016, http://www.mcall.com/news/local/data/mc-politics-of-pain-state-lobbyists-htmlstory.html (last
26   accessed Nov. 14, 2018).
     43
        U.S. Senate Homeland Sec. & Governmental Affairs Committee, Supplement, supra Note 32.
27


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 1                   2. The Manufacturer Defendants’ false and misleading statements
                        understated the dangers of opioid drugs
 2
                  150.   To falsely assure physicians and patients that opioids are safe, the
 3
 4   Manufacturer Defendants deceptively trivialized and failed to disclose the risks of long-term

 5   opioid use, particularly the risk of addiction, through a series of misrepresentations that have
 6
     been conclusively debunked by the FDA and CDC.
 7
                  151.   The Manufacturer Defendants’ misrepresentations reinforced each other and
 8
     created the dangerously misleading impressions that (a) starting patients on opioids was low-risk
 9
10   because most patients would not become addicted, and because those who were at greatest risk

11   of addiction could be readily identified and managed; (b) patients who displayed signs of
12
     addiction probably were not addicted (and likely suffered from pseudoaddiction) and, in any
13
     event, could easily be weaned from the drugs; (c) the use of higher opioid doses, which many
14
     patients need to sustain pain relief as they develop tolerance to the drugs, do not pose special
15
16   risks; and (d) abuse-deterrent opioids both prevent abuse and overdose and are inherently less

17   addictive.
18                152.   Some examples of these false claims include:
19
                     a. Actavis’s predecessor caused a patient education brochure, Managing
20
                         Chronic Back Pain, to be distributed beginning in 2003 that admitted that
21
22                       opioid addiction is possible, but falsely claimed that it is “less likely if you

23                       have never had an addiction problem.” Based on Actavis’s acquisition of its
24                       predecessor’s marketing materials along with the rights to Kadian, it appears
25
                         that Actavis continued to use this brochure in 2009 and beyond.
26
                     b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for
27


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 1                        People Living with Pain (2007), which suggests that addiction is rare and

 2                        limited to extreme cases of unauthorized dose escalations, obtaining
 3
                          duplicative prescriptions, or theft. This publication is available today.44
 4
                      c. Endo sponsored a website, “PainKnowledge,” which, upon information and
 5
                          belief, claimed in 2009 that “[p]eople who take opioids as prescribed usually
 6
 7                        do not become addicted.” Upon information and belief, another Endo website,

 8                        PainAction.com, stated, “Did you know? Most chronic pain patients do not
 9
                          become addicted to the opioid medications that are prescribed for them.”
10
                          Endo also distributed an “Informed Consent” document on PainAction.com
11
                          that misleadingly suggested that only people who “have problems with
12
13                        substance abuse and addiction” are likely to become addicted to opioid

14                        medications.
15                    d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
16
                          entitled Living with Someone with Chronic Pain, which stated, “[m]ost health
17
                          care providers who treat people with pain agree that most people do not
18
19                        develop an addiction problem.”

20                    e. Janssen reviewed and distributed a patient education guide entitled Finding
21                        Relief: Pain Management for Older Adults (2009), which described as “myth”
22
                          the claim that opioids are addictive, and asserted as fact that “[m]any studies
23
                          show that opioids are rarely addictive when used properly for the management
24
25   44
       APF, Treatment Options: A Guide for People Living with Pain (2007), available at
     https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last accessed Nov. 14, 2018).
26
27


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 1                        of chronic pain.”

 2                    f. Janssen continues to maintain a website, prescriberesponsibly.com (last
 3
                          modified July 2, 2015) which claims that concerns about opioid addiction are
 4
                          “overestimated.”45
 5
                      g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
 6
 7                        Its Management, which claims that less than 1% of children prescribed

 8                        opioids will become addicted and that pain is undertreated due to
 9
                          “misconceptions about opioid addiction[].” This publication is still available
10
                          online.46
11
                  153.    Consistent with the Manufacturer Defendants’ published marketing materials,
12
13   upon information and belief, detailers for the Manufacturer Defendants in Alaska and elsewhere

14   have 1) minimized or omitted (and continue to minimize or omit) any discussion with doctors or
15   their medical staff about the risk of addiction; 2) misrepresented the potential for abuse of opioids
16
     with purportedly abuse-deterrent formulations; and 3) failed to correct the misrepresentations noted
17
     above.
18
19                154.    The Manufacturer Defendants engaged in this campaign of misinformation in

20   an intentional effort to deceive doctors and patients and thereby increase the use of their opioid
21   products.
22
                  155.    The     Manufacturer      Defendants’      misrepresentations       are   contrary to
23
24   45
       Available at http://www.prescriberesponsibly.com/articles/opioid-pain-management (last accessed Nov. 14,
     2018).
25
     46
       APF, A Policymaker's Guide to Understanding Pain & Its Management, at 6 (Oct. 2011), available at
26   http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last accessed Nov. 14, 2018).

27


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 1   longstanding scientific evidence.

 2               156.     As noted in the 2016 CDC Guideline endorsed by the FDA, there is “extensive
 3
     evidence” of the “possible harms of opioids (including opioid use disorder [an alternative term
 4
     for opioid addiction]).”47 The Guideline points out that “[o]pioid pain medication use presents
 5
     serious risks, including . . . opioid use disorder”48 and that “continuing opioid therapy for [three]
 6
 7   3 months substantially increases risk for opioid use disorder.”49

 8               157.     The FDA further exposed the falsity of Defendants’ claims about the low risk
 9
     of addiction when it announced changes to the labels for ER/LA opioids in 2013 and for IR
10
     opioids in 2016. In its announcements, the FDA found that “most opioid drugs have ‘high
11
     potential for abuse’” and that opioids “are associated with a substantial risk of misuse, abuse,
12
13   NOWS [neonatal opioid withdrawal syndrome], addiction, overdose and death.”50 According to

14   the FDA, because of the “known serious risks” associated with long-term opioid use, including
15   “risks of addiction, abuse, and misuse, even at recommended doses, and because of the greater
16
     risks of overdose and death,” opioids should be used only “in patients for whom alternative
17
     treatment options” like non-opioid drugs have failed.51 The FDA further acknowledged that the
18
19   risk is not limited to patients who seek drugs illicitly; addiction “can occur in patients

20
     47
        2016 CDC Guideline, supra note 19, at 15.
     48
21      Id. at 2.
     49
        Id. at 25.
     50
22      Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food & Drug Admin., U.S.
     Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
23   Prescribing at 3 (Sept. 10, 2013), available at https://www.regulations.gov/contentStreamer?documentId=FDA-
     2012-P-0818-0793&attachmentNumber=1&contentType=pdf (last accessed Nov. 14, 2018); Letter from Janet
24   Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food & Drug Admin., U.S. Dep’t of Health
     and Human Servs., to Peter R. Mathers & Jennifer A. Davidson, Kleinfeld, Kaplan & Becker, LLP at 7 (Mar. 22,
25   2016), available at https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
     0006&attachmentNumber=1&contentType=pdf (last accessed Nov. 14, 2018) (emphasis added).
     51
26      Id. at page 8 for both documents, respectively (emphasis added).

27


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 1   appropriately prescribed [opioids].”

 2                158.    The Manufacturer Defendants have been, and are, aware that their
 3
     misrepresentations about opioids are false.
 4
                  159.    The NY AG, in a 2016 settlement agreement with Endo, found that opioid “use
 5
     disorders appear to be highly prevalent in chronic pain patients treated with opioids, with up to
 6
 7   40% of chronic pain patients treated in specialty and primary care outpatient centers meeting the

 8   clinical criteria for an opioid use disorder.”52 Endo had claimed on its www.opana.com website
 9
     that “[m]ost healthcare providers who treat patients with pain agree that patients treated with
10
     prolonged opioid medicines usually do not become addicted,”53 but the NY AG found that Endo
11
     had no evidence for that statement. Consistent with this, Endo agreed not to “make statements
12
13   that . . . opioids generally are non-addictive” or “that most patients who take opioids do not

14   become addicted” in New York.54
15                160.    The Manufacturer Defendants falsely instructed doctors and patients that the
16
     signs of addiction are actually signs of undertreated pain and should be treated by prescribing
17
     more opioids. The Manufacturer Defendants called this phenomenon “pseudoaddiction”—a term
18
19   coined by Dr. J. David Haddox, who later became Vice President of Health Policy at Purdue,

20   and popularized by Dr. Portenoy—and falsely claimed that pseudoaddiction is substantiated by
21   scientific evidence. Some illustrative examples of these deceptive claims are described below:
22
                      a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007),
23
                          which taught that behaviors such as “requesting drugs by name”, “demanding
24
25   52
        Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
     13, available at https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf (last accessed Nov. 14, 2018).
26   53
        Id. at 6.
     54
        Id. at 15.
27


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 1                           or manipulative behavior,” seeing more than one doctor to obtain opioids, and

 2                           hoarding, are all signs of pseudoaddiction, rather than true addiction. The
 3
                             2012 edition of Responsible Opioid Prescribing remains for sale online.55
 4
                         b. On information and belief, Janssen sponsored, funded, and edited the Let’s
 5
                             Talk Pain website, which in 2009 stated: “pseudoaddiction . . . refers to patient
 6
 7                           behaviors that may occur when pain is under-treated . . . . Pseudoaddiction is

 8                           different from true addiction because such behaviors can be resolved with
 9
                             effective pain management.”
10
                         c. Endo sponsored a National Initiative on Pain Control (NIPC) CME program
11
                             in 2009 entitled “Chronic Opioid Therapy: Understanding Risk While
12
13                           Maximizing Analgesia,” which, upon information and belief, promoted

14                           pseudoaddiction by teaching that a patient’s aberrant behavior was the result
15                           of untreated pain. Endo appears to have substantially controlled NIPC by
16
                             funding NIPC projects; developing, specifying, and reviewing content; and
17
                             distributing NIPC materials.
18
19                       d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing

20                           Abuse, which, upon information and belief, described pseudoaddiction as a
21                           concept that “emerged in the literature” to describe the inaccurate
22
                             interpretation of [drug- seeking behaviors] in patients who have pain that has
23
                             not been effectively treated.”
24
25                       e. Upon information and belief, Purdue sponsored a CME program titled “Path

26   55
          See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Clinician’s Guide (2d ed. 2012).
27


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 1                           of the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”.

 2                           In a role play, a chronic pain patient with a history of drug abuse tells his
 3
                             doctor that he is taking twice as many hydrocodone pills as directed. The
 4
                             narrator notes that because of pseudoaddiction, the doctor should not assume
 5
                             the patient is addicted even if he persistently asks for a specific drug, seems
 6
 7                           desperate, hoards medicine, or “overindulges in unapproved escalating

 8                           doses.” The doctor treats this patient by prescribing a high-dose, long acting
 9
                             opioid.
10
                    161.     Pseudoaddiction is fictional. The 2016 CDC Guideline rejects the concept of
11
     pseudoaddiction. The Guideline nowhere recommends that opioid dosages be increased if a
12
13   patient is not experiencing pain relief. To the contrary, the Guideline explains that “[p]atients

14   who do not experience clinically meaningful pain relief early in treatment . . . are unlikely to
15   experience pain relief with longer-term use,”56 and that physicians should “reassess[] pain and
16
     function within 1 month” in order to decide whether to “minimize risks of long-term opioid use
17
     by discontinuing opioids” because the patient is “not receiving a clear benefit.”57
18
19                  162.     In connection with its settlement with the NY AG, Endo was forced to admit

20   that the concept of pseudoaddiction was a sham. In finding that “[t]he ‘pseudoaddiction’ concept
21   has never been empirically validated and in fact has been abandoned by some of its proponents,”
22
     the NY AG, in its 2016 settlement with Endo, reported that despite the fact that Endo trained its
23
     sales representatives to use the concept of pseudoaddiction, “Endo’s Vice President for
24
25   56
          2016 CDC Guideline, supra note 19, at 13.
     57
          Id. at 25.
26
27


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 1   Pharmacovigilance and Risk Management testified to [the NY AG] that he was not aware of any

 2   research validating the ‘pseudoaddiction’ concept” and acknowledged the difficulty in
 3
     distinguishing “between addiction and ‘pseudoaddiction.’”58
 4
                     163.    The Manufacturer Defendants falsely instructed doctors and patients that
 5
     addiction risk screening tools, patient contracts, urine drug screens, and similar strategies allow
 6
 7   them to reliably identify and safely prescribe opioids to patients predisposed to addiction. These

 8   misrepresentations were especially insidious because the Manufacturer Defendants aimed them
 9
     at general practitioners and family doctors who lack the time and expertise to closely manage
10
     higher-risk patients on opioids. The Manufacturer Defendants’ misrepresentations made these
11
     doctors feel more comfortable prescribing opioids to their patients, and patients more
12
13   comfortable starting on opioid therapy for chronic pain. Some illustrative examples of these

14   deceptive claims are described below:
15                       a. On information and belief, Endo paid for a 2007 supplement in the Journal of
16
                             Family Practice written by a doctor who became a member of Endo’s speakers
17
                             bureau in 2010. The supplement, entitled “Pain Management Dilemmas in
18
19                           Primary Care: Use of Opioids”, emphasized the effectiveness of screening

20                           tools, claiming that patients at high risk of addiction could safely receive
21                           chronic opioid therapy using a “maximally structured approach” involving
22
                             toxicology screens and pill counts.
23
                         b. On information and belief, Purdue sponsored a November 2011 webinar,
24
25                           Managing Patient’s Opioid Use: Balancing the Need and Risk, which claimed

26   58
          Assurance of Discontinuance, supra note 52, at 7.
27


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 1                           that screening tools, urine tests, and patient agreements prevent “overuse of

 2                           prescriptions” and “overdose deaths.”
 3
                        c. On information and belief, as recently as 2015, Purdue has represented in
 4
                             scientific conferences that “bad apple” patients—and not opioids—are the
 5
                             source of the addiction crisis and that once those “bad apples” are identified,
 6
 7                           doctors can safely prescribe opioids without causing addiction.

 8                      d. On information and belief, detailers for the Manufacturer Defendants have
 9
                             touted and continue to tout to doctors in Alaska the reliability and
10
                             effectiveness of screening or monitoring patients as a tool for managing
11
                             opioid abuse and addiction.
12
13                  164.     Once again, the 2016 CDC Guideline confirms that these statements were

14   false, misleading, and unsupported at the time they were made by the Manufacturer Defendants.
15   The Guideline notes that there are no studies assessing the effectiveness of risk mitigation
16
     strategies—such as screening tools, patient contracts, urine drug testing, or pill counts widely
17
     believed by doctors to detect and deter abuse—”for improving outcomes related to overdose,
18
19   addiction, abuse, or misuse.”59 As a result, the Guideline recognizes that available risk screening

20   tools “show insufficient accuracy for classification of patients as at low or high risk for [opioid]
21   abuse or misuse” and counsels that doctors “should not overestimate the ability of these tools to
22
     rule out risks from long-term opioid therapy.”60
23
                    165.     To underplay the risk and impact of addiction and make doctors feel more
24
25   59
          2016 CDC Guideline, supra note 19, at 11.
     60
          Id. at 28 (emphasis added).
26
27


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 1   comfortable starting patients on opioids, the Manufacturer Defendants falsely claimed that

 2   opioid dependence can easily be addressed by tapering and that opioid withdrawal is not a
 3
     problem, and failed to disclose the increased difficulty of stopping opioids after long-term use.
 4
                    166.     For example, on information and belief, a 2011 non-credit educational
 5
     program sponsored by Endo, entitled Persistent Pain in the Older Adult, claimed that withdrawal
 6
 7   symptoms can be avoided by tapering a patient’s opioid dose by 10%-20% for 10 days.

 8                  167.     Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
 9
     Its Management, which claimed that “[s]ymptoms of physical dependence can often be
10
     ameliorated by gradually decreasing the dose of medication during discontinuation” without
11
     mentioning any hardships that might occur.61
12
13                  168.     The Manufacturer Defendants deceptively minimized the significant

14   symptoms of opioid withdrawal, which, as explained in the 2016 CDC Guideline, include drug
15   craving, anxiety, insomnia, abdominal pain, vomiting, diarrhea, tremor, and tachycardia (rapid
16
     heartbeat). The Marketing Defendants also grossly understated the difficulty of tapering,
17
     particularly after long-term opioid use.
18
19                  169.     Contrary to the Manufacturer Defendants’ representations, the 2016 CDC

20   Guideline recognizes that the duration of opioid use and the dosage of opioids prescribed should
21   be “limit[ed]” to “minimize the need to taper opioids to prevent distressing or unpleasant
22
     withdrawal symptoms,” because “physical dependence on opioids is an expected physiologic
23
     response in patients exposed to opioids for more than a few days.”62 The Guideline further states
24
25   61
          APF, Policymaker's Guide, supra note 46 at 32.
     62
          2016 CDC Guideline, supra note 19, at 24.
26
27


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 1   that “more than a few days of exposure to opioids significantly increases hazards” and “each day

 2   of unnecessary opioid use increases likelihood of physical dependence without adding benefit.”63
 3
                    170.     The Manufacturer Defendants falsely claimed that doctors and patients could
 4
     increase opioid dosages indefinitely without added risk and failed to disclose the greater risks to
 5
     patients at higher dosages. The ability to escalate dosages was critical to the Manufacturer
 6
 7   Defendants’ efforts to market opioids for long-term use to treat chronic pain because, absent this

 8   misrepresentation, doctors would have abandoned treatment when patients built up tolerance and
 9
     lower dosages did not provide pain relief. Some illustrative examples of these deceptive claims
10
     are described below:
11
                         a. On information and belief, Actavis’s predecessor created a patient brochure
12
13                           for Kadian in 2007 that stated, “Over time, your body may become tolerant

14                           of your current dose. You may require a dose adjustment to get the right
15                           amount of pain relief. This is not addiction.”
16
                         b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for
17
                             People Living with Pain (2007), which claims that some patients “need” a
18
19                           larger dose of an opioid, regardless of the dose currently prescribed. The guide

20                           stated that opioids have “no ceiling dose” and are therefore the most
21                           appropriate treatment for severe pain. This guide is still available online.64
22
                         c. Endo sponsored a website, “PainKnowledge,” which, upon information and
23
                             belief, claimed in 2009 that opioid dosages may be increased until “you are
24
25   63
          Id.
     64
          APF, Treatment Options, supra note 44, at 12.
26
27


     COMPLAINT - 56


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 1                       on the right dose of medication for your pain.”

 2                   d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your
 3
                         Pain: Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-
 4
                         0120). In Q&A format, it asked “If I take the opioid now, will it work later
 5
                         when I really need it?” The response is, “The dose can be increased. . . .You
 6
 7                       won’t ‘run out’ of pain relief.”65

 8                   e. Janssen, on information and belief, sponsored a patient education guide
 9
                         entitled Finding Relief: Pain Management for Older Adults (2009), which its
10
                         sales   force    distributed.   This    guide    listed   dosage    limitations      as
11
                         “disadvantages” of other pain medicines but omitted any discussion of risks
12
13                       of increased opioid dosages.

14                   f. On information and belief, Purdue’s In the Face of Pain website promoted
15                       the notion that if a patient’s doctor does not prescribe what, in the patient’s
16
                         view, is a sufficient dosage of opioids, he or she should find another doctor
17
                         who will.
18
19                   g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &

20                       Its Management, which taught that dosage escalations are “sometimes
21                       necessary,” even unlimited ones, but did not disclose the risks from high
22
                         opioid dosages. This publication is still available online.66
23
                     h. On information and belief, in 2007, Purdue sponsored a CME entitled
24
25   65
        Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
     (Russell K. Portenoy, M.D., ed., 2004).
26   66
        APF, Policymaker's Guide, supra note 46, at 32.
27


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 1                        “Overview of Management Options” that was available until at least 2012.

 2                        The CME was edited by a KOL and taught that nonsteroidal anti-
 3
                          inflammatories (or NSAIDs) and other drugs, but not opioids, are unsafe at
 4
                          high dosages.
 5
                      i. Seeking to overturn the criminal conviction of a doctor for illegally
 6
 7                        prescribing opioids, the Front Group APF and others argued to the United

 8                        States Court of Appeals for the Fourth Circuit that “there is no ‘ceiling dose’”
 9
                          for opioids.67
10
                      j. On information and belief, Purdue’s detailers have told doctors in Alaska that
11
                          they should increase the dose of OxyContin, rather than the frequency of use,
12
13                        to address early failure.

14                171.    These claims conflict with the scientific evidence, as confirmed by the FDA
15   and CDC. As the CDC explains in its 2016 Guideline, the “[b]enefits of high-dose opioids for
16
     chronic pain are not established” while the “risks for serious harms related to opioid therapy
17
     increase at higher opioid dosage.” More specifically, the CDC explains, “there is now an
18
19   established body of scientific evidence showing that overdose risk is increased at higher opioid

20   dosages.” The CDC also states that there are “increased risks for opioid use disorder, respiratory
21   depression, and death at higher dosages.”68
22
                  172.    The Manufacturer Defendants’ deceptive marketing of the so-called abuse-
23
24   67
        Brief of the American Pain Foundation (APF), the National Pain Foundation, and the National Foundation for the
     Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474,
25   at 9 (4th Cir. Sept. 8, 2005).
     68
        2016 CDC Guideline, supra note 19, at 22-24.
26
27


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 1   deterrent properties of some of their opioids has created false impressions that these opioids can

 2   prevent and curb addiction and abuse.
 3
                 173.     These abuse deterrent formulations (AD opioids) purportedly are harder to
 4
     crush, chew, or grind; become gelatinous when combined with a liquid, making them harder to
 5
     inject; or contain a counteragent such as naloxone that is activated if the tablets are tampered
 6
 7   with. Despite this, AD opioids can be defeated—often quickly and easily—by those determined

 8   to do so. The 2016 CDC Guideline states that “[n]o studies” support the notion that “abuse-
 9
     deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,”69 noting
10
     that the technologies—even when they work—do not prevent opioid abuse through oral intake,
11
     the most common route of opioid abuse, and can still be abused by non-oral routes. Moreover,
12
13   they do not reduce the rate of misuse and abuse by patients who become addicted after using

14   opioids long-term as prescribed or who escalate their use by taking more pills or higher doses.
15   Tom Frieden, the Director of the CDC under President Obama, has further reported that his staff
16
     could not find “any evidence showing the updated opioids [ADFs] actually reduce rates of
17
     addiction, overdoses, or deaths.”70
18
19               174.     Despite this lack of evidence, the Manufacturer Defendants have made and

20   continue to make misleading claims about the ability of their so-called abuse-deterrent opioid
21   formulations to prevent or reduce abuse and addiction and the safety of these formulations.
22
                 175.     For example, Endo has marketed Opana ER71 as tamper- or crush-resistant
23
24   69
        2016 CDC Guideline, supra note 19, at 22.
     70
        Perrone, et al., supra note 17.
25   71
        Because Opana ER could be “readily prepared for injection” and was linked to outbreaks of HIV and a serious
     blood disease, in May 2017, an FDA advisory committee recommended that Opana ER be withdrawn from the
26   market. The FDA adopted this recommendation on June 8, 2017 and requested that Endo withdraw Opana ER from

27


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 1   and less prone to misuse and abuse even though: (1) on information and belief, the FDA warned

 2   in a 2013 letter that there was no evidence that Opana ER would provide a reduction in oral,
 3
     intranasal or intravenous abuse; and (2) Endo’s own studies, which it failed to disclose, showed
 4
     that Opana ER could still be ground and chewed. Nonetheless, Endo’s advertisements for Opana
 5
     ER falsely claimed that it was designed to be crush resistant, in a way that suggested it was more
 6
 7   difficult to abuse, and on information and belief, detailers for Endo have informed doctors that

 8   Opana ER is harder to abuse.
 9
                  176.     In its 2016 settlement with the NY AG, Endo agreed not to make statements
10
     in New York that Opana ER was “designed to be, or is crush resistant.” The NY AG found those
11
     statements false and misleading because there was no difference in the ability to extract the
12
13   narcotic from Opana ER. The NY AG also found that Endo failed to disclose its own knowledge

14   of the crushability of redesigned Opana ER in its marketing to formulary committees and
15   pharmacy benefit managers.
16
                  177.     Likewise, Purdue has engaged and continues to engage in deceptive
17
     marketing of its AD opioids, i.e., reformulated OxyContin and Hysingla. Before April 2013,
18
19   Purdue did not market its opioids based on their abuse deterrent properties. However, beginning

20   in 2013, and continuing today, detailers from Purdue regularly use the so-called abuse deterrent
21   properties of Purdue’s opioid products as a primary selling point to differentiate those products
22
     from their competitors. Specifically, on information and belief, these detailers: (1) falsely claim
23
     that Purdue’s AD opioids prevent tampering and cannot be crushed or snorted; (2) falsely claim
24
25   the market. Press Release, “FDA requests removal of Opana ER for risks related to abuse,” June 8, 2017, available
     at https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm (last accessed Nov. 14,
26   2018).
27


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 1   that Purdue’s AD opioids prevent or reduce opioid misuse, abuse, and diversion, are less likely

 2   to yield a euphoric high, and are disfavored by opioid abusers; (3) falsely claim Purdue’s AD
 3
     opioids are “safer” than other opioids; and (4) fail to disclose that Purdue’s AD opioids do not
 4
     impact oral abuse or misuse and that its abuse deterrent properties can be defeated.
 5
                  178.     These statements and omissions by Purdue are false and misleading. Purdue
 6
 7   knew and should have known that reformulated OxyContin is not better at tamper resistance than

 8   the original OxyContin and is still regularly tampered with and abused. A 2015 study also shows
 9
     that many opioid addicts are abusing Purdue’s AD opioids through oral intake or by defeating
10
     the abuse deterrent mechanism. Indeed, one-third of the patients in the study defeated the abuse
11
     deterrent mechanism and were able to continue inhaling or injecting the drug. To the extent that
12
13   the abuse of Purdue’s AD opioids was reduced, those addicts simply shifted to other drugs such

14   as heroin.72 Despite this, J. David Haddox, the Vice President of Health Policy for Purdue, falsely
15   claimed in 2016 that the evidence does not show that Purdue’s AD opioids are being abused in
16
     large numbers.73
17
                  179.     The development, marketing, and sale of AD opioids is a continuation of the
18
19   Manufacturer Defendants’ strategy to use misinformation to drive profit. The Manufacturer

20   Defendants’ claims that AD opioids are safe falsely assuage doctors’ concerns about the toll
21   caused by the explosion in opioid abuse, causing doctors to prescribe more AD opioids, which
22
     are far more expensive than other opioid products even though they provide little or no additional
23
24   72
        Cicero, Theodore J., and Matthew S. Ellis, Abuse-deterrent formulations and the Prescription Opioid Abuse
     Epidemic in the United States: Lessons Learned From Oxycontin (2015) 72(5) JAMA PSYCHIATRY 424-430.
25   73
        See Harrison Jacobs, There is a big problem with the government’s plan to stop the drug-overdose epidemic,
     Business Insider, Mar. 14, 2016, available at http://www.businessinsider.com/robert-califf-abuse-deterrent-drugs-
26   have-a-big-flaw-2016-3 (last accessed Nov. 14, 2018).

27


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 1   benefit.

 2                    3. The Manufacturer Defendants’ false and misleading statements
                         overstated the benefits of chronic opioid therapy
 3
 4                180.    To convince doctors and patients that opioids should be used to treat chronic

 5   pain, the Manufacturer Defendants also had to persuade them that there was a significant upside
 6
     to long-term opioid use.
 7
                  181.    The 2016 CDC Guideline makes clear that there is “insufficient evidence to
 8
     determine long-term benefits of opioid therapy for chronic pain.”74 In fact, the CDC found that
 9
10   “[n]o evidence shows a long-term benefit of opioids in pain and function versus no opioids for

11   chronic pain with outcomes examined at least 1 year later (with most placebo-controlled
12
     randomized trials ≤ 6 weeks in duration)”75 and that other treatments were more or equally
13
     beneficial and less harmful than long-term opioid use.
14
                  182.    The FDA, too, has recognized the lack of evidence to support long-term
15
16   opioid use. In 2013, the FDA stated that it was “not aware of adequate and well-controlled studies

17   of opioid use longer than 12 weeks.”76
18                183.    Despite this, the Manufacturer Defendants falsely and misleadingly touted the
19
     benefits of long-term opioid use and falsely and misleadingly suggested that these benefits were
20
     supported by scientific evidence. Not only have the Manufacturer Defendants failed to correct
21
22   these false and misleading claims, they continue to make them today.

23                184.    For example, the Manufacturer Defendants falsely claimed that long-term
24   opioid use improved patients’ function and quality of life. Some illustrative examples of these
25
     74
26      2016 CDC Guideline, supra note 19, at 19.
     75
        Id. at 15.
     76
27      Letter from Janet Woodcock to Andrew Koldny, supra note 50, at 9.



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 1   deceptive claims are described below:

 2                 a. On information and belief, Actavis distributed an advertisement that claimed
 3
                       that the use of Kadian to treat chronic pain would allow patients to return to
 4
                       work, relieve “stress on your body and your mental health,” and help patients
 5
                       enjoy their lives.
 6
 7                 b. Endo distributed advertisements that claimed that the use of Opana ER for

 8                     chronic pain would allow patients to perform demanding tasks like
 9
                       construction work or work as a chef and portrayed seemingly healthy,
10
                       unimpaired subjects.
11
                   c. On information and belief, Janssen sponsored and edited a patient education
12
13                     guide entitled Finding Relief: Pain Management for Older Adults (2009),

14                     which states as “a fact” that “opioids may make it easier for people to live
15                     normally.” The guide lists expected functional improvements from opioid
16
                       use, including sleeping through the night, returning to work, recreation, sex,
17
                       walking, and climbing stairs and states that “[u]sed properly, opioid
18
19                     medications can make it possible for people with chronic pain to ‘return to

20                     normal.’”
21                 d. Responsible Opioid Prescribing (2007), sponsored and distributed by Endo
22
                       and Purdue, taught that relief of pain by opioids, by itself, improved patients’
23
                       function. The book remains for sale online.
24
25                 e. APF’s Treatment Options: A Guide for People Living with Pain, sponsored

26                     by Cephalon and Purdue, counseled patients that opioids “give [pain patients]
27


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 1                           a quality of life we deserve.” This publication is still available online.77

 2                       f. On information and belief, Endo’s NIPC website painknowledge.com claimed
 3
                             that with opioids, “your level of function should improve; you may find you
 4
                             are now able to participate in activities of daily living, such as work and
 5
                             hobbies, that you were not able to enjoy when your pain was worse.”
 6
 7                           Elsewhere, the website touted improved quality of life (as well as “improved

 8                           function”) as benefits of opioid therapy.
 9
                         g. On information and belief, Janssen sponsored, funded, and edited a website,
10
                             Let’s Talk Pain, in 2009, which featured an interview edited by Janssen
11
                             claiming that opioids allowed a patient to “continue to function.”
12
13                       h. Purdue sponsored the development and distribution of APF’s A

14                           Policymaker’s Guide to Understanding Pain & Its Management, which
15                           claimed that “multiple clinical studies” have shown that opioids are effective
16
                             in improving daily function, psychological health, and health-related quality
17
                             of life for chronic pain patients.78 The Policymaker’s Guide is still available
18
19                           online today.

20                       i. In a 2015 video on Forbes.com discussing the introduction of Hysingla ER,
21                           Purdue’s Vice President of Health Policy, J. David Haddox, talked about the
22
                             importance of opioids, including Purdue’s opioids, to chronic pain patients’
23
                             “quality of life,” and complained that CDC statistics do not take into account
24
25   77
          APF, Treatment Options, supra note 44, at 15.
     78
          APF, Policymaker’s Guide, supra note 46, at 29.
26
27


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 1                        that patients could be driven to suicide without pain relief.79

 2               185.     The above claims find no support in the scientific literature. The 2016 CDC
 3
     Guideline approved by the FDA concluded “there is no good evidence that opioids improve pain
 4
     or function with long-term use, and . . . complete relief of pain is unlikely.”80 The CDC reinforced
 5
     this conclusion throughout its 2016 Guideline:
 6
 7                    a. “No evidence shows a long-term benefit of opioids in pain and function

 8                        versus no opioids for chronic pain with outcomes examined at least 1 year
 9
                          later . . .”81
10
                      b. “Although opioids can reduce pain during short-term use, the clinical
11
                          evidence review found insufficient evidence to determine whether pain relief
12
13                        is sustained and whether function or quality of life improves with long-term

14                        opioid therapy.”82
15                    c. “[E]vidence is limited or insufficient for improved pain or function with long-
16
                          term use of opioids for several chronic pain conditions for which opioids are
17
                          commonly prescribed, such as low back pain, headache, and fibromyalgia.”83
18
19               186.     The CDC also noted that the risks of addiction and death “can cause distress

20   and inability to fulfill major role obligations.”84 As a matter of common sense (and medical
21   evidence), drugs that can kill patients or commit them to a life of addiction or recovery do not
22
23
     79
        Matthew Harper, Why Supposedly Abuse-Proof Pills Won’t Stop Opioid Overdose Deaths, Forbes (Apr. 17,
     2015), available at https://www.forbes.com/sites/matthewherper/2015/04/17/why-supposedly-abuse-proof-pills-pill-
24   wont-stop-opioid-overdose-deaths/#6a4e41f06ce1 (last accessed Nov. 14, 2018).
     80
        2016 CDC Guideline, supra note 19, at 20. (Emphasis added).
     81
25      Id. at 15.
     82
        Id. at 18.
     83
26      Id. at 18-19.
     84
        Id. at 20.
27


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 1   improve their function and quality of life.

 2               187.     The 2016 CDC Guideline was not the first time a federal agency repudiated
 3
     the Manufacturer Defendants’ claim that opioids improved function and quality of life. In 2010,
 4
     the FDA warned Actavis that “[w]e are not aware of substantial evidence or substantial clinical
 5
     experience demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating
 6
 7   pain, taken together with any drug-related side effects patients may experience . . . . results in

 8   any overall positive impact on a patient’s work, physical and mental functioning, daily activities,
 9
     or enjoyment of life.”85 Upon information and belief, in 2008, the FDA sent a warning letter to
10
     an opioid manufacturer, making it publicly clear “that [the claim that] patients who are treated
11
     with the drug experience an improvement in their overall function, social function, and ability to
12
13   perform daily activities . . . has not been demonstrated by substantial evidence or substantial

14   clinical experience.”86
15               188.     The Manufacturer Defendants also falsely and misleadingly emphasized or
16
     exaggerated the risks of competing products like over-the-counter NSAIDs, so that doctors and
17
     patients would look to opioids first for the treatment of chronic pain. For example, the
18
19   Manufacturer Defendants frequently pointed to the lack of a ceiling dosage for opioids in contrast

20   to NSAIDs. The Manufacturer Defendants deceptively described the risks from NSAIDs while
21   failing to disclose the risks from opioids, and they overstated the number of deaths from NSAIDS.
22
     Once again, these misrepresentations by the Manufacturer Defendants contravene
23
24   85
        Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO, Actavis
     Elizabeth LLC, Feb. 18, 2010, at 5, available at
25   https://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf (last accessed Nov. 14, 2018).
     86
        Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Brian A. Markison, Chairman,
26   President and Chief Executive Officer, King Pharmaceuticals, Inc. (March 24, 2008).

27


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 1   pronouncements by and guidance from the FDA and CDC based on the scientific evidence. For

 2   example, the 2016 CDC Guideline states that NSAIDs, not opioids, should be the first-line
 3
     treatment for chronic pain, particularly arthritis and lower back pain.
 4
                     189.     For example, Purdue, with assistance from Abbott between 1996 and 2002,
 5
     misleadingly promoted OxyContin as being unique among opioids in providing 12 continuous
 6
 7   hours of pain relief with one dose. OxyContin does not last for 12 hours—a fact that Purdue has

 8   known at all times relevant to this action.87 Upon information and belief, Purdue’s own research
 9
     shows that OxyContin wears off in under six hours in one quarter of patients and in under 10
10
     hours in more than half. This is because OxyContin tablets release approximately 40% of their
11
     active medicine immediately, after which release tapers. This triggers a powerful initial response,
12
13   but provides little or no pain relief at the end of the dosing period, when less medicine is released.

14   This phenomenon is known as “end of dose” failure, and the FDA found in 2008 that a
15   “substantial proportion” of chronic pain patients taking OxyContin experience it. This not only
16
     renders Purdue’s promise of 12 hours of relief false and deceptive, it also makes OxyContin
17
     more dangerous because the declining pain relief patients experience toward the end of each
18
19   dosing period drives them to take more OxyContin before the next dosing period begins, quickly

20   increasing the amount of drug they are taking and spurring growing dependence.
21                   190.     Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain
22
     even though the FDA has expressly limited their use to the treatment of cancer pain in opioid
23
     tolerant individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids.
24
25   Neither is approved for, or has been shown to be safe or effective for, chronic pain. Indeed, the

26   87
          See Ryan, et al., supra note 18.
27


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 1   FDA expressly prohibited Cephalon from marketing Actiq for anything but cancer pain, and

 2   refused to approve Fentora for the treatment of chronic pain because of the potential harm.
 3
                 191.     Despite this, on information and belief, Cephalon conducted and continues to
 4
     conduct a well-funded campaign to promote Actiq and Fentora for chronic pain and other non-
 5
     cancer conditions for which it was not approved, appropriate or safe.88 As part of this campaign,
 6
 7   Cephalon used CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales

 8   representatives to give doctors the false impression that Actiq and Fentora are safe and effective
 9
     for treating non-cancer pain. For example:
10
                      a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of
11
                          Persistent and Breakthrough Pain, published in a supplement of Pain
12
13                        Medicine News in 2009. The CME instructed doctors that “[c]linically, broad

14                        classification of pain syndromes as either cancer- or non-cancer- related has
15                        limited utility” and recommended Actiq and Fentora for patients with chronic
16
                          pain.
17
                      b. Upon information and belief, Cephalon’s sales representatives set up
18
19                        hundreds of speaker programs for doctors, including many non-oncologists,

20                        which promoted Actiq and Fentora for the treatment of non-cancer pain.
21                    c. In December 2011, Cephalon widely disseminated a journal supplement
22
                          entitled “Special Report: An Integrated Risk Evaluation and Mitigation
23
                          Strategy for Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal
24
25   88
       See Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 million & Enter
     Plea To Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
26   https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html (last accessed Nov. 14, 2018).
27


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 1                          Fentanyl Citrate (ACTIQ)” to Anesthesiology News, Clinical Oncology

 2                          News, and Pain Medicine News—three publications that are sent to thousands
 3
                            of anesthesiologists and other medical professionals. The Special Report
 4
                            openly promotes Fentora for “multiple causes of pain”—and not just cancer
 5
                            pain.
 6
 7                192.      Cephalon’s deceptive marketing gave doctors and patients the false

 8   impression that Actiq and Fentora were not only safe and effective for treating chronic pain, but
 9
     were also approved by the FDA for such uses.
10
                  193.      Likewise, Insys aggressively and misleadingly promoted Subsys—that has
11
     been approved by the FDA only for management of breakthrough pain in adult cancer patients—
12
13   as safe and appropriate for non-cancer pain such as neck and back pain, without disclosing the

14   lack of approval or evidence for such uses, and misrepresented the appropriateness of Subsys for
15   treatment of those conditions. Insys specifically targeted doctors other than oncologists,
16
     including by paying them through its fraudulent speaker program (discussed below), and training
17
     its sales force to encourage physicians to prescribe Subsys for patients who were suffering from
18
19   non-cancer pain.89

20                     4. The Manufacturer Defendants knew that their representations were
                          false and misleading, and fraudulently concealed their conduct to avoid
21                        detection
22
                  194.      As alleged herein, the Manufacturer Defendants made and/or disseminated
23
     89
24      Specific instances of this conduct are described in a complaint filed by the Department of Justice, intervening in
     five lawsuits that accuse Insys of violating the False Claims Act and other federal laws in connection with the
25   marketing of Subsys. United States Complaint in Intervention, No. 2:13-cv-05861 (C.D. Cal. Apr. 13, 2018),
     available at https://www.justice.gov/opa/press-release/file/1063051/download.
26
27


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 1   deceptive statements regarding material facts and further concealed material facts, in the course

 2   of manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’
 3
     actions were intentional and/or unlawful. Such statements include, but are not limited to, those
 4
     set out above and alleged throughout this Complaint.
 5
                195.    On information and belief, the Manufacturer Defendants coordinated their
 6
 7   messaging through national and regional sales and speaker trainings and coordinated

 8   advertisements and marketing materials.
 9
                196.    The Manufacturer Defendants, both individually and collectively, made,
10
     promoted, and profited from their misrepresentations about the risks and benefits of opioids for
11
     chronic pain even though they knew that their misrepresentations were false and misleading.
12
13              197.    The history of opioids, as well as research and clinical experience over the

14   last 20 years, established that opioids were highly addictive and responsible for a long list of
15   very serious adverse outcomes. The Manufacturer Defendants had access to scientific studies,
16
     detailed prescription data, and reports of adverse events, including reports of addiction,
17
     hospitalization, and deaths—all of which made clear the harms from long-term opioid use and
18
19   that patients are suffering from addiction, overdoses, and death in alarming numbers. More

20   recently, the FDA and CDC have issued pronouncements based on the medical evidence that
21   conclusively expose the known falsity of the Manufacturer Defendants’ misrepresentations.
22
     Defendants Endo and Purdue have recently entered agreements in New York prohibiting them
23
     from making some of the same misrepresentations described in this Complaint.
24
25              198.    Moreover, at all times relevant to this Complaint, the Manufacturer

26   Defendants took steps to avoid detection of and to fraudulently conceal their deceptive marketing
27


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 1   and unlawful, unfair, and fraudulent conduct. For example, the Manufacturer Defendants

 2   disguised their own role in the deceptive marketing of chronic opioid therapy by funding and
 3
     working through third parties like Front Groups and KOLs. The Manufacturer Defendants
 4
     purposefully hid behind the assumed credibility of these individuals and organizations and relied
 5
     on them to vouch for the accuracy and integrity of the Manufacturer Defendants’ false and
 6
 7   misleading statements about the risks and benefits of long-term opioid use for chronic pain.

 8              199.    The Manufacturer Defendants also never disclosed their role in shaping,
 9
     editing, and approving the content of information and materials disseminated by these third
10
     parties. The Manufacturer Defendants exerted considerable influence on these promotional and
11
     “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups, and
12
13   public relations companies that were not made public.

14              200.    Finally, the Manufacturer Defendants manipulated their promotional
15   materials and the scientific literature to make it appear that these items were accurate, truthful,
16
     and supported by objective evidence when they were not. The Manufacturer Defendants
17
     distorted the meaning or import of studies they cited and offered them as evidence for
18
19   propositions the studies did not support. The Manufacturer Defendants invented

20   “pseudoaddiction” and promoted it to an unsuspecting medical community. The Manufacturer
21   Defendants provided the medical community with false and misleading information about
22
     ineffectual strategies to avoid or control opioid addiction. The Manufacturer Defendants
23
     recommended to the medical community that dosages be increased, without disclosing the risks.
24
25              201.    The Manufacturer Defendants spent millions of dollars over a period of years

26   on a misinformation campaign aimed at highlighting opioids’ alleged benefits, disguising the
27


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 1   risks, and promoting sales. The lack of support for the Manufacturer Defendants’ deceptive

 2   messages was not apparent to medical professionals who relied upon them in making treatment
 3
     decisions.
 4
                  202.     Upon information and belief, the use of opioids by individuals served by the
 5
     Plaintiff and by other individuals in the region served by Plaintiff who were addicted or who did
 6
 7   not have a medically necessary purpose would not have occurred without the activities of

 8   Manufacturer Defendants alleged in this Complaint.
 9
                      5. Defendant Insys went beyond false and misleading marketing to bribe
10                       physicians and lie to insurers to obtain preauthorization for
                         reimbursement
11
                  203.     Defendant Insys paid prescribers for fake speakers’ programs in exchange for
12
13   prescribing its product, Subsys. Insys’s schemes resulted in countless speakers’ programs at

14   which the designated speaker did not speak, and, on many occasions, speaker programs at which
15   the only attendees at the events were the speaker and an Insys sales representative. In other
16
     words, Insys went beyond just promoting speakers who would, in turn, promote their product: it
17
     was a pay-to-prescribe program in which Insys used speakers’ programs as a front to pay for
18
     prescriptions and to push opioids onto patients who did not need them. These activities are
19
20   outlined in a complaint filed by the Department of Justice, intervening in five lawsuits that accuse

21   Insys of violating the False Claims Act in connection with the marketing of Subsys.90
22
     90
       Press Release, Department of Justice, United States Intervenes in False Claims Act Lawsuits Accusing Insys
23   Therapeutics of Paying Kickbacks and Engaging in Other Unlawful Practices to Promote Subsys, A Powerful
     Opioid Painkiller (May 15, 2018), available at https://www.justice.gov/opa/pr/united-states-intervenes-false-claims-
24   act-lawsuits-accusing-insys-therapeutics-paying (providing a link to recently unsealed complaint) (last visited Nov.
     14, 2018).
25
26
27


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 1                204.     According to publically available information, payments by Insys included

 2   over $150,000 to Dr. Mahmood Ahmad between 2013 and 2016 for promotional speaking,
 3
     consulting, and other payments.91 Dr. Ahmad operated a pain clinic in Anchorage, Alaska, until
 4
     his license was suspended by the Alaska State Medical Board due to his dangerous opioid
 5
     prescribing practices.92
 6
 7                205.     In addition to its fraudulent “speaker program,” Insys established an internal

 8   unit, sometimes referred to as the Insys Reimbursement Center, to facilitate the process of
 9
     obtaining prior authorization of Subsys prescriptions, which is required by many insurers. Insys
10
     employees in the Insys Reimbursement Center employed fraudulent and misleading tactics to
11
     secure reimbursements, including falsifying medical histories of patients, falsely claiming that
12
13   patients had cancer, and providing misleading information to insurers regarding patients’

14   diagnoses and medical conditions. Insys employees also lied about their employer, falsely
15   claiming or implying that they were employed by the physician or nurse practitioner that had
16
     prescribed Subsys. Specific examples of this fraudulent conduct are also outlined in the United
17
     States’ Complaint in Intervention against Insys.93
18
19                206.     All of these actions were intended to, and had the effect of, pushing Insys’s

20   dangerous opioid products onto patients who did not need it.
21
     91
        ProPublica, Dollars for Docs: Talk With Your Doctor, supra, note 14.
22   92
        Michelle Theriault Boots, Medical board suspends license of doctor accused of running painkiller ‘pill mill’ clinic
     in Anchorage, Anchorage Daily News (f/k/a Alaska Dispatch News), May 24, 2016, https://www.adn.com/alaska-
23   news/2016/05/23/medical-board-suspends-license-of-doctor-accused-of-running-painkiller-pill-mill-clinic-in-
     anchorage/ (last visited Nov. 14, 2018).
24   93
        Supra, note 86.

25
26
27


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 1           C.      All Defendants assisted in the creation of a nationwide, illicit market for
                     opioids by failing to uphold their legal duties to prevent unlawful diversion
 2
                  207.   In addition to the allegations above, all Defendants played a role in the
 3
 4   creation of an illicit market for prescription opioids, including in the geographic area in Alaska

 5   served by the Plaintiff, further fueling the opioid epidemic, by failing to fulfill their legal duties
 6   to prevent diversion.
 7
                  208.   Opioid “diversion” occurs whenever the supply chain of prescription opioids
 8
     is broken, allowing drugs to be transferred from a legitimate channel of distribution or use to an
 9
10   illegitimate channel of distribution or use. Opioid diversion occurs at an alarming rate in the

11   United States, and diverted prescription opioids predictably flow across State lines and between
12   jurisdictions throughout the country.
13
                  209.   Each participant in the supply chain, including each Defendant, has a common
14
     law duty to prevent diversion by using reasonable care under the circumstances. This includes a
15
16   duty not to create a foreseeable risk of harm to others. Additionally, one who engages in

17   affirmative conduct and thereafter realizes or should realize that such conduct has created an

18   unreasonable risk of harm to another is under a duty to exercise reasonable care to prevent the
19
     threatened harm.
20
                  210.   In addition to their common law duties, Defendants are subject to the statutory
21
     requirements of the Controlled Substances Act, 21 U.S.C. §§ 801, et seq. (the “CSA”), and its
22
23   implementing regulations. Congress passed the CSA partly out of a concern about “the

24   widespread diversion of [controlled substances] out of legitimate channels into the illicit
25
     market.” H.R. Rep. No. 91-1444, 91st Cong., Sess. 1 (1970), reprinted in U.S.C.C.A.N. 4566,
26
     4572.
27


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 1              211.    The CSA imposes a legal framework for the distribution and dispensing of

 2   controlled substances. This framework acts as a system of checks and balances from the
 3
     manufacturing level through delivery of the controlled substance to the patient or ultimate user.
 4
                212.    Every person or entity that manufactures, distributes, or dispenses opioids
 5
     must obtain a registration with the DEA. Registrants at every level of the supply chain must
 6
 7   fulfill their obligations under the CSA.

 8              213.    All opioid distributors are required to maintain effective controls against
 9
     opioid diversion. They are required to create and use a system to identify and report to law
10
     enforcement downstream suspicious orders of controlled substances, such as orders of unusually
11
     large size, orders that are disproportionate, orders that deviate from a normal pattern, and/or
12
13   orders of unusual frequency. To comply with these requirements, distributors must know their

14   customers, must conduct due diligence, must report suspicious orders, and must terminate orders
15   if there are indications of diversion.
16
                214.    Under the CSA, anyone authorized to handle controlled substances must track
17
     shipments. The DEA’s Automation of Reports and Consolidation Orders System (ARCOS) is
18
19   an automated drug reporting system that records and monitors the flow of Schedule II controlled

20   substances from the point of manufacture through distribution to the point of sale. ARCOS
21   accumulates data on distributors’ controlled substances and transactions, which are then used to
22
     identify diversion. Each person or entity registered to distribute “ARCOS reportable” controlled
23
     substances, including opioids, must report each acquisition and distribution transaction to the
24
25   DEA. See 21 U.S.C. § 827; 21 C.F.R. § 1304.33. Each registrant must also maintain a complete,

26   accurate and current record of each substance manufactured, imported, received, sold, delivered,
27


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 1   exported, or otherwise disposed of.

 2              215.    Each registrant must also comply with the security requirements to prevent
 3
     diversion set forth in 21 C.F.R. § 1301.71.
 4
                1.      The Distributor Defendants’ failure to prevent diversion
 5
                216.    The DEA has provided guidance to distributors on how to combat opioid
 6
 7   diversion. On information and belief, since 2006 the DEA has conducted one-on-one briefings

 8   with distributors regarding downstream customer sales, due diligence, and regulatory
 9
     responsibilities. On information and belief, the DEA also provides distributors with data on
10
     controlled substance distribution patterns and trends, including data on the volume and frequency
11
     of orders and the percentage of controlled versus non-controlled purchases. On information and
12
13   belief, the DEA has also hosted conferences for opioid distributors and has participated in

14   numerous meetings and events with trade associations.
15              217.    On September 27, 2006, and December 27, 2007, the DEA Office of
16
     Diversion Control sent letters to all registered distributors providing guidance on suspicious
17
     order monitoring and the responsibilities and obligations of registrants to prevent diversion.
18
19              218.    As part of the legal obligation to maintain effective controls against diversion,

20   the distributor is required to exercise due care in confirming the legitimacy of each and every
21   order prior to filling. Circumstances that could be indicative of diversion include ordering
22
     excessive quantities of a limited variety of controlled substances while ordering few if any other
23
     drugs; ordering a disproportionate amount of controlled substances versus non-controlled
24
25   prescription drugs; ordering excessive quantities of a limited variety of controlled substances in

26   combination with lifestyle drugs; and ordering the same controlled substance from multiple
27


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 1   distributors.

 2                219.    Suspicious orders must be reported when discovered. Registrants must
 3
     perform an independent analysis of a suspicious order prior to the sale to determine if the
 4
     controlled substances would likely be diverted, and filing a suspicious order and then completing
 5
     the sale does not absolve the registrant from legal responsibility.
 6
 7                220.    On information and belief, the Distributor Defendants’ own industry group,

 8   the Healthcare Distribution Management Association (HDMA), now known as the Healthcare
 9
     Distribution Alliance (HDA), published Industry Compliance Guidelines titled “Reporting
10
     Suspicious Orders and Preventing Diversion of Controlled Substances” emphasizing the critical
11
     role of each member of the supply chain in distributing controlled substances. These industry
12
13   guidelines stated: “At the center of a sophisticated supply chain, distributors are uniquely situated

14   to perform due diligence in order to help support the security of controlled substances they
15   deliver to their customers.”94
16
                  221.    Opioid distributors have admitted to the magnitude of the problem and, at
17
     least superficially, their legal responsibilities to prevent diversion. They have made statements
18
19   assuring the public they are supposedly undertaking a duty to curb the opioid epidemic.

20                222.    These assurances, on their face, of identifying and eliminating criminal
21   activity and curbing the opioid epidemic create a duty for the Distributor Defendants to take
22
     reasonable measures to do just that.
23
                  223.    Despite their duties to prevent diversion, the Distributor Defendants have
24
25   94
       HDMA Industry Compliance Guidelines: Reporting Suspicious Orders and Preventing Diversion of Controlled
     Substances, filed in Cardinal Health, Inc. v. Holder, No. 12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App.
26   B at 1).
27


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 1   knowingly, recklessly, or negligently allowed diversion.95 The DEA has repeatedly taken action

 2   to attempt to force compliance, including 178 registrant actions between 2008 and 2012, 76
 3
     orders to show cause issued by the Office of Administrative Law Judges, and 41 actions
 4
     involving immediate suspension orders.96 The Distributor Defendants’ wrongful conduct and
 5
     inaction have resulted in numerous civil fines and other penalties, including:
 6
 7                    a. In a 2017 Administrative Memorandum of Agreement between McKesson

 8                        and the DEA, McKesson admitted that it “did not identify or report to [the]
 9
                          DEA certain orders placed by certain pharmacies which should have been
10
                          detected by McKesson as suspicious based on the guidance contained in the
11
                          DEA Letters.” McKesson was fined $150,000,000.97
12
13                    b. McKesson has a history of repeatedly failing to perform its duties. In May

14                        2008, McKesson entered into a settlement with the DEA on claims that
15                        McKesson failed to maintain effective controls against diversion of controlled
16
                          substances. McKesson allegedly failed to report suspicious orders from rogue
17
                          Internet pharmacies around the Country, resulting in millions of doses of
18
19                        controlled substances being diverted. McKesson’s system for detecting

20                        “suspicious orders” from pharmacies was so ineffective and dysfunctional
21
     95
        Scott Higham and Lenny Bernstein, The Drug Industry’s Triumph Over the DEA, The Wash. Post, Oct. 15, 2017,
22   available at http://wapo.st/opioids?tid=ss_mail (last accessed Nov. 14, 2018); Lenny Bernstein et al., How drugs
     intended for patients ended up in the hands of illegal users: ‘No one was doing their job,’ Wash. Post, Oct. 22,
23   2016, available at http://wapo.st/2etAUdQ?tid=ss_mail&utm_term=.96341c37bdb5 (last accessed Nov. 14, 2018).
     96
        Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
24   Administration’s Adjudication of Registrant Actions 6 (May 2014), available at
     https://oig.justice.gov/reports/2014/e1403.pdf (last accessed Aug. 10, 2018).
25   97
        Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and the
     McKesson Corp., at 3 (Jan. 17, 2017), available at https://www.justice.gov/opa/press-release/file/928476/download
26   (last accessed Nov. 14, 2018).

27


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 1                        that at one of its facilities in Colorado between 2008 and 2013, it filled more

 2                        than 1.6 million orders, for tens of millions of controlled substances, but it
 3
                          reported just 16 orders as suspicious, all from a single consumer.
 4
                      c. On November 28, 2007, the DEA issued an Order to Show Cause and
 5
                          Immediate Suspension Order against a Cardinal Health facility in Auburn,
 6
 7                        Washington, for failure to maintain effective controls against diversion.

 8                    d. On December 5, 2007, the DEA issued an Order to Show Cause and
 9
                          Immediate Suspension Order against a Cardinal Health facility in Lakeland,
10
                          Florida, for failure to maintain effective controls against diversion.
11
                      e. On December 7, 2007, the DEA issued an Order to Show Cause and
12
13                        Immediate Suspension Order against a Cardinal Health facility in

14                        Swedesboro, New Jersey, for failure to maintain effective controls against
15                        diversion.
16
                      f. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
17
                          Suspension Order against a Cardinal Health facility in Stafford, Texas, for
18
19                        failure to maintain effective controls against diversion.

20                    g. In 2008, Cardinal paid a $34 million penalty to settle allegations about opioid
21                        diversion taking place at seven of its warehouses in the United States.98
22
                      h. On February 2, 2012, the DEA issued another Order to Show Cause and
23
                          Immediate Suspension Order against a Cardinal Health facility in Lakeland,
24
25   98
       Lenny Bernstein and Scott Higham, Cardinal Health fined $44 million for opioid reporting violations, The Wash.
     Post, Jan. 11, 2017, available at http://wapo.st/2j8VHEc?tid=ss_mail&utm_term=.e5b03bdcdffa (last accessed Nov.
26   14, 2018).
27


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 1                         Florida, for failure to maintain effective controls against diversion.

 2                    i. In 2012, Cardinal reached an administrative settlement with the DEA relating
 3
                           to opioid diversion between 2009 and 2012 in multiple states.
 4
                      j. In December 2016, the Department of Justice announced a multi-million
 5
                           dollar settlement with Cardinal for violations of the CSA.99
 6
 7                    k. On information and belief, in connection with the investigations of Cardinal,

 8                         the DEA uncovered evidence that Cardinal’s own investigator warned
 9
                           Cardinal against selling opioids to a particular pharmacy in Wisconsin that
10
                           was suspected of opioid diversion. Cardinal did nothing to notify the DEA or
11
                           cut off the supply of drugs to the suspect pharmacy. Cardinal did just the
12
13                         opposite, pumping up opioid shipments to the pharmacy to almost 2,000,000

14                         doses of oxycodone in one year, while other comparable pharmacies were
15                         receiving approximately 69,000 doses/year.
16
                      l. In 2007, AmerisourceBergen lost its license to send controlled substances
17
                           from a distribution center amid allegations that it was not controlling
18
19                         shipments of prescription opioids to Internet pharmacies.

20                    m. In 2012, AmerisourceBergen was implicated for failing to protect against
21                         diversion of controlled substances into non-medically necessary channels.
22
                      n. In 2016, five drug wholesalers, including Anda, agreed to a $4.2 million
23
                           settlement in connection with a lawsuit alleging that they shipped an
24
25   99
       Press Release, United States Dep’t of Justice, Cardinal Health Agrees to $44 Million Settlement for Alleged
     Violations of Controlled Substances Act (Dec. 23, 2016), available at https://www.justice.gov/usao-md/pr/cardinal-
26   health-agrees-44-million-settlement-alleged-violations-controlled-substances-act (last accessed Nov. 14, 2018).
27


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 1                        excessive number of prescription opioids in West Virginia.100 Anda’s share is

 2                        $1.9 million.
 3
                 224.     Although distributors have been penalized by law enforcement authorities,
 4
     these penalties have not changed their conduct. They pay fines as a cost of doing business in an
 5
     industry that generates billions of dollars in revenue and profit.
 6
 7               225.     The Distributor Defendants’ failure to prevent the foreseeable consequences

 8   of opioid diversion created an enormous black market for prescription opioids, which market
 9
     extends to the geographic area and eligible patient population served by the Plaintiff. Each
10
     Distributor Defendants knew or should have known that a large amount of the opioids they
11
     distributed were not being consumed for medical purposes and that the amount of opioids
12
13   distributed was far in excess of what could be consumed for medically necessary purposes.

14               226.     The Distributor Defendants negligently or intentionally failed to adequately
15   control their supply lines to prevent diversion. A reasonably prudent distributor of Schedule II
16
     controlled substances would have anticipated the danger of opioid diversion and protected
17
     against it by, for example, taking greater care in hiring, training, and supervising employees;
18
19   providing greater oversight, security, and control of supply channels; looking more closely at the

20   pharmacists and doctors who were purchasing large quantities of commonly abused opioids in
21   amounts greater than the populations in those areas would warrant; investigating demographic
22
     or epidemiological facts concerning the increasing demand for narcotic painkillers; providing
23
24   100
        AP, 5 drug wholesalers agree to settle pill shipment lawsuit, The Washington Times, June 23, 2016,
     https://www.washingtontimes.com/news/2016/jun/23/2-more-drug-wholesalers-settle-in-pill-shipment-la/ (last
25   accessed Nov. 14, 2018); Thomas Sullivan, More Opioid Pill Shipment Settlements, Policy & Medicine, May 5,
     2018 https://www.policymed.com/2016/07/more-opioid-pill-shipment-settlements.html (last accessed Nov. 14,
26   2018).

27


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 1   information to pharmacies and retailers about opioid diversion; and in general, simply following

 2   applicable statutes, regulations, professional standards, and guidance from government agencies
 3
     and using a little bit of common sense.
 4
                227.    On information and belief, the compensation the Distributor Defendants
 5
     provided to certain of their employees was affected, in part, by the volume of their sales of
 6
 7   opioids to pharmacies and other facilities, thus improperly creating incentives that contributed

 8   to and exacerbated opioid diversion and the resulting epidemic of opioid abuse.
 9
                228.    It was reasonably foreseeable to the Distributor Defendants that their conduct
10
     in flooding the market in the United States and Alaska with highly addictive opioids would allow
11
     opioids to fall into the hands of children, addicts, criminals, and other unintended users.
12
13              229.    It is reasonably foreseeable to the Distributor Defendants that, when

14   unintended users gain access to opioids, tragic preventable injuries will result, including
15   addiction, overdoses, and death. It is also reasonably foreseeable that many of these injuries will
16
     be suffered by individuals served by the Plaintiff, and that the costs of these injuries will thus be
17
     borne by the Plaintiff.
18
19              230.    The Distributor Defendants knew or should have known that the opioids being

20   diverted from their supply chains would contribute to the opioid epidemic, and would create
21   access to opioids by unauthorized users, which, in turn, perpetuates the cycle of addiction,
22
     demand, illegal transactions, economic ruin, and human tragedy.
23
                231.    The Distributor Defendants were aware of widespread prescription opioid
24
25   abuse in Alaska and the geographic areas served by the Plaintiff, but, on information and belief,

26   they nevertheless persisted in a pattern of distributing commonly abused and diverted opioids in
27


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 1   specific geographic areas, in such quantities, and with such frequency, that they knew or should

 2   have known these commonly abused controlled substances were not being prescribed and
 3
     consumed for legitimate medical purposes.
 4
                232.    The use of opioids by individuals served by the Plaintiff who were addicted
 5
     or who did not have a medically necessary purpose could not occur without the knowing
 6
 7   cooperation and assistance of the Distributor Defendants. If the Distributor Defendants adhered

 8   to effective controls to guard against diversion, the Plaintiff and the population it serves would
 9
     have avoided significant injury.
10
                233.    The Distributor Defendants made substantial profits over the years based on
11
     the diversion of opioids into the United States and Alaska. The Distributor Defendants knew that
12
13   due to diversion into the geographic areas in Alaska served by the Plaintiff, the Plaintiff would

14   be unjustly forced to bear the costs of these injuries and damages.
15              234.    The Distributor Defendants’ intentional distribution of excessive amounts of
16
     prescription opioids throughout the United States and in Alaska showed an intentional or reckless
17
     disregard for the safety of the public and the eligible patient population served by the Plaintiff.
18
19   Their conduct poses a continuing threat to this population, and therefore to the Plaintiff.

20              2.      The Manufacturer Defendants’ failure to prevent diversion
21              235.    The same legal duties to prevent diversion and to monitor, report, and prevent
22
     suspicious orders of prescriptions opioids that were incumbent upon the Distributor Defendants
23
     were also legally required of the Manufacturer Defendants under federal law.
24
25              236.    Like the Distributor Defendants, the Manufacturer Defendants are required to

26   design and operate a system to detect suspicious orders, and to report such orders to law
27


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 1   enforcement. See 21 C.F.R. § 1301.74(b); 21 U.S.C. § 823. The Manufacturer Defendants have

 2   not done so.
 3
                237.    On information and belief, for over a decade the Manufacturer Defendants
 4
     have been able to track the distribution and prescribing of their opioids down to the retail and
 5
     prescriber level. Thus, the Manufacturer Defendants had actual knowledge of the prescribing
 6
 7   practices of doctors, including red flags indicating diversion. The Manufacturer Defendants did

 8   not report those red flags, nor did they cease marketing to those doctors. Like the Distributor
 9
     Defendants, the Manufacturer Defendants breached their duties under federal law.
10
                238.    The Manufacturer Defendants had access to and possession of the information
11
     necessary to monitor, report, and prevent suspicious orders and to prevent diversion. In addition
12
13   to tracking prescriptions, the Manufacturer Defendants engaged in the practice of paying

14   “chargebacks” to opioid distributors. A chargeback is a payment made by a manufacturer to a
15   distributor after the distributor sells the manufacturer’s product at a price below a specified rate.
16
     After a distributor sells a manufacturer’s product to a pharmacy, for example, the distributor
17
     requests a chargeback from the manufacturer and, in exchange for the payment, the distributor
18
19   identifies to the manufacturer the product, volume and the pharmacy to which it sold the product.

20   Thus, the Manufacturer Defendants knew the volume, frequency, and pattern of opioid orders
21   being placed and filled. The Manufacturer Defendants built receipt of this information into the
22
     payment structure for the opioids provided to the opioid distributors.
23
                239.    The Department of Justice has recently confirmed the suspicious order
24
25   obligations clearly imposed by federal law (21 C.F.R. § 1301.74(b); 21 U.S.C. § 823(a)(1)), fining

26   Mallinckrodt $35 million for failure to report suspicious orders of controlled substances,
27


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 1   including opioids, and for violating recordkeeping requirements.101 Among the allegations

 2   resolved by the settlement, the government alleged “Mallinckrodt failed to design and implement
 3
     an effective system to detect and report suspicious orders for controlled substances – orders that
 4
     are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied distributors,
 5
     and the distributors then supplied various U.S. pharmacies and pain clinics, an increasingly
 6
 7   excessive quantity of oxycodone pills without notifying DEA of these suspicious orders.”102

 8   Mallinckrodt agreed that its “system to monitor and detect suspicious orders did not meet the
 9
     standards outlined in letters from the DEA Deputy Administrator, Office of Diversion Control, to
10
     registrants dated September 27, 2006 and December 27, 2007.”103
11
                  240.     Purdue also unlawfully and unfairly failed to report or address illicit and
12
13   unlawful prescribing of its drugs, despite knowing about it for years. Through its extensive

14   network of sales representatives, Purdue had and continues to have knowledge of the prescribing
15   practices of thousands of doctors and could identify doctors who displayed red flags for diversion
16
     such as those whose waiting rooms were overcrowded, whose parking lots had numerous out-of-
17
     state vehicles, and whose patients seemed young and healthy or homeless.
18
19                241.     Using this information, Purdue has maintained a database since 2002 of

20   doctors suspected of inappropriately prescribing its drugs.104 Rather than report these doctors to
21
     101
         See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
22   to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
     https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
23   orders.
     102
         Id. (internal quotations omitted).
24   103
         Administrative Memorandum of Agreement between the United States Dep’t of Justice, the Drug Enforcement
     Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017), https://www.justice.gov/usao-
25   edmi/press-release/file/986026/download.
     104
         Scott Glover and Lisa Girion, OxyContin maker closely guards its list of suspect doctors, L.A. Times, Aug. 11,
26   2013, available at http://articles.latimes.com/2013/aug/11/local/la-me-rx-purdue-20130811 (last accessed Nov. 14,
     2018).
27


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 1   state medical boards or law enforcement authorities (as Purdue is legally obligated to do) or cease

 2   marketing to them, Purdue used the list to demonstrate the high rate of diversion of OxyContin—
 3
     the same OxyContin that Purdue had promoted as less addictive—in order to persuade the FDA
 4
     to bar the manufacture and sale of generic copies of the drug because the drug was too likely to
 5
     be abused.
 6
 7                 242.    In an interview with the Los Angeles Times,105 Purdue’s senior compliance

 8   officer acknowledged that in five years of investigating suspicious pharmacies, Purdue failed to
 9
     take action—even where Purdue employees personally witnessed the diversion of its drugs. The
10
     same was true of prescribers; despite its knowledge of illegal prescribing, Purdue did not report
11
     until years after law enforcement shut down a Los Angeles clinic that prescribed more than 1.1
12
13   million OxyContin tablets and that Purdue’s district manager described internally as “an

14   organized drug ring.” In doing so, Purdue protected its own profits at the expense of public health
15   and safety.
16
                   243.    In 2016, the NY AG found that, between January 1, 2008 and March 7, 2015,
17
     Purdue’s sales representatives, at various times, failed to timely report suspicious prescribing and
18
19   continued to detail those prescribers even after they were placed on a “no-call” list.”106

20                 244.    As Dr. Mitchell Katz, director of the Los Angeles County Department of
21   Health Services, said in a Los Angeles Times article, “Any drug company that has information
22
     about physicians potentially engaged in illegal prescribing or prescribing that is endangering
23
24   105
         Harriet Ryan et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the
     drugmaker knew, L.A. Times, July 10, 2016, available at http://www.latimes.com/projects/la-me-oxycontin-part2/
25   (last accessed Nov. 14, 2018).
     106
         See Assurance of Discontinuance, In re Purdue Pharma L.P. (Assurance No. 15-151), available at
26   https://ag.ny.gov/pdfs/Purdue-AOD-Executed.pdf (last visited Nov. 14, 2018).

27


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 1   people’s lives has a responsibility to report it.”107 The NY AG’s settlement with Purdue

 2   specifically cited the company for failing to adequately address suspicious prescribing. Yet, on
 3
     information and belief, Purdue continues to profit from the prescriptions of such prolific
 4
     prescribers.
 5
                    245.     Like Purdue, Endo has been cited for its failure to set up an effective system
 6
 7   for identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the

 8   NY AG found that Endo failed to require sales representatives to report signs of abuse, diversion,
 9
     and inappropriate prescribing; paid bonuses to sales representatives for detailing prescribers who
10
     were subsequently arrested or convicted for illegal prescribing; and failed to prevent sales
11
     representatives from visiting prescribers whose suspicious conduct had caused them to be placed
12
13   on a no-call list. The NY AG also found that, in certain cases where Endo’s sales representatives

14   detailed prescribers who were convicted of illegal prescribing of opioids, those representatives
15   could have recognized potential signs of diversion and reported those prescribers but failed to do
16
     so.
17
                    246.     On information and belief, the other Manufacturer Defendants have engaged
18
19   in similar conduct in violation of their responsibilities to prevent diversion.

20                  247.     The Manufacturer Defendants’ actions and omissions in failing to effectively
21   prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the
22
     unlawful diversion of opioids into the geographic area and eligible patient population served by
23
     the Plaintiff.
24
25
26   107
           Glover and Girion, supra Note 104.
27


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 1              3.      The Defendants’ actions in inflating and flooding the market with
                        prescription opioids, and in failing to prevent diversion, foreseeably led
 2                      to the flow of such drugs between jurisdictions
 3              248.    While each of the Defendants do business in the State of Alaska, their activity
 4
     in that State is not the only conduct that is relevant to the creation of the opioid epidemic in that
 5
     State or the injury suffered by the Tribal Heath Organizations. Nor does prescription and other
 6
 7   specific data from any particular jurisdiction necessarily capture the full scope of the misuse,

 8   oversupply, and diversion problem in that area. That is because the Defendants’ actions
 9   nationwide foreseeably fueled a widespread epidemic in which diverted prescription opioid pills
10
     were and are trafficked between jurisdictions to meet the demand created by the Defendants’
11
     promotion and distribution of highly addictive, controlled substances. The trafficking of
12
13   prescription opioids between jurisdictions, which has been documented by law enforcement

14   across the country, was an entirely foreseeable consequence of the Defendants’ actions, and
15   Defendants were in fact aware of and profited from it.
16
                249.    In one widely-reported example, 1.1 million OxyContin pills were transported
17
     from the Lake Medical pain clinic in Los Angeles and cooperating pharmacies to the City of
18
     Everett, Washington, where they were sold on the black market. Couriers drove the pills up I-5
19
20   through California and Oregon, or flew from Los Angeles to Seattle. The Everett-based dealer

21   who received and sold the pills wore a diamond necklace in the shape of the West Coast states,
22
     with a trail of green gems—the color of 80-milligram OxyContin pills—connecting Los Angeles
23
     and Washington State. At the time, Purdue was aware of the massive and highly suspicious
24
     quantities of prescriptions written by Lake Medical’s physicians and filled by area pharmacies,
25
26
27


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 1   but it did not alert law enforcement until years later.108 Other such pipelines exist or have existed

 2   between other jurisdictions throughout the United States.
 3
                 250.     The opioid epidemic in Alaska, and in the geographic area served by the
 4
     Plaintiff, is sustained, in part, by the flow of prescription opioids into the State from other
 5
     jurisdictions. The most recent Alaska State Troopers Annual Drug Report notes that drug
 6
 7   trafficking organizations (“DTOs”) from the Lower 48 have infiltrated Alaska and that “the

 8   source of the illicit substances peddled by the major DTOs comes from outside the state.”109
 9
     “[H]eroin, prescription opioids, and other drugs make their way to rural Alaska via transport that
10
     is not subject to the same level of federal security/inspection as that of major commercial
11
     airlines.”110 This includes trafficking by way bush airlines, small planes, boats and even Alaska
12
13   Marine Highway System and inter-island ferries, where a recent sweep by the United States Coast

14   Guard and the Alaska State Troopers resulted in the seizure of illegal prescription drugs, among
15   other contraband.111 The ferry system provides seasonal service to the region served by Plaintiff,
16
     including the International Port of Dutch Harbor, near the community of Unalaska, as well as the
17
     communities of Akutan, False Pass and Sand Point.
18
19               251.     Such diversion and trafficking of prescription opioid drugs manufactured and

20   distributed by Defendants is a direct and foreseeable consequence of their intentional conduct in
21
     108
         See Harriet Ryan et al., How black-market OxyContin spurred a town’s descent into crime, addiction and
22   heartbreak, L.A. Times (July 10, 2016), available at http://www.latimes.com/projects/la-me-oxycontin-everett/.
     109
         Alaska State Troopers Annual Drug Report (2016), https://dps.alaska.gov/getmedia/f259530b-5277-408e-9d45-
23   4999958fe530/2016-Annual-Drug-Report-6-28-17final;.aspx.
     110
         Alaska Opioid Policy Taskforce, Final Recommendations, 2017, page 4, available at
24   http://dhss.alaska.gov/AKOpioidTaskForce/Documents/AOPTF-Recommendations-1-19-17.pdf. Note: this taskforce
     included participation by Tina Woods, PhD, Alaska Native Tribal Health Consortium.
25   111
         See Liz Thomas, Marine Highway operation leads to meth, heroin seizures, KTVA (July 6, 2018), available at
     http://www.ktva.com/story/38590945/marine-highway-operation-leads-to-meth-heroin-seizures.
26
27


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 1   inflating the market for their highly addictive drugs across the country, and then flooding that

 2   market through the distribution of large quantities of those drugs while ignoring “red flags” and
 3
     flouting the very laws and regulations designed to prevent unlawful diversion.
 4
             D.       Defendants’ unlawful conduct and breaches of legal duties caused harm and
 5                    substantial damages to the Plaintiff
 6
                  252.   Defendants’ actions, including false and misleading advertising and a failure
 7
     to prevent diversion, have fueled a new wave of addiction and injury throughout the United States
 8
     and in the geographic area and eligible patient population served by the Plaintiff. As the
 9
10   Manufacturer Defendants’ efforts to expand the market for opioids increased, so have the rates of

11   prescription and sale of their products—and the rates of opioid-related substance abuse,
12
     hospitalization, and death among the people of the United States and Alaska. The Distributor
13
     Defendants have continued to unlawfully ship massive quantities of these drugs throughout the
14
     United States, knowing that a substantial portion were being diverted and feeding the nationwide
15
16   opioid epidemic.

17                253.   Defendants repeatedly and purposefully breached their duties under state and
18   federal law, and such breaches are direct and proximate causes of, and/or substantial factors
19
     leading to, the widespread overuse, misuse, and diversion of prescription opioids across the
20
     Nation, throughout Alaska, and in the geographic area and eligible patient population served by
21
22   the Plaintiff.

23                254.   There is a “parallel relationship between the availability of prescription opioid
24   analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and
25
26
27


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 1   associated adverse outcomes.”112

 2                255.     For example, reflecting the increase in opioid supply and demand, dosage units
 3
     of OxyContin and generic oxycodone seized by law enforcement in Alaska increased from 1,183
 4
     in 2014 to 4,552 in 2016.113
 5
                  256.     Further, because of the well-established relationship between the use of
 6
 7   prescription opioids and the use of non-prescription opioids, such as heroin, the massive

 8   distribution of prescription opioids throughout the United States and Alaska has caused an opioid
 9
     epidemic that includes heroin addiction, abuse, and death. According to the National Institute of
10
     Health’s National Institute on Drug Abuse, about 80 percent of people who use heroin first
11
     misused prescription opioids.114 Many patients presenting to the Plaintiff who are abusing
12
13   opioids, including heroin, first became addicted as the result of a legitimate prescription.

14                257.     Heroin is one of the primary substances abused by Alaskans, and both
15   prescription opiate abuse and availability of synthetic opioids, such as fentanyl, are on the rise in
16
     Alaska. The most recent Alaska State Troopers Annual Drug Report concludes, “The producers
17
     of synthetic opioids are essentially piggybacking on the market created from prescription
18
19   medication diversion as well as increase [in] the volume and profits on heroin.” The Report notes

20   at least 122 overdose deaths due to heroin and synthetic opioids in Alaska from January 1, 2014
21   through September 15, 2016.
22
                  258.     Among Alaska Natives, there were 52 deaths with underlying or contributing
23
24   112
         Richard C. Dart, et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Engl. J.
     Med. 241 (2015), https://www.nejm.org/doi/full/10.1056/NEJMsa1406143.
25   113
         Alaska State Troopers Annual Drug Report, supra note 109, at 13.
     114
         See National Institute on Drug Abuse, NIH, Opioid Overdose Crisis (Revised March 2018),
26   https://www.drugabuse.gov/drugs-abuse/opioids/opioid-overdose-crisis#seven.

27


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 1   cause listed as opioids between 2014 and 2016.115 On information and belief, many of those

 2   Alaska Natives who died, and the members of their families who also need additional services as
 3
     a result, are part of the population served by the Plaintiff:
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20                                                     Figure 1116
21
     115
         Presentation by Gretchen Day, Alaska Native Tribal Health Consortium Clinical & Research Services, and Erin
22   Semmens, University of Montana, “Data Indicators of Opioid Use in Alaska and Montana at the American Indian
     Alaska Native Clinical and Traditional Research Program Opioid Research Symposium, slide 10, March 29, 2018.
23   116
         Id. slide 11.

24
25
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27


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11
12
13
14
15
16                                                   Figure 2117
17                    259.   Opioid-related deaths represent only the tip of the iceberg. Though Plaintiff
18
     operates in a remote region, the Plaintiff has treated and continues to treat numerous patients with
19
     opioid-related conditions, including overdose, addiction, and other related conditions. The
20
21   Plaintiff has incurred a wide range of costs associated with the treatment of these opioid-affected

22   patients and with the increased need for social and governmental services to opioid-affected
23   individuals and families.
24
     117
25         Id. slide 10.

26
27


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 1              260.    The crisis has placed hardship on Plaintiff’s healthcare system, which is

 2   already underfunded and understaffed. Opioid related encounters most often occur in the
 3
     urgent/emergency care setting that Plaintiff’s system is not adequately prepared for. This results
 4
     in excessive travel (including Medevacs), logistical expenses and staff time.
 5
                261.    Plaintiff has received grant-funding and is actively implementing a Medication
 6
 7   Assisted Treatment (MAT) program in all of our communities to provide treatment for individuals

 8   diagnosed with opioid disorder.
 9
                262.    Plaintiff has had to secure grant funding to be able to provide substance abuse
10
     treatment to our rural communities. In partnership with the Eastern Aleutian Tribes, Plaintiff has
11
     added treatment services, with the Intensive Outpatient Program (IOP) in the pilot communities
12
13   of Sand Point, Unalaska and Anchorage.

14              263.    Plaintiff participates with other regional organizations on the Aleutian and
15   Pribilof Island Opioid and Substance Misuse Task Force, to work collaboratively to identify
16
     which opioid and substance misuse prevention, treatment + recovery, and harm reduction
17
     activities are needed in Aleutian/Pribilof Island communities.
18
19              264.    In addition to the costs of treatment for addiction, Plaintiff’s treatment costs

20   associated with the opioid epidemic include, but are not limited to, costs for treating Hepatitis C
21   and other infections due to intravenous drug use by addicted patients. Plaintiff’s treatment costs
22
     also include travel costs for patients in remote villages, which are substantial and unique to the
23
     geographic area Plaintiff serves.
24
25              265.    Opioid abuse has other ripple effects impacting the Plaintiff. For example,

26   Neonatal Abstinence Syndrome (NAS) is increasing nationally and in Alaska. The statewide NAS
27


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 1   rate increased more than five-fold during 2001–2012, from less than one to more than five for

 2   every 1,000 live births.118 In 2017, the rate of newborns statewide with NAS continued to
 3
     increase, from 8 newborns per 1000 births in the first quarter, to 22 newborns per 1000 births in
 4
     the last quarter.119 From December 2016 to December 2017, 30.8% of newborns born with NAS
 5
     were American Indian or Alaska Native.
 6
 7                 266.   Treatment for NAS is incredibly expensive. Most NAS infants are

 8   immediately transferred to a neonatal intensive care unit for a period of days, weeks, or even
 9
     months. In a national analysis based on data from the Kids’ Inpatient Database, between 2003
10
     and 2012, NAS admissions increased more than fourfold, resulting in a surge in annual costs from
11
     $61 million and 67,869 hospital days in 2003 to nearly $316 million and 291,168 hospital days in
12
13   2012. For an infant affected by NAS, the hospital stay was nearly 3.5 times as long (16.57 hospital

14   days compared with 4.98 for a non-NAS patient) and the costs were more than three times greater
15   ($16,893 compared to $5,610 for a non-affected infant).120 These per-patient costs are likely much
16
     higher in Alaska, and the area served by the Plaintiff.
17
                   267.   NAS can also require an emergency evacuation for care to save the infant’s
18
19   life. Thus, even when the Plaintiff cannot or does not treat infants with NAS, it often incurs

20   transportation costs associated with transferring them and/or their mothers to appropriate
21   facilities.
22
     118
23       State of Alaska Epidemiology Bulletin, DHHS, Increase in Neonatal Abstinence Syndrome, Alaska, 2001–2015,
     No. 5, Feb. 22, 2016 available at http://epibulletins.dhss.alaska.gov/Document/Display?DocumentId=1811 (last
24   accessed Nov. 14, 2018). This data is based on all hospital births, which may still miss some newborns.
     119
         Division of Public Health, Alaksa DHHS, Alaska Opioid Data Dashboard,
25   http://dhss.alaska.gov/dph/Director/Pages/heroin-opioids/data.aspx (select Neonatal Abstinence Syndrome) (last
     visited Nov. 14, 2018).
     120
26       Tammy E. Corr & Christopher S. Hollenbeak, The economic burden of neonatal abstinence syndrome in the
     United States, Addiction. 2017 Sep; 112(9): 1590-1599 (EPub June 13, 2017), available at
27   https://www.ncbi.nlm.nih.gov/pubmed/28612362 (last accessed Nov. 14, 2018).



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 1               268.    Many NAS infants have short-term and long-term developmental issues that

 2   prevent them from meeting basic cognitive and motor-skills milestones. Many will suffer from
 3
     vision and digestive issues; some are unable to attend full days of school. These disabilities follow
 4
     these children through elementary school and beyond, and may necessitate ongoing treatment that
 5
     also results in additional costs to the Plaintiff.
 6
 7               269.    The Plaintiff has also faced increased operational costs relating to dealing with

 8   opioid users who present themselves to the Plaintiff claiming to have illnesses and medical
 9
     problems, which are actually pretexts for obtaining opioids for illicit use, and a need to increase
10
     security in response to break-ins and other concerns.
11
                 270.    Opioid diversion also contributes to a range of social problems including
12
13   physical and mental consequences, crime, delinquency, and mortality. Plaintiff also provides

14   behavioral health services, including but not limited to substance abuse prevention and
15   counseling, domestic violence prevention, suicide prevention, and other related services, and has
16
     incurred increased costs in the provision of these services as a result of the opioid epidemic.
17
                 271.    Plaintiff provides a range of social services to its beneficiaries, including
18
19   family services (including infant learning, child advocacy, and child welfare services as well as

20   childcare assistance, general assistance, and adult care assistance); employment and training for
21   adult and youth, including vocational rehabilitation; elder services; public safety (through its
22
     Village Public Safety Officer Program); and economic development. Plaintiff has incurred
23
     increased costs in the provision of each of these services as a result of the opioid epidemic that it
24
25   would not have otherwise incurred.

26               272.    Plaintiff is involved in juvenile dependency matters through its ICWA
27


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 1   Program. Over time, these juvenile dependency matters has increased as a direct result of the

 2   opioid epidemic. Plaintiff has incurred additional costs to its ICWA program as a result of the
 3
     opioid epidemic that it would not have otherwise incurred.
 4
                273.    In addition to direct treatment costs, the Plaintiff has incurred overhead and
 5
     programmatic costs necessary to address and abate the crisis.
 6
 7              274.    The Plaintiff has also been required to provide additional staff training, with

 8   associated costs. In order to treat a patient with opioid addiction by prescribing suboxone, for
 9
     example, a prescriber needs a DEA prescribing number, which involves additional education.
10
                275.    Further, the Plaintiff’s staff has expended time and resources applying for
11
     grants to help address the opioid epidemic.
12
13              276.    The staff hours required for these activities, as well as the costs associated with

14   the care and services described above, divert resources away from other health priorities that the
15   Plaintiff is responsible for addressing, like general behavioral health needs, and tobacco and
16
     alcohol prevention programs, and from other social and community needs. Further, at least a
17
     portion of the diverted funds could have otherwise been used to provide care and services that are
18
19   reimbursed by third party payors.

20              277.    It was entirely foreseeable that healthcare and governmental services providers
21   such as the Plaintiff would need to incur such costs in response to the widespread overuse and
22
     misuse of opioids in the geographic areas and patient populations they serve, as precipitated by
23
     Defendants’ actions alleged herein.
24
25              278.    Because many of the Plaintiff’s patients are IHS beneficiaries or otherwise

26   exempt from full payment for services, a significant portion of the costs of their medical care are
27


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 1   the direct responsibility of the Plaintiff rather than the patient. Further, many of these costs

 2   incurred by the Plaintiff go unreimbursed, either because the patient is not covered by insurance
 3
     or another third party payor, or because the third party payor does not reimburse the full costs of
 4
     the provided services and/or because the patient is exempt from cost sharing that would otherwise
 5
     apply.
 6
 7               279.    Additionally, in its capacity as a health care provider, the Plaintiff has

 8   purchased and continues to purchase and administer opioids marketed and sold by Defendants,
 9
     and was and continues to be a target of the widespread misinformation campaign by the
10
     Manufacturer Defendants alleged in this Complaint. The Defendants have marketed and
11
     continue to market their opiate products to health care providers throughout the country and
12
13   Alaska, using various means. The Plaintiff thus was and is a victim of the Defendants’ false,

14   deceptive, widespread and unfair marketing campaign.
15
                 280.    As a direct result of Defendants’ conduct, Plaintiff and the Communities it
16
     represents have suffered actual injury and economic damages including, but not limited to,
17
     expenses for first responders (including VPSO’s), health care costs, child protection services,
18
19   transportation of patients and other services and costs, as alleged herein.

20               281.    Defendants’ intentional and/or unlawful conduct aimed at increasing sales and
21   distribution of opioids resulted in direct, foreseeable, past and continuing economic damages to
22
     the Plaintiff, and for which the Plaintiff seeks relief, as alleged herein.
23
                 282.    The Plaintiff needs additional resources to fully abate the crisis, including but
24
25   not limited to: increased funding for and access to naloxone; increased training for VPSO’s and

26   village health aides; increased funds for enforcement, investigation, education, intervention, or
27


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 1   emergency treatment; drug “takeback” sites and programs; drug disposal bags; and community

 2   prevention programming, among other measures.
 3
                 283.   Having profited enormously through the aggressive sale, misleading
 4
     promotion, and irresponsible distribution of opioids, Defendants should be required to take
 5
     responsibility for the financial burdens their conduct has imposed upon the Plaintiff and for the
 6
 7   costs of abatement of the crisis.

 8          E.      The statutes of limitations are tolled and Defendants are estopped from
                    asserting statutes of limitations as defenses
 9
10                  1. Continuing Conduct

11               284.   Defendants’ conduct as described in this Complaint is still ongoing, and the
12   Plaintiff continues to suffer harm from the Defendants’ unlawful actions.
13
                 285.   The continued tortious and unlawful conduct by the Defendants causes a
14
     repeated or continuous injury. The damages have not occurred all at once but have continued to
15
16   occur and have increased as time progresses. The tort is not completed nor have all the damages

17   been incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants

18   has not ceased. The public nuisance remains unabated. The conduct causing the damages remains
19
     unabated.
20
                    2. Equitable Estoppel and Fraudulent Concealment
21
                 286.   Defendants are equitably estopped from relying upon a statute of limitations
22
23   defense because they undertook efforts to purposefully conceal their unlawful conduct and

24   fraudulently assure the public, including the Plaintiff, that they were undertaking efforts to
25
     comply with their obligations under the controlled substances laws. Notwithstanding the
26
     allegations set forth above, the Defendants affirmatively assured the public and the Plaintiff that
27


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 1   they are working to curb the opioid epidemic.

 2              287.    The Defendants were deliberate in taking steps to conceal their conspiratorial
 3
     behavior and active role in the deceptive marketing and the oversupply of opioids through
 4
     overprescribing and suspicious sales, all of which fueled the opioid epidemic.
 5
                288.    Specifically, as described above, the Manufacturer Defendants deliberately
 6
 7   worked through Front Groups purporting to be patient advocacy and professional organizations,

 8   through public relations companies hired to work with the Front Groups and through paid KOLs
 9
     to secretly control messaging, influence prescribing practices, and drive sales. The Manufacturer
10
     Defendants concealed their role in shaping, editing, and approving the content of prescribing
11
     guidelines, informational brochures, KOL presentations, and other false and misleading materials
12
13   addressing pain management and opioids that were widely disseminated to regulators, prescribers,

14   and the public at large. They manipulated scientific literature and promotional materials to make
15   it appear that misleading statements about the risks, safety, and superiority of opioids were
16
     actually accurate, truthful, and supported by substantial scientific evidence. Through their public
17
     statements, omissions, marketing, and advertising, the Manufacturer Defendants’ deceptions
18
19   deprived the Plaintiff of actual or implied knowledge of facts sufficient to put Plaintiff on notice

20   of potential claims.
21              289.    All Defendants concealed the existence of the Plaintiff’s claims against them
22
     by hiding their lack of cooperation with law enforcement and affirmatively seeking to convince
23
     the public that their legal duties to report suspicious sales had been satisfied through public
24
25   assurances that they were working to curb the opioid epidemic. They publicly portrayed

26   themselves as committed to working diligently with law enforcement and others to prevent
27


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 1   diversion of these dangerous drugs and curb the opioid epidemic, and they made broad promises

 2   to change their ways, insisting they were good corporate citizens. These repeated
 3
     misrepresentations misled regulators, prescribers, and the public (including the Plaintiff), and
 4
     deprived the Plaintiff of actual or implied knowledge of the Defendants’ role in the opioid
 5
     epidemic and of facts sufficient to put them on notice of potential claims against the Defendants.
 6
 7                290.    For example, a Cardinal executive claimed that it uses “advanced analytics” to

 8   monitor its supply chain, and assured the public it was being “as effective and efficient as possible
 9
     in constantly monitoring, identifying, and eliminating any outside criminal activity.”121
10
                  291.    Similarly, McKesson publicly stated that it has a “best-in-class controlled
11
     substance monitoring program to help identify suspicious orders,” and claimed it is “deeply
12
13   passionate about curbing the opioid epidemic in our country.”122

14                292.    Distributor Defendants, through their trade associations, filed an amicus brief
15   that represented that Defendants took their duties seriously, complied with their statutory and
16
     regulatory responsibilities, and monitored suspicious orders using advanced technology.123
17
                  293.    Defendants have also concealed and prevented discovery of information,
18
19   including data from the ARCOS database that will confirm their identities and the extent of their

20   wrongful and illegal activities.
21
     121
         Lenny Bernstein et al., How drugs intended for patients ended up in the hands of illegal users: “No one was
22   doing their job,” The Wash. Post (Oct. 22, 2016), available at
     http://wapo.st/2etAUdQ?tid=ss_mail&utm_term=.f455a35fdee5 (last accessed Nov. 14, 2018).
23   122
         Scott Higham et al., Drug industry hired dozens of officials from the DEA as the agency tried to curb opioid
     abuse, The Wash. Post, Dec. 22, 2016, available at
24   http://wapo.st/2hKYW3y?tid=ss_mail&utm_term=.bdac6eb4ec17 (last accessed Nov. 14, 2018).
     123
         Brief for Healthcare Distribution Mgmt. Ass’n and Nat’l Ass’n of Chain Drug Stores as Amici Curiae in Support
25   of Neither Party, Masters Pharm, Inc. v. U.S. Drug Enf't Admin. (No. 15-1335), 2016 WL 1321983, at *3-4, *25.
     (D.C. Cir. Apr. 4, 2016).
26
27


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 1                  294.     Defendants also lobbied Congress and actively attempted to halt DEA

 2   investigations and enforcement actions and to subvert the ability of agencies to regulate their
 3
     conduct.124 As a result, there was a sharp drop in enforcement actions and the standard for the
 4
     DEA to revoke a distributor’s license was raised.
 5
                    295.     Because the Defendants concealed the facts surrounding the opioid epidemic,
 6
 7   the Plaintiff did not know of the existence or scope of the Defendants’ misconduct, and could not

 8   have acquired such knowledge earlier through the exercise of reasonable diligence.
 9
                    296.     Defendants knew that their conduct was deceptive, as evidenced by the
10
     governmental warnings, actions, and prosecutions alleged throughout this Complaint.
11
                    297.     Defendants intended that their false and deceptive statements and omissions
12
13   be relied upon, including by the Plaintiff, its member entities, and the communities and patients

14   served by the Plaintiff. The Plaintiff reasonably relied on these statements and omissions.
15                  298.     Defendants cannot claim prejudice due to a late filing because this suit was
16
     filed upon discovering the facts essential to the claim, which Defendants themselves intentionally
17
     concealed. Indeed, the existence, extent, and damage of the opioid crisis have only recently come
18
19   to light.

20                  299.     The Plaintiff was unable to obtain vital information regarding these claims
21   absent any fault or lack of diligence on their part.
22
                F. Facts Pertaining to Claims Under RICO
23
                    300.     Defendants      did      not   simply   scheme   to   market   opioids   through
24
25   124
           See Higham and Bernstein, supra note 92.
26
27


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 1   misrepresentations and turning a blind eye to diversion. Various groups of Defendants also

 2   formed informal associations with others (Enterprises) and used these Enterprises to perpetrate
 3
     their schemes, as described below. The Plaintiff also realleges all preceding paragraphs of this
 4
     Complaint, which are incorporated herein in their entirety.
 5
                    1. The Opioid Marketing Enterprise
 6
 7                      a. The Common Purpose and Scheme of the Opioid Marketing Enterprise

 8              301.    Knowing that their products were highly addictive, ineffective and unsafe for
 9   the treatment of long-term chronic pain, non-acute and non-cancer pain, the Manufacturing
10
     Defendants formed an association-in-fact enterprise and engaged in a scheme to unlawfully
11
     increase their profits and sales, and grow their share of the prescription painkiller market, through
12
13   repeated and systematic misrepresentations about the safety and efficacy of opioids for treating

14   long-term chronic pain.
15              302.    In order to unlawfully increase the demand for opioids, the Manufacturing
16
     Defendants formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”) with
17
     the Front Groups and KOLs described above. Through their personal relationships, the members
18
     of the Opioid Marketing Enterprise had the opportunity to form and take actions in furtherance
19
20   of the Opioid Marketing Enterprise’s common purpose. The Manufacturing Defendants’

21   substantial financial contribution to the Opioid Marketing Enterprise, and the advancement of
22
     opioid-friendly messaging, fueled the U.S. opioid epidemic.
23
                303.    The Manufacturing Defendants, through the Opioid Marketing Enterprise,
24
     concealed the true risks and dangers of opioids from the medical community and the public,
25
26   including the Plaintiff and the people it serves, and made misleading statements and

27


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 1   misrepresentations about opioids that downplayed the risk of addiction and exaggerated the

 2   benefits of opioid use. The misleading statements included the following: (1) that addiction is
 3
     rare among patients taking opioids for pain; (2) that addiction risk can be effectively managed;
 4
     (3) that symptoms of addiction exhibited by opioid patients are actually symptoms of an invented
 5
     condition the Manufacturer Defendants named “pseudoaddiction”; (4) that withdrawal is easily
 6
 7   managed; (5) that increased dosing presents no significant risks; (6) that long-term use of opioids

 8   improves function; (7) that the risks of alternative forms of pain treatment are greater than the
 9
     adverse effects of opioids; (8) that use of time-released dosing prevents addiction; and (9) that
10
     abuse-deterrent formulations provide a solution to opioid abuse.
11
                304.    The misleading statements not only caused and worsened the opioid
12
13   epidemic, but as time went on, they concealed the Manufacturer Defendants’ wrongdoing from

14   the public and the Plaintiff (including as a result of the Opioid Marketing Enterprise).
15              305.    The scheme devised, implemented, and conducted by the Manufacturer
16
     Defendants constituted a common course of conduct designed to ensure that the Manufacturer
17
     Defendants unlawfully increased their sales and profits through concealment and
18
19   misrepresentations about the addictive nature and effectiveness of their drugs. The Manufacturer

20   Defendants, the Front Groups, and the KOLs acted together for a common purpose and
21   perpetrated the Opioid Marketing Enterprise’s scheme, including through the unbranded
22
     promotion and marketing network as described above.
23
                306.    There was regular communication among the Manufacturer Defendants,
24
25   Front Groups, and KOLs, in which information was shared, misrepresentations were

26   coordinated, and payments were exchanged. Typically, the coordination, communication, and
27


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 1   payment occurred, and continues to occur, through the repeated and continuing use of interstate

 2   wires and mail in which the Manufacturer Defendants, Front Groups, and KOLs shared
 3
     information regarding overcoming objections and resistance to the use of opioids for chronic
 4
     pain. The Manufacturer Defendants, Front Groups, and KOLs functioned as a continuing unit
 5
     for the purpose of implementing the Opioid Marketing Enterprise’s scheme and common
 6
 7   purpose, and each agreed and took actions to hide the scheme and continue its existence. These

 8   actions were effective to conceal the scheme and the Opioid Marketing Enterprise and its impact
 9
     from the Plaintiff until sufficient information came to light due to government and media
10
     investigation to allow the Plaintiff to discover it, leading to the filing of the Complaint in this
11
     matter.
12
13               307.   At all relevant times, the Front Groups were aware of the Manufacturer

14   Defendants’ conduct and were knowing and willing participants in and beneficiaries of that
15   conduct. Each Front Group also knew, but did not disclose, that the other Front Groups were
16
     engaged in the same scheme, to the detriment of consumers, prescribers, and the Plaintiff. But
17
     for the Opioid Marketing Enterprise’s scheme, the Front Groups would have had incentive to
18
19   disclose the deceit by the Manufacturer Defendants and the Opioid Marketing Enterprise to their

20   members and constituents. By failing to disclose this information, Front Groups perpetuated the
21   Opioid Marketing Enterprise’s scheme and common purpose, continued its wrongful
22
     concealment from the Plaintiff, and reaped substantial benefits.
23
                 308.   At all relevant times, the KOLs were aware of the Manufacturer Defendants’
24
25   conduct and were knowing and willing participants in and beneficiaries of that conduct. The

26   Manufacturer Defendants selected KOLs because they favored the aggressive treatment of
27


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 1   chronic pain with opioids. The Manufacturer Defendants’ support helped the KOLs become

 2   respected industry experts. As they rose to prominence, the KOLs falsely promoted the benefits
 3
     of using opioids to treat chronic pain, repaying the Manufacturer Defendants by advancing their
 4
     marketing goals. The KOLs also knew, but did not disclose, that the other KOLs and Front
 5
     Groups were engaged in the same scheme, to the detriment of consumers, prescribers, and the
 6
 7   Plaintiff. But for the Opioid Marketing Enterprise’s scheme, the KOLs would have had incentive

 8   to disclose the deceit by the Manufacturer Defendants and the Opioid Marketing Enterprise, and
 9
     to protect their patients and the patients of other physicians. By failing to disclose this
10
     information, the KOLs furthered the Opioid Marketing Enterprise’s scheme and common
11
     purpose, continued its wrongful concealment from the Plaintiff, and reaped substantial benefits.
12
13               309.   As public scrutiny and media coverage focused on how opioids ravaged

14   communities throughout the United States, the Front Groups and KOLs did not challenge the
15   Manufacturer Defendants’ misrepresentations, seek to correct their previous misrepresentations,
16
     terminate their role in the Opioid Marketing Enterprise, nor disclose publicly that the risks of
17
     using opioids for chronic pain outweighed their benefits and that the use of opioids for chronic
18
19   pain was not supported by medically acceptable evidence. The Manufacturer Defendants and

20   their co-conspirators thus continued to conceal the Manufacturer Defendants’ wrongdoing from
21   the Plaintiff.
22
                        b. The Conduct of the Opioid Marketing Enterprise
23
                 310.   The Manufacturer Defendants, Front Groups, and KOLs engaged in certain
24
25   discrete categories of activities in furtherance of the common purpose of the Opioid Marketing

26   Enterprise. The conduct of the members of the Opioid Marketing Enterprise in furtherance of
27


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 1   the Enterprise’s common purpose involved: (1) misrepresentations regarding the risk of

 2   addiction and safe use of prescription opioids for long-term, chronic pain (described in detail
 3
     above); (2) efforts to criticize or undermine the 2016 CDC Guideline referenced above; and
 4
     (3) efforts to limit prescriber accountability.
 5
                  311.    In addition to disseminating misrepresentations about the risks and benefits
 6
 7   of opioids, members of the Opioid Marketing Enterprise also furthered its common purpose by

 8   criticizing or undermining the CDC Guideline, which represented “an important step—and
 9
     perhaps the first major step from the federal government—toward limiting opioid prescriptions
10
     for chronic pain.”125
11
                  312.    Several Front Groups, including the U.S. Pain Foundation and the American
12
13   Academy of Pain Medicine (AAPM), criticized the draft guidelines in 2015, arguing that the

14   “CDC slides presented on Wednesday were not transparent relative to process and failed to
15   disclose the names, affiliation, and conflicts of interest of the individuals who participated in the
16
     construction of these guidelines.”126
17
                  313.    The AAPM criticized the prescribing guidelines in 2016, through its
18
19   immediate past president, stating “that the CDC guideline makes disproportionately strong

20   recommendations based upon a narrowly selected portion of the available clinical evidence.”127
21                314.    The Manufacturer Defendants alone could not have accomplished the purpose
22
     125
23       Fueling an Epidemic, supra note 32, at 13.
     126
         Pat Anson, Chronic Pain Groups Blast CDC for Opioid Guidelines, Pain News Network, Sept. 22, 2015,
24   https://www.painnewsnetwork.org/stories/2015/9/22/chronic-pain-groups-blast-cdc-for-opioid-guidelines (last
     accessed Nov. 14, 2018).
     127
25       Am. Acad. of Pain Medicine, CDC Guideline for Prescribing Opioids for Chronic Pain (Mar. 16, 2016),
     http://www.painmed.org/files/aapm-statement-cdc-guideline-for-prescribing-opioids-for-chronic-pain.pdf (last
26   accessed Nov. 14, 2018).

27


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 1   of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

 2   were perceived as “neutral” and more “scientific” than the Manufacturer Defendants themselves.
 3
     Without the work of the Front Groups and KOLs in spreading misrepresentations about opioids,
 4
     the Opioid Marketing Enterprise could not have achieved its common purpose.
 5
                315.   In short, the Manufacturer Defendants, the Front Groups, and the KOLs were
 6
 7   each willing participants in the Opioid Marketing Enterprise, had a common purpose and interest

 8   in the object of the scheme, and functioned within a structure designed to effectuate the
 9
     Enterprise’s purpose.
10
                316.   Moreover, each of the Manufacturer Defendants exerted control over the
11
     Opioid Marketing Enterprise and participated in the operation or management of its affairs,
12
13   directly or indirectly. From approximately the late 1990s to the present, that participation and

14   control was carried out in the following ways:
15                  a. Creating and providing a body of deceptive, misleading, and unsupported
16
                       medical and popular literature, electronic and print advertisements, sales
17
                       and promotional training materials, and presentations about opioids that: (i)
18
19                     understated the risks and overstated the benefits of long-term use; (ii)

20                     appeared to be the result of independent, objective research; and (iii) were
21                     thus more likely to be relied upon by physicians, patients, and payors;
22
                    b. Selecting, cultivating, promoting, and paying Front Groups and KOLs
23
                       based on their willingness to communicate and distribute the Manufacturer
24
25                     Defendants’ messages about the use of opioids for chronic pain;

26                  c. Providing substantial opportunities for Front Groups and KOLs to
27


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 1                 participate in research studies on topics the Manufacturer Defendants

 2                 suggested or chose, with the predictable effect of ensuring that many
 3
                   favorable studies appeared in the academic literature;
 4
                d. Paying KOLs to serve as consultants or on the Manufacturer Defendants’
 5
                   advisory boards, or on the advisory boards and in leadership positions of
 6
 7                 Front Groups, and to give talks, typically over meals or at conferences;

 8              e. Paying significant amounts of money to the leaders and individuals
 9
                   associated with Front Groups;
10
                f. Donating to Front Groups to support talks that were typically presented
11
                   over meals or at conferences;
12
13              g. Disseminating false, misleading, imbalanced, and unsupported statements

14                 regarding opioids through unbranded materials that appeared to be
15                 independent publications from Front Groups;
16
                h. Sponsoring programs put on by Front Groups that focused exclusively on
17
                   the use of opioids for chronic pain;
18
19              i. Developing and disseminating pro-opioid treatment guidelines with the help

20                 of the KOLs as authors and promoters, and Front Groups as publishers and
21                 supporters;
22
                j. Encouraging Front Groups to disseminate their pro-opioid messages to
23
                   groups targeted by the Manufacturer Defendants, such as veterans and the
24
25                 elderly, and then funding that distribution;

26              k. Concealing their relationship to and control of Front Groups and KOLs
27


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 1                     from the Plaintiff and the public at large; and

 2                  l. Intending that Front Groups and KOLs would distribute, through the U.S.
 3
                       mail and interstate wire facilities, promotional and other materials that
 4
                       claimed opioids could be safely used for chronic pain.
 5
 6              317.   In short, the Manufacturer Defendants controlled representations made about

 7   their prescription opioids, doled out funds to Pharmacy Benefit Managers and payments to
 8   KOLs, and ensured that representations made by KOLs, Front Groups, and the Manufacturer
 9
     Defendants’ sales detailers were consistent with the Manufacturer Defendants’ messaging
10
     throughout the United States. The Front Groups and KOLs in the Opioid Marketing Enterprise
11
12   were dependent on the Manufacturer Defendants for their financial structure and for career

13   development and promotion opportunities.

14              318.   The Front Groups also conducted and participated in the conduct of the
15
     Opioid Marketing Enterprise, directly or indirectly, in the following ways:
16
                    a. The Front Groups promised to, and did, make representations regarding
17
18                     opioids and the Manufacturer Defendants’ drugs that were consistent with

19                     the Manufacturer Defendants’ messages;
20                  b. The Front Groups distributed, through the U.S. Mail and interstate wire
21
                       facilities, promotional and other materials that claimed that opioids could be
22
                       safely used for chronic pain without addiction, and misrepresented the
23
24                     benefits of using opioids for chronic pain;

25                  c. The Front Groups echoed and amplified messages favorable to increased
26                     opioid use—and ultimately, the financial interests of the Manufacturer
27


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 1                      Defendants;

 2                  d. The Front Groups issued guidelines and policies minimizing the risk of
 3
                        opioid addiction and promoting opioids for chronic pain;
 4
                    e. The Front Groups strongly criticized the 2016 CDC Guideline, which had
 5
                        recommended limits on opioid prescriptions for chronic pain; and
 6
 7                  f. The Front Groups concealed their connections to the KOLs and the

 8                      Manufacturer Defendants.
 9
                319.    The KOLs also participated in the conduct of the affairs of the Opioid
10
     Marketing Enterprise, directly or indirectly, in the following ways:
11
                    a. The KOLs promised to, and did, make representations regarding opioids
12
13                      and the Manufacturer Defendants’ drugs that were consistent with the

14                      Manufacturer Defendants’ messages;
15                  b. The KOLs distributed, through the U.S. Mail and interstate wire facilities,
16
                        promotional and other materials that claimed that opioids could be safely
17
                        used for chronic pain without addiction, and misrepresented the benefits of
18
19                      using opioids for chronic pain;

20                  c. The KOLs echoed and amplified messages favorable to increased opioid
21                      use—and ultimately, the financial interests of the Manufacturer Defendants;
22
                    d. The KOLs issued guidelines and policies minimizing the risk of opioid
23
                        addiction and promoting opioids for chronic pain;
24
25                  e. The KOLs strongly criticized the 2016 CDC Guideline, which had

26                      recommended limits on opioid prescriptions for chronic pain; and
27


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 1                  f. The KOLs concealed their connections to the Front Groups and the

 2                      Manufacturer Defendants, and their sponsorship by the Manufacturer
 3
                        Defendants.
 4
                320.    The scheme devised and implemented by the Manufacturer Defendants and
 5
     members of the Opioid Marketing Enterprise amounted to a common course of conduct intended
 6
 7   to increase the Manufacturer Defendants’ sales from prescription opioids by encouraging the

 8   prescribing and use of opioids for long-term, chronic pain. The scheme was a continuing course
 9
     of conduct, and many aspects of it continue to the present.
10
                321.    The Manufacturer Defendants, Front Groups and the KOLs thus worked
11
     together to promote the goals of the Opioid Marketing Enterprise.
12
13                      c. The Pattern of Racketeering Activity

14              322.    The Manufacturer Defendants’ scheme was perpetrated through multiple acts
15   of mail fraud and wire fraud that constituted a pattern of racketeering activity.
16
                323.    This pattern of racketeering activity involved thousands of separate instances
17
     of the use of the U.S. Mail or interstate wire facilities, including misrepresentations,
18
19   concealments, and material omissions regarding the beneficial uses and non-addictive qualities

20   of prescription opioids for the long-term treatment of chronic, non-acute, and non-cancer pain,
21   with the goal of profiting from increased sales of the Manufacturer Defendants’ opioids.
22
                324.    Each of these fraudulent mailings and interstate wire transmissions
23
     constitutes a separate act of racketeering activity, and collectively, these violations constitute a
24
25   pattern of racketeering activity.

26              325.    The Manufacturer Defendants devised and knowingly carried out an illegal
27


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 1   scheme and artifice to defraud by means of materially false or fraudulent pretenses,

 2   representations, promises, or omissions of material facts regarding the safe, non-addictive, and
 3
     effective use of opioids for long-term, chronic, non-acute, and non-cancer pain. The
 4
     Manufacturer Defendants and members of the Opioid Marketing Enterprise knew that these
 5
     representations violated the FDA-approved use of these drugs, and were not supported by actual
 6
 7   evidence. The Manufacturer Defendants used the U.S. Mail and interstate wire facilities,

 8   intentionally and knowingly, with the specific intent to defraud and to advance their illegal
 9
     scheme.
10
                326.    The Manufacturer Defendants, the Front Groups, and the KOLs engaged in
11
     a fraudulent and unlawful course of conduct constituting a pattern of racketeering activity by
12
13   intentionally concealing the material risks and affirmatively misrepresenting the benefits of

14   using opioids for chronic pain to prescribers, regulators, the public, and the Plaintiff.
15
                327.    The Manufacturer Defendants’ use of the U.S. Mail and interstate wire
16
     facilities to perpetrate the fraudulent marketing of opioids involved thousands of
17
     communications, publications, representations, statements, electronic transmissions, and
18
19   payments, including, inter alia:

20                  a. Marketing materials about opioids and their risks and benefits, which
21                      Manufacturer Defendants, Front Groups, and KOLs published and
22
                        transmitted to healthcare providers located across the country through the
23
                        Internet and television;
24
25                  b. Written representations and telephone calls between the Manufacturer

26                      Defendants and Front Groups regarding the misrepresentations, marketing
27


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 1                 statements, and claims about opioids, including the non-addictive, safe use

 2                 of prescription opioids for chronic long-term pain generally;
 3
                c. Written representations and telephone calls between the Manufacturer
 4
                   Defendants and KOLs regarding the misrepresentations, marketing
 5
                   statements, and claims about opioids, including the non-addictive, safe use
 6
 7                 of prescription opioids for chronic long-term pain generally;

 8              d. E-mails, telephone calls, and written communications between the
 9
                   Manufacturer Defendants and the Front Groups agreeing to or
10
                   implementing the scheme for the fraudulent marketing of opioids;
11
                e. E-mails, telephone calls, and written communications between the
12
13                 Manufacturer Defendants and the KOLs agreeing to or implementing the

14                 scheme for the fraudulent marketing of opioids;
15              f. Communications between the Manufacturer Defendants, Front Groups, and
16
                   the media regarding publication, drafting of treatment guidelines, and the
17
                   dissemination of the same as part of the Opioid Marketing Enterprise;
18
19              g. Communications between the Manufacturer Defendants, KOLs, and the

20                 media regarding publication, drafting of treatment guidelines, and the
21                 dissemination of the same as part of the Opioid Marketing Enterprise;
22
                h. Written and oral communications directed to state agencies, Federal and
23
                   state courts, and private insurers throughout the country that fraudulently
24
25                 misrepresented the risks and benefits of using opioids for chronic pain; and

26              i. Receipts of increased profits—the wrongful proceeds of the scheme—sent
27


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 1                      through the U.S. Mail and interstate wire facilities.

 2              328.    In addition to the above-referenced predicate acts, it was intended by and
 3
     foreseeable to the Manufacturer Defendants that the Front Groups and the KOLs would distribute
 4
     publications through the U.S. Mail and by interstate wire facilities, and, in those publications,
 5
     claim that the benefits of using opioids for chronic pain outweighed the risks of doing so.
 6
 7              329.    The Manufacturer Defendants, and each member of the Opioid Marketing

 8   Enterprise, agreed, with knowledge and intent, to the overall objective of the Manufacturer
 9
     Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts
10
     of fraud in marketing prescription opioids.
11
                330.    Indeed, for the Manufacturer Defendants’ fraudulent scheme to work, each of
12
13   them had to agree to implement similar tactics regarding fraudulent marketing of prescription

14   opioids. This conclusion is supported by the fact that the Manufacturer Defendants each financed,
15
     supported, and worked through the same KOLs and Front Groups, and often collaborated on and
16
     mutually supported the same publications, presentations, and prescription guidelines.
17
                331.    The Manufacturer Defendants’ predicate acts all had the purpose of creating
18
19   the opioid epidemic that substantially injured the Plaintiff’s business and property, while

20   simultaneously generating billion-dollar revenues and profits for the Manufacturer Defendants.
21
     The predicate acts were committed or caused to be committed by the Manufacturer Defendants
22
     through their participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent
23
     scheme.
24
25
26
27


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 1              2. The Opioid Supply Chain Enterprise

 2                  a. The Common Purpose and Scheme of the Opioid Supply Chain Enterprise
 3
                332.    In addition to the Opioid Marketing Enterprise, there existed a second,
 4
     separate enterprise. For more than a decade, all Defendants worked together in an illicit
 5
 6   enterprise, engaging in illegal conduct with the common purpose and achievement of vastly

 7   increasing their respective profits and revenues by exponentially expanding a market that the
 8
     law intended to restrict (the “Opioid Supply Chain Enterprise”).
 9
                333.    As “registrants” under the CSA, Defendants are duty bound to identify and
10
11   report “orders of unusual size, orders deviating substantially from a normal pattern, and orders of

12   unusual frequency.” Critically, Defendants’ responsibilities do not end with the products they
13   manufacture or distribute—there is no such limitation in the law because their duties cut across
14
     company lines. Thus, when Defendants obtain information about the sales and distribution of other
15
     companies’ prescription opioid products (including both name-brand prescription opioids and their
16
17   generic equivalents), they were legally obligated to report that activity to the DEA. On information

18   and belief, the Defendants did in fact obtain such data through data mining companies.
19              334.    Defendants breached their duties under the CSA. Through the connections
20
     they made as a result of their participation in the HDA, Defendants chose to flout the closed
21
     system designed to protect citizens. Publicly, in 2008, they announced their formulation of
22
23   “Industry Compliance Guidelines: Reporting Suspicious Orders and Prevention of Diversion of

24   Controlled Substances.” But, privately, Defendants refused to act. Indeed, despite the issuance of
25   these Industry Compliance Guidelines (which recognize Defendants’ duties under the law), none
26
     of them complied. This noncompliance is illustrated by the subsequent industry-wide
27


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 1   enforcement actions and consent orders issued after that time.

 2               335.     Further, John Gray, President and CEO of the HDA, said to Congress in 2014,
 3
     it is “difficult to find the balance between proactive and anti-diversion efforts while not
 4
     inadvertently limiting access to appropriately prescribed and dispensed medications.”128 Yet,
 5
     Defendants apparently all found the same profit-maximizing balance and intentionally remained
 6
 7   silent to ensure the largest possible financial return.

 8               336.     Defendants breached their duties under the CSA, and the breaches were part
 9
     of a common purpose and scheme. At all relevant times, Defendants operated as an association-
10
     in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues, and profits by
11
     fraudulently increasing the quotas set by the DEA that would allow them to benefit collectively
12
13   from a greater pool of prescription opioids. In support of this common purpose and fraudulent

14   scheme, Defendants jointly agreed to disregard their statutory duties to identify, investigate, halt,
15
     and report suspicious orders of opioids and diversion of their drugs into the illicit market. Their
16
     collective silence in the face of their duties to speak constituted concealment of their wrongdoing
17
     that effectively kept it hidden from the public and the Plaintiff until government and media
18
19   investigation revealed sufficient information to bring their wrongful conduct causing the opioid

20   epidemic to light, leading to the Complaint in this matter.
21               b. The Conduct of the Opioid Supply Chain Enterprise
22
                 337.     At all relevant times, Defendants exerted control over, conducted, and/or
23
     participated in the Opioid Supply Chain Enterprise by fraudulently claiming that they were
24
25   128
       Improving Predictability and Transparency in DEA and FDA Regulation: Hearing Before the Subcomm. on
     Health of the H. Comm. on Energy and Commerce, 113th Cong. (2014) (statement of John Gray, President and
26   CEO, HDA), https://www.gpo.gov/fdsys/pkg/CHRG-113hhrg90872/html/CHRG-113hhrg90872.htm.
27


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 1   complying with their duties to identify, investigate, and report suspicious orders of opioids.

 2              338.    Defendants disseminated false and misleading statements to Federal and state
 3
     regulators claiming that:
 4
                        a. the quotas for prescription opioids should be increased; and
 5
                        b. they were complying with their obligations to: (i) maintain effective
 6
 7                          controls against diversion of their prescription opioids; (ii) design and

 8                          operate a system to disclose suspicious orders of prescription opioids;
 9
                            and (iii) notify the DEA of any suspicious orders or diversion of their
10
                            prescription opioids.
11
12              339.    The CSA and the Code of Federal Regulations require Defendants to make

13   reports to the DEA of any suspicious orders identified through the design and operation of their
14
     system to disclose suspicious orders. The failure to make reports as required by the CSA and
15
     Code of Federal Regulations amounts to a criminal violation of the statute. It also constitutes
16
     concealment of Defendants’ wrongful fulfillment of suspicious orders.
17
18              340.    Defendants knowingly and intentionally furnished false or fraudulent
19   information in their reports to the DEA about suspicious orders, and/or omitted material
20
     information from reports, records, and other documents required to be filed with the DEA,
21
     including the Manufacturer Defendants’ applications for production quotas. Specifically,
22
23   Defendants were aware of suspicious orders of prescription opioids and the diversion of their

24   prescription opioids into the illicit market, and failed to report this information to the DEA in
25   their mandatory reports and their applications for production quotas.
26
27


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 1                         c. The Pattern of Racketeering Activity

 2
                 341.      Defendants used, directed the use of, and/or caused to be used, thousands of
 3
     mail and interstate wire communications in service of their scheme through virtually uniform
 4
     misrepresentations, concealments, and material omissions regarding their compliance with their
 5
 6   mandatory reporting requirements and the actions necessary to carry out their unlawful goal of

 7   selling prescription opioids without reporting suspicious orders or the diversion of opioids into
 8
     the illicit market.
 9
                 342.      Defendants devised and knowingly carried out a scheme and/or artifice to
10
11   defraud by means of materially false or fraudulent pretenses, representations, promises, or

12   omissions of material facts when there was a duty to disclose.
13
                 343.      For the purpose of executing the illegal scheme, Defendants used the mail
14
     and interstate wires intentionally and knowingly with the specific intent to defraud and advance
15
16   the illegal scheme. These repeated acts of mail fraud and wire fraud constituted a pattern of

17   racketeering activities.
18
                 344.      Defendants’ use of the mail and interstate wires included, but was not limited
19
     to, the transmission, delivery, or shipment of the following by Defendants, or third parties that
20
21   foreseeably sent them as a result of Defendants’ illegal scheme:

22                   a. The prescription opioids themselves;
23
                     b. Documents and communications that supported and/or facilitated the
24
                           Defendants’ request for higher aggregate production quotas, individual
25
26                         production quotas, and procurement quotas;

27


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 1              c. Documents and communications that facilitated the manufacture, purchase,

 2                 and sale of prescription opioids;
 3
                d. Defendants’ DEA registrations;
 4
                e. Documents and communications that supported and/or facilitated
 5
 6                 Defendants’ DEA registrations;

 7              f. Defendants’ records and reports that were required to be submitted to the
 8
                   DEA pursuant to 21 U.S.C. § 827;
 9
                g. Documents and communications related to the Defendants’ mandatory DEA
10
11                 reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

12              h. Documents intended to facilitate the manufacture and distribution of the
13
                   Defendants’ prescription opioids, including bills of lading, invoices,
14
                   shipping records, reports, and correspondence;
15
16              i. Documents for processing and receiving payment for prescription opioids;

17              j. Payments from the Distributor Defendants to the Manufacturer Defendants;
18
                k. Rebates and chargebacks from the Manufacturer Defendants to the
19
                   Distributor Defendants;
20
21              l. Payments to the Defendants’ trade organizations, like the HDA, for

22                 memberships and/or sponsorships;
23
                m. Deposits of proceeds from the Defendants’ manufacture, distribution, and
24
                   sale of prescription opioids; and
25
26              n. Other documents and things, including electronic communications.

27


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 1               345.   Defendants (and/or their agents), for the purpose of executing the illegal

 2   scheme, sent and/or received (or caused to be sent and/or received) by mail or by private or
 3
     interstate carrier, shipments of prescription opioids and related documents affecting interstate
 4
     commerce.
 5
 6               346.   Defendants used the Internet and other electronic facilities to carry out their

 7   scheme and conceal the ongoing fraudulent activities. Specifically, the Defendants made
 8
     misrepresentations about their compliance with Federal and state laws requiring them to
 9
     identify, investigate, and report suspicious orders of prescription opioids and/or diversion of
10
     the same into the illicit market.
11
12               347.   At the same time, Defendants misrepresented the superior safety features of
13   their order monitoring programs, ability to detect suspicious orders, commitment to preventing
14
     diversion of prescription opioids, and their compliance with all Federal and state regulations
15
     regarding the identification and reporting of suspicious orders of prescription opioids.
16
17               348.   The mail and wire transmissions described herein were made in furtherance
18   of Defendants’ scheme and common course of conduct to deceive regulators, the public, and
19
     the Plaintiff into believing that Defendants were complying with their Federal and state
20
     obligations to identify and report suspicious orders of prescription opioids while Defendants
21
22   were knowingly allowing millions of doses of prescription opioids to be diverted into the illicit

23   drug market. Defendants’ scheme and common course of conduct was to increase or maintain
24   high production quotas for their prescription opioids from which they could profit.
25
                 349.   Many of the precise dates of the uses of the U.S. mail and interstate wire
26
27   facilities have been deliberately hidden by Defendants and cannot be alleged without access to


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 1   Defendants’ books and records. However, the Plaintiff has described the types of and, in some

 2   instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They
 3
     include thousands of communications to perpetrate and maintain the scheme, including the
 4
     things and documents described in the preceding paragraphs.
 5
 6                350.     The predicate acts constituted a variety of unlawful activities, each

 7   conducted with the common purpose of obtaining significant monies and revenues from the
 8
     sale of their highly addictive and dangerous drugs. The predicate acts also had the same or
 9
     similar results, participants, victims, and methods of commission. The predicate acts were
10
     related and not isolated events.
11
12                351.     The predicate acts all had the purpose of creating the opioid epidemic that
13   substantially injured the Plaintiff’s business and property, as well as the health and welfare of
14
     the people served by the Plaintiff, while simultaneously generating billion-dollar revenue and
15
     profits for Defendants. The predicate acts were committed or caused to be committed by
16
17   Defendants through their participation in the Opioid Supply Chain Enterprise and in furtherance

18   of its fraudulent scheme.
19
                  352.     As described above, Defendants were repeatedly warned, fined, and found
20
     to be in violation of applicable laws and regulations, and yet they persisted. The sheer volume
21
22   of enforcement actions against Defendants supports this conclusion that Defendants operated

23   through a pattern and practice of willfully and intentionally omitting information from their
24   mandatory reports to the DEA as required by 21 C.F.R. § 1301.74.129
25
       Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
     129
26
     Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
27


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 1              353.    By intentionally refusing to report and halt suspicious orders of their

 2   prescription opioids, Defendants engaged in a fraudulent scheme and unlawful course of
 3
     conduct constituting a pattern of racketeering activity.
 4
                3. Effects of the Opioid Marketing Enterprise and the Opioid Supply Chain
 5                 Enterprise
 6              354.    The Plaintiff’s injuries were proximately caused by Defendants’ racketeering
 7
     activity. The racketeering activity was undertaken with the express purpose of influencing the
 8
     medical community of which the Plaintiff is a part, and/or of profiting from such influence, and
 9
10   it directly caused the over-prescription, over-purchase, and over-consumption of name-brand

11   prescription opioids and their generic equivalents. But for Defendants’ misstatements and
12   omissions and the schemes employed by the Opioid Marketing Enterprise and the Opioid Supply
13
     Chain Enterprise, the Plaintiff would not be bearing the costs of the current opioid epidemic.
14
                355.    By reason of, and as a result of the conduct of each of the Defendants, and in
15
16   particular, their pattern of racketeering activity, the Plaintiff has been injured in their business

17   and property in multiple ways, including, but not limited to, increased program and operational

18   costs.
19
                356.    Defendants’ violations of 18 U.S.C. § 1962(c) have directly and proximately
20
     caused injuries and damages to the Plaintiff, and the Plaintiff is entitled to bring this action for
21
22   three times their actual damages, as well as injunctive/equitable relief, costs, and reasonable

23   attorneys’ fees pursuant to 18 U.S.C. § 1964(c).
24
25
26
27


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 1      V.      CAUSES OF ACTION

 2                                 COUNT 1: VIOLATION OF RICO
                                         18 U.S.C. § 1961 et seq.
 3
                                   OPIOID MARKETING ENTERPRISE
 4                                  (Against Manufacturing Defendants)

 5              357.    The Plaintiff incorporates by reference all preceding paragraphs of this
 6
     Complaint as if fully set forth herein and further alleges as follows.
 7
 8              358.    At all relevant times, the Manufacturer Defendants were and are “persons”

 9   under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or
10   beneficial interest in property.”
11
                359.    The Opioid Marketing Enterprise was an association-in-fact enterprise
12
13   within the meaning of 18 U.S.C. § 1961(4) consisting of the Manufacturer Defendants, the

14   Front Groups, and the KOLs. The activities of this Enterprise affected interstate commerce.

15
                360.    At all relevant times, the Opioid Marketing Enterprise: (a) had an existence
16
     separate and distinct from each member of the Opioid Marketing Enterprise; (b) was separate
17
     and distinct from the pattern of racketeering in which the Manufacturer Defendants engaged;
18
19   (c) was an ongoing and continuing organization consisting of individuals, persons, and legal

20   entities, including each of the Manufacturer Defendants; (d) was characterized by interpersonal
21
     relationships between and among each member of the Opioid Marketing Enterprise, including
22
     between the Manufacturer Defendants and each of the Front Groups and KOLs; (e) had
23
     sufficient longevity for the Opioid Marketing Enterprise to pursue its purpose; and (f)
24
25   functioned as a continuing unit.

26
                361.    In particular, each of the Manufacturer Defendants, KOLs, and Front Groups
27


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 1   that made up the Opioid Marketing Enterprise had systematic links to, and personal

 2   relationships with, each other through: (a) joint participation in lobbying groups; (b) trade
 3
     industry organizations; (c) contractual relationships; and (d) continuing coordination of
 4
     activities. These systematic links and personal relationships allowed members of the Opioid
 5
     Marketing Enterprise to act with a common purpose and to conduct and participate in the
 6
 7   conduct of the Opioid Marketing Enterprise. Specifically, each of the Manufacturer Defendants

 8   coordinated their efforts through the same KOLs and Front Groups, based on their agreement
 9
     and understanding that the Front Groups and KOLs were industry-friendly and would work
10
     together with the Manufacturer Defendants to advance the common purpose of the Opioid
11
     Marketing Enterprise.
12
13              362.    Each of the Manufacturer Defendants and the other members of the Opioid
14   Marketing Enterprise conducted and participated in the conduct of the Opioid Marketing
15
     Enterprise by playing a role in furthering the Enterprise’s common purpose of increasing profits
16
     and sales through the knowing and intentional dissemination of false and misleading
17
18   information about the safety and efficacy of long-term opioid use.

19              363.    Specifically, the Manufacturer Defendants: (1) through the use of Front
20
     Groups that appeared to be independent of the Manufacturer Defendants; (2) through the
21
     dissemination of publications that supported the Manufacturer Defendants’ scheme; (3) through
22
23   continuing medical education (CME) programs controlled and/or funded by the Manufacturer

24   Defendants; (4) by the hiring and deployment of so-called KOLs who were paid by the
25   Manufacturer Defendants to promote their message; and (5) through the “detailing” activities
26
     of the Manufacturer Defendants’ sales forces, conducted an association-in-fact enterprise,
27


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 1   and/or participated in the conduct of that enterprise through a pattern of illegal activities (the

 2   predicate racketeering acts of mail and wire fraud) to carry out the common purpose of the
 3
     Opioid Marketing Enterprise.
 4
                  364.   The Opioid Marketing Enterprise sought to further this common purpose
 5
 6   through a fraudulent scheme to change prevailing views and prescribing habits within the

 7   medical community, as well as public perception about the safety and efficacy of opioid use. In
 8
     so doing, each of the Manufacturer Defendants conducted and participated in the conduct of
 9
     the Opioid Marketing Enterprise by engaging in mail and wire fraud in violation of 18 U.S.C.
10
     § 1962(c).
11
12                365.   Together with the Front Groups and KOLs, the Manufacturer Defendants
13   formed an association-in-fact enterprise, the Opioid Marketing Enterprise, for the purpose of
14
     increasing unlawful profits and revenues from the continued prescription and use of name-
15
     brand prescription opioids and their generic equivalents for long-term, chronic pain and through
16
17   creating widespread dependency on, and addiction to, opioids.

18                366.   The Manufacturer Defendants each worked together to coordinate the
19
     Opioid Marketing Enterprise’s goals and conceal their role, and the Opioid Marketing
20
     Enterprise’s existence, from the medical community and the public by, among other things: (a)
21
22   funding, editing, and distributing publications that supported and advanced their false

23   messages; (b) funding KOLs to promote their false messages; (c) funding, editing, and
24   distributing CME programs to advance their false messages; and (d) tasking their own
25
     employees to direct deceptive marketing materials and pitches directly at physicians and, in
26
     particular, at physicians lacking the expertise of pain care specialists (that is, sales detailing).
27


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 1              367.    Each of the Front Groups helped disguise the role of the Manufacturer

 2   Defendants by purporting to be unbiased, independent patient-advocacy and professional
 3
     organizations in order to disseminate patient education materials—a body of biased and
 4
     unsupported scientific “literature,” and “treatment guidelines” that promoted the Manufacturer
 5
     Defendants’ false messages.
 6
 7              368.    Each of the KOLs was a physician chosen and paid by one or more of the
 8
     Manufacturer Defendants to influence prescribers’ habits by promoting the Manufacturer
 9
     Defendants’ false messages through, among other things, writing favorable journal articles and
10
     delivering supportive CMEs as if they were independent medical professionals, thereby further
11
12   obscuring the Manufacturer Defendants’ role in the Opioid Marketing Enterprise and the Opioid

13   Marketing Enterprise’s existence.
14
                369.    The Manufacturer Defendants conducted and participated in the conduct of
15
     the Opioid Marketing Enterprise through a pattern of racketeering activity within the meaning
16
17   of 18 U.S.C. § 1961(5) that employed the use of mail and interstate wire facilities, in violation

18   of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud), to increase profits and revenue by
19   changing medical thinking, prescriber habits, and public perceptions in order to increase the
20
     prescription and use of prescription opioids.
21
22              370.    The Manufacturer Defendants, with knowledge and intent, agreed to the

23   overall objective of their fraudulent scheme and participated in the common course of conduct
24   to commit acts of fraud.
25
                371.    Indeed, for the Manufacturer Defendants’ fraudulent scheme to work, each of
26
     the Manufacturer Defendants had to agree to implement similar tactics.
27


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 1              372.   The Manufacturer Defendants’ predicate acts of racketeering activity (18

 2   U.S.C. § 1961(1)) consisted of:
 3
                   a. Mail Fraud: The Manufacturer Defendants violated 18 U.S.C. § 1341 by
 4
                       sending or receiving, or by causing to be sent and/or received, materials via
 5
                       U.S. mail or commercial interstate carriers for the purpose of executing the
 6
 7                     unlawful scheme to design, manufacture, market, and sell the prescription

 8                     opioids by means of false pretenses, misrepresentations, false promises, and
 9
                       omissions.
10
                   b. Wire Fraud: The Manufacturer Defendants violated 18 U.S.C. § 1343 by
11
                       transmitting and/or receiving, or by causing to be transmitted and/or received,
12
13                     materials by interstate wires for the purpose of executing the unlawful

14                     scheme to design, manufacture, market, and sell the prescription opioids by
15                     means of false pretenses, misrepresentations, false promises, and omissions.
16
                373.   Each of the Manufacturer Defendants not only violated the above laws but
17
18   also aided and abetted others in the violation of the above laws, thereby rendering the

19   Manufacturer Defendants indictable as principals.
20
                374.   As summarized herein, the Manufacturer Defendants used the mail and
21
     interstate wires to send or receive thousands of communications, publications, representations,
22
23   statements, electronic transmissions, and payments to carry out the Opioid Marketing

24   Enterprise’s fraudulent scheme.
25
                375.   Because the Manufacturer Defendants disguised their participation in the
26
     Opioid Marketing Enterprise, and worked to keep even the Opioid Marketing Enterprise’s
27


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 1   existence secret so as to give the false appearance that their false messages reflected the views

 2   of independent third parties, many of the precise dates of the Opioid Marketing Enterprise’s uses
 3
     of the U.S. Mail and interstate wire facilities (and corresponding predicate acts of mail and wire
 4
     fraud) have been hidden and cannot be alleged without access to the books and records
 5
     maintained by the Manufacturer Defendants, Front Groups, and KOLs. Indeed, an essential part
 6
 7   of the successful operation of the Opioid Marketing Enterprise depended upon secrecy.

 8   However, Plaintiff has described occasions on which the Manufacturer Defendants, Front
 9
     Groups, and KOLs disseminated misrepresentations and false statements to prescribers,
10
     consumers, and regulators, and how those acts were in furtherance of the scheme.
11
                376.    The Manufacturer Defendants each committed, conspired to commit, and/or
12
13   aided and abetted in the commission of, at least two predicate acts of racketeering activity (i.e.,

14   violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of
15
     racketeering activity that the Manufacturer Defendants committed, conspired to commit, and/or
16
     aided and abetted in the commission of, were related to each other, posed a threat of continued
17
     racketeering activity and/or constituted continuous racketeering activity, and therefore
18
19   constituted a “pattern of racketeering activity.” The racketeering activity was made possible by

20   the Manufacturer Defendants’ regular use of the facilities, services, distribution channels, and
21   employees of the Opioid Marketing Enterprise. The Manufacturer Defendants participated in the
22
     scheme to defraud by using mail and interstate wires (including telephones and the Internet) in
23
     interstate or foreign commerce.
24
25              377.    As described herein, the Manufacturer Defendants engaged in a pattern of
26   related and continuous acts for years. Each instance of racketeering activity alleged herein was
27


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 1   related, had similar purposes, involved the same or similar participants and methods of

 2   commission, and had similar results affecting similar victims, including consumers, prescribers,
 3
     regulators, and the Plaintiff.
 4
                 378.    The predicate acts constituted a variety of unlawful activities, each conducted
 5
 6   with the common purpose of obtaining significant money and revenue from the marketing and

 7   sale of their highly addictive and dangerous drugs.
 8
                 379.    The Manufacturer Defendants, Front Groups, and KOLs intentionally crafted
 9
     their fraudulent scheme in accordance with the common purpose of the Opioid Marketing
10
11   Enterprise to ensure that their own profits—and the rewards of the scheme meted out to the Front

12   Groups and KOLs—remained high. In designing and implementing the scheme, the
13   Manufacturer Defendants understood and intended that those in the medical community and the
14
     pharmaceutical distribution chain would rely on the integrity of the pharmaceutical companies
15
     and ostensibly neutral third parties to provide objective and scientific evidence regarding the
16
17   Manufacturer Defendants’ products.

18               380.    The racketeering activities conducted by the Manufacturer Defendants, Front
19
     Groups, and KOLs amounted to a common course of conduct, with a similar pattern and purpose,
20
     intended to deceive the medical community, prescribers, consumers, and regulators. The
21
22   Manufacturer Defendants have engaged in the pattern of racketeering activity for the purpose of

23   conducting the ongoing affairs of the Opioid Marketing Enterprise.
24
                 381.    The pattern of racketeering activity alleged herein is continuing as of the date
25
     of this Complaint and, upon information and belief, will continue into the future unless enjoined
26
27   by this Court. The last racketeering incident occurred within five years of the commission of a


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 1   prior incident of racketeering.

 2
                  382.   The Manufacturer Defendants’ violations of law and their pattern of
 3
     racketeering activity directly and proximately caused the Plaintiff’s injury in their business and
 4
     property. The Manufacturer Defendants’ pattern of racketeering activity was undertaken with
 5
 6   the express purpose of influencing the medical community of which the Plaintiff is a part, and/or

 7   of profiting from such influence, and it logically, substantially, and foreseeably caused an opioid
 8
     epidemic. The Plaintiff’s injuries in responding to that epidemic were not unexpected,
 9
     unforeseen, or independent. Rather, as the Plaintiff alleges, the Manufacturer Defendants knew
10
     that the opioids were unsuited to treatment of long-term, chronic, non-acute, and non-cancer
11
12   pain, or for any other use not approved by the FDA, and knew that opioids were highly addictive

13   and subject to abuse. They further knew that widespread use of prescription opioids could lead
14   to widespread opioid addiction and therefore misuse. Nevertheless, the Manufacturer Defendants
15
     engaged in a scheme that utilized the mail and interstate wires in order to carry out the Opioid
16
     Marketing Enterprise’s fraudulent scheme, thereby increasing the market for and sales of their
17
18   opioid products.

19                383.   Specifically, the Manufacturer Defendants’ creation of, and then participation
20
     in, the Opioid Marketing Enterprise through a pattern of racketeering activities to carry out their
21
     fraudulent scheme has injured the Plaintiff in the form of substantial losses of money and
22
23   property that logically, directly, and foreseeably arose from the opioid epidemic. The Plaintiff’s

24   injuries, as alleged throughout this Complaint, are hereby expressly incorporated herein by
25   reference.
26
                  384.   The Plaintiff is the most directly harmed, and there is no other plaintiff better
27


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 1   suited to seek a remedy for the economic harms at issue here. Among other things, no other party

 2   is responsible for the unreimbursed costs of services provided to the Plaintiff’s beneficiaries and
 3
     other qualifying individuals, or for the overhead and programmatic costs described in this
 4
     Complaint.
 5
                                   COUNT 2: VIOLATION OF RICO
 6
                                         18 U.S.C. § 1961 et seq.
 7                                OPIOID SUPPLY CHAIN ENTERPRISE
                                        (Against All Defendants)
 8
                  385.   The Plaintiff incorporates by reference all preceding paragraphs of this
 9
10   Complaint as if fully set forth herein and further alleges as follows.

11                386.   At all relevant times, the Defendants were and are “persons” under 18 U.S.C.
12
      § 1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial interest
13
      in property.”
14
                  387.   The Defendants together formed an association-in-fact enterprise, the Opioid
15
16   Supply Chain Enterprise, for the purpose of increasing the quota for and profiting from the

17   increased volume of opioid sales in the United States, including but not limited to creating a
18
     market for non-medical use of opioids of epidemic proportions. The Opioid Supply Chain
19
     Enterprise was an association-in-fact enterprise within the meaning of 18 U.S.C. § 1961(4)
20
     consisting of the Defendants. The activities of the Opioid Supply Chain Enterprise affected
21
22   interstate commerce.

23                388.   At all relevant times, the Opioid Supply Chain Enterprise: (a) had an existence
24
     separate and distinct from each member of the Opioid Supply Chain Enterprise; (b) was separate
25
     and distinct from the pattern of racketeering in which the Defendants engaged; (c) was an ongoing
26
     and continuing organization consisting of legal entities, including each of the Defendants; (d)
27


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 1   was characterized by interpersonal relationships between and among each member of the Opioid

 2   Supply Chain Enterprise, i.e., the Defendants; (e) had sufficient longevity for the Opioid Supply
 3
     Chain Enterprise to pursue its purpose; and (f) functioned as a continuing unit. Each member of
 4
     the Opioid Supply Chain Enterprise participated in the conduct of the Enterprise through a pattern
 5
     of racketeering activity, and shared in the astounding growth of profits supplied by fraudulently
 6
 7   inflating opioid quotas and the resulting sales.

 8              389.     Many of the Defendants are members, participants, and/or sponsors of the
 9
     HDA/HDMA, and have been since at least 2006, and utilized the HDA/HDMA to form the
10
     systematic links and interpersonal relationships of the Opioid Supply Chain Enterprise and to
11
     assist the Defendants in engaging in the pattern of racketeering activity that gives rise to this
12
13   Count.

14              390.     The Defendants conducted and participated in the conduct of the Opioid
15
     Supply Chain Enterprise through a pattern of racketeering activity within the meaning of 18
16
     U.S.C. § 1961(5).
17
                391.     The pattern of racketeering activity of the Opioid Supply Chain Enterprise
18
19   included the use of mail and interstate wire facilities, in furtherance of a scheme to defraud

20   Federal and state regulators, the American public, and the Plaintiff in violation of 18 U.S.C. §
21
     1341 (mail fraud) and § 1343 (wire fraud).
22
                392.     The pattern of racketeering activity of the Opioid Supply Chain Enterprise
23
     also included the felonious manufacture, importation, receiving, concealment, buying, selling, or
24
25   otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

26   Controlled Substance Act), punishable under the laws of the United States.
27


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 1              393.    Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful for any person

 2   knowingly or intentionally to furnish false or fraudulent information in, or omit any material
 3
     information from, any application, report, record, or other document required to be made, kept,
 4
     or filed under that subchapter. A violation of 21 U.S.C. § 843(a)(4) is punishable by up to four
 5
     years in jail, making it a felony. 21 U.S.C. § 843(d)(1). The Defendants violated 21 U.S.C. §
 6
 7   843(a)(4) by knowingly and intentionally furnishing false information in, and omitting material

 8   information from, reports, records, and other documents required to be made, kept, and filed
 9
     under the relevant subchapter of Title 21 of the United States Code.
10
                394.    The Defendants, with knowledge and intent, agreed to the overall objective of
11
     their fraudulent scheme and participated in the common course of conduct to commit acts of
12
13   fraud.

14              395.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants
15
     had to agree to implement similar tactics.
16
                396.    In sum, the Defendants’ predicate acts of racketeering activity (18 U.S.C.
17
     § 1961(1)) consisted of:
18
19                  a. Mail Fraud: The Defendants violated 18 U.S.C. § 1341 by sending or

20                      receiving, or by causing to be sent and/or received, materials via U.S. mail
21
                        or commercial interstate carriers for the purpose of executing the unlawful
22
                        scheme to design, manufacture, market, and sell the prescription opioids by
23
                        means of false pretenses, misrepresentations, false promises, and omissions.
24
25                  b. Wire Fraud: The Defendants violated 18 U.S.C. § 1343 by transmitting

26                      and/or receiving, or by causing to be transmitted and/or received, materials
27


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 1                      by interstate wire for the purpose of executing the unlawful scheme to

 2                      design, manufacture, market, and sell the prescription opioids by means of
 3
                        false pretenses, misrepresentations, false promises, and omissions.
 4
                    c. Controlled Substance Violations: The Defendants who are Distributor
 5
                        Defendants violated 21 U.S.C. § 843 by knowingly or intentionally
 6
 7                      furnishing false or fraudulent information in, and/or omitting material

 8                      information from, documents filed with the DEA.
 9
                 397.   Each of the Defendants not only violated the above laws but aided and abetted
10
     others in the violation of the above laws, thereby rendering Defendants indictable as principals.
11
                 398.   Many of the precise dates of the Defendants’ criminal actions at issue here
12
13   have been hidden by Defendants and cannot be alleged without access to Defendants’ books and

14   records. Indeed, an essential part of the successful operation of the Opioid Supply Chain
15   Enterprise alleged herein depended upon secrecy.
16
                 399.   The Defendants hid from the general public and suppressed and/or ignored
17
     warnings from third parties, whistleblowers, and governmental entities about the reality of the
18
19   suspicious orders that the Defendants were filling on a daily basis—leading to the diversion of

20   hundreds of millions of doses of name-brand and generic prescription opioids into the illicit
21   market.
22
                 400.   The Defendants committed, conspired to commit, and/or aided and abetted in
23
     the commission of, at least two predicate acts of racketeering activity within the past ten years.
24
25               401.   The multiple acts of racketeering activity that the Defendants committed,

26   conspired to commit, and/or aided and abetted in the commission of, were related to each other,
27


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 1   posed a threat of continued racketeering activity and/or constituted continuous racketeering

 2   activity, and therefore constituted a “pattern of racketeering activity.” The racketeering activity
 3
     was made possible by the Defendants’ regular use of the facilities, services, distribution
 4
     channels, and employees of the Opioid Supply Chain Enterprise.
 5
                402.    As described herein, the Defendants engaged in a pattern of related and
 6
 7   continuous predicate acts for years. Each instance of racketeering activity alleged herein was

 8   related, had similar purposes, involved the same or similar participants and methods of
 9
     commission, and had similar results affecting similar victims, including consumers, prescribers,
10
     regulators, and the Plaintiff. The predicate acts consisted of a variety of unlawful activities, each
11
     conducted with the common purpose of obtaining significant monies and revenues from the
12
13   distribution and sale of their highly addictive and dangerous drugs. The predicate acts were not

14   isolated or sporadic events.
15              403.    The predicate acts all had the purpose of creating the opioid epidemic that
16
     substantially injured the Plaintiff’s business and property, as well as the health and welfare of
17
     the people served by the Plaintiff, while simultaneously generating billion-dollar revenue and
18
19   profits for the Defendants. The predicate acts were committed or caused to be committed by the

20   Defendants through their participation in the Opioid Supply Chain Enterprise and in furtherance
21   of its fraudulent scheme.
22
                404.    The pattern of racketeering activity alleged herein is continuing as of the date
23
     of this Complaint and, upon information and belief, will continue into the future unless enjoined
24
25   by this Court.

26              405.    By intentionally refusing to report and halt suspicious orders of their
27


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 1   prescription opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct

 2   constituting a pattern of racketeering activity.
 3
                 406.    It was foreseeable to the Defendants that the Plaintiff would be harmed when
 4
     they refused to report and halt suspicious orders, because their violation of the duties imposed
 5
     by the CSA and Code of Federal Regulations allowed the widespread diversion of name-brand
 6
 7   and generic prescription opioids out of appropriate medical channels and into the illicit drug

 8   market—causing the opioid epidemic that the CSA intended to prevent.
 9
                 407.    The last racketeering incident occurred within five years of the commission
10
     of a prior incident of racketeering.
11
                 408.    The Defendants’ violations of law and their pattern of racketeering activity
12
13   directly and proximately caused the Plaintiff’s injury in their business and property. The

14   Defendants’ pattern of racketeering activity, including their refusal to identify, report, and halt
15   suspicious orders of controlled substances, logically, substantially, and foreseeably caused an
16
     opioid epidemic. The Plaintiff was injured and continues to be injured by the Defendants’ pattern
17
     of racketeering activity and the opioid epidemic that it created.
18
19               409.    Defendants knew that the opioids they manufactured and supplied were

20   unsuited to treatment of long-term, chronic, non-acute, and non-cancer pain, or for any other use
21   not approved by the FDA, and knew that opioids were highly addictive and subject to abuse.
22
     Nevertheless, in order to increase sales of their opioid products, the Defendants engaged in a
23
     scheme of deception by refusing to identify or report suspicious orders of prescription opioids
24
25   that they knew were actually being diverted into the market of non-medical use. They did so by

26   utilizing the mail and interstate wires as part of their fraud.
27


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 1              410.    The Defendants’ predicate acts and pattern of racketeering activity were a

 2   proximate cause of the opioid epidemic that has injured the Plaintiff in the form of substantial
 3
     losses of money and property that logically, directly, and foreseeably arise from the opioid
 4
     epidemic brought on by the Defendants’ acts.
 5
                411.    Specifically, the predicate acts and pattern of racketeering activity
 6
 7   proximately caused the Plaintiff’s injuries, as alleged throughout this Complaint, and such

 8   allegations are expressly incorporated herein by reference.
 9
                412.    The Plaintiff is most directly harmed, and there is no other plaintiff better
10
     suited to seek a remedy for the economic harms at issue here. Among other things, no other
11
     party is responsible for the unreimbursed costs of services provided to the Plaintiff’s
12
13   beneficiaries and other qualifying individuals, or for the overhead and programmatic costs

14   described in this Complaint.
15                                  COUNT 3: PUBLIC NUISANCE
16                                     (Against All Defendants)

17              413.    The Plaintiff incorporates by reference all preceding paragraphs of this
18   Complaint as if fully set forth herein and further alleges as follows.
19
                414.    Public nuisance is an unreasonable interference with a right common to the
20
     general public, such as a condition dangerous to health, offensive to community moral standards,
21
22   or unlawfully obstructing the public in the free use of public property.

23              415.    Defendants’ conduct, as described in the Complaint, involves a significant
24   interference with the public health, the public safety, the public peace, the public comfort or the
25
     public convenience, and unreasonably interferes with a public right.
26
                416.    Manufacturer Defendants knew and should have known that their promotion
27


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 1   of opioids was false and misleading and that their deceptive marketing practices and other

 2   unlawful, unfair, and fraudulent actions would create or assist in the creation of a public nuisance.
 3
                417.    Distributor Defendants likewise knew and should have known that their failure
 4
     to use reasonable care or comply with statutory requirements in the distribution of prescription
 5
     opioids, including the failure to implement effective controls and procedures in their supply
 6
 7   chains to guard against theft, diversion, and misuse of controlled substances and to adequately

 8   design and implement a system to detect, halt, and report suspicious orders, would create or assist
 9
     in the creation of a public nuisance.
10
                418.    By these actions, all Defendants have created or assisted in the creation of a
11
     condition that is injurious to public health and safety and offensive to community moral standards
12
13   throughout the State of Alaska and within the geographic areas and patient population served by

14   the Plaintiff. That nuisance is the over-saturation of opioids, as well as the adverse social,
15   economic, and human health outcomes associated with widespread illegal opioid use, including
16
     injury, addiction, and death.
17
                419.    The Defendants’ actions in creating or assisting in the creation of this
18
19   nuisance were a legal cause of significant harm to the Plaintiff that is different in kind, and not

20   just degree, from the harm to the general public. Plaintiff is responsible for the provision of health
21   care and other social and governmental services to Alaska Natives, American Indians, and other
22
     eligible individuals in the geographic areas they serve pursuant to agreements with the federal
23
     government under the ISDEAA. The provision of such services is in furtherance of the unique
24
25   federal trust responsibility to Alaska Natives and American Indians. In addition, Plaintiff provides

26   public safety and other services to the communities it serves. The resources available to the
27


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 1   Plaintiff to carry out its responsibilities have been and are being unreasonably consumed, as

 2   described above, in efforts to address the opioid epidemic, costing the Plaintiff considerable sums
 3
     of money; diverting available resources needed in other health care areas and for other social and
 4
     governmental services that are part of the federal trust responsibility; and frustrating the Plaintiff’s
 5
     ability to meet its responsibilities and carry out its mission under federal laws and agreements.
 6
 7   The Plaintiff has also suffered unique harms of a kind that are different from those suffered by

 8   the Tribes it represents, and from the public at large, namely that the Plaintiff has been harmed in
 9
     its proprietary interests.
10
                 420.    The public nuisance is substantial and unreasonable. Defendants’ actions
11
     caused and continue to cause the public health epidemic and state of emergency described in this
12
13   Complaint, and that harm outweighs any offsetting benefit.

14               421.    Defendants’ actions were, at the very least, a substantial factor in opioids
15   becoming widely available and widely used, in deceiving prescribers and patients about the risks
16
     and benefits of opioids for the treatment of chronic pain, in the diversion of prescription opioids
17
     for illicit purposes, and in the public health crisis that followed and has reached a state of
18
19   emergency.

20               422.    The public nuisance—i.e., the opioid epidemic—created, perpetuated, and
21   maintained by Defendants can be abated, and further recurrence of such harm can be abated.
22
                 423.    The Plaintiff has been, and continues to be, injured by Defendants’ actions in
23
     creating a public nuisance.
24
25               424.    Defendants should be required to pay the expenses the Plaintiff has incurred

26   or will incur in the future to fully abate the nuisance.
27


     COMPLAINT - 140


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 1                      COUNT 4: NEGLIGENCE AND GROSS NEGLIGENCE
                                    (Against All Defendants)
 2
                425.     The Plaintiff incorporates by reference all preceding paragraphs of this
 3
 4   Complaint as if fully set forth herein and further alleges as follows.

 5              426.     Each Defendant owed and owes a non-delegable duty of care to the Plaintiff,
 6
     including, but not limited to, the duty to exercise due care in the advertising, marketing,
 7
     promotion, sale and distribution of dangerous opioid drugs; the duty not to make false,
 8
     misleading, or deceptive statements about opioids; and the duty to take reasonable steps to
 9
10   prevent diversion, misuse, and abuse of prescription opioid drugs.

11              427.     Defendants knew, or should have known, that they breached the duties
12
     described above.
13
                428.     As set forth above, Defendants’ negligent acts include falsely claiming that
14
     the risk of opioid addiction was low; falsely instructing doctors and patients that prescribing
15
16   more opioids was appropriate when patients presented symptoms of addiction; falsely claiming

17   that risk-mitigation strategies could safely address concerns about addiction; falsely claiming
18   that doctors and patients could increase opioid usage indefinitely without added risk; deceptively
19
     marketing that purported abuse-deterrent technology could curb misuse and addiction; falsely
20
     claiming that long-term opioid use could actually restore function and improve a patient’s quality
21
22   of life; and consciously oversupplying the market for opioids in the State of Alaska and the

23   geographic area served by the Plaintiff. These actions were intended to, and foreseeably did,
24   inflate the market for opioids in Alaska and the geographic areas served by the Plaintiff.
25
26
27


     COMPLAINT - 141


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 1              429.    In addition, each Defendant knew or should have known, and/or recklessly

 2   disregarded, that the opioids they manufactured, promoted, and/or distributed were being used
 3
     for unintended uses.
 4
                430.    For instance, Defendants failed to exercise slight care to the Plaintiff by, inter
 5
     alia, failing to take appropriate action to stop opioids from being used for unintended purposes,
 6
 7   including the failure to report suspicious orders or refuse to fill them or otherwise to provide

 8   effective controls and procedures to guard against theft and diversion. Furthermore, despite each
 9
     Defendant’s actual or constructive knowledge of the wide proliferation and dissemination of
10
     opioids in Alaska and the geographic areas served by the Plaintiff, Defendants took no action to
11
     prevent the abuse and diversion of their pharmaceutical drugs.
12
13              431.    Defendants knew or should have known, and/or recklessly disregarded, the

14   fact that the Plaintiff, as a health care provider, would be forced to incur costs and divert
15   resources to treat opioid-affected patients and otherwise respond to the opioid epidemic brought
16
     about by Defendants’ actions, including the cost of unreimbursed care. Further, Plaintiff has been
17
     forced to incur spending on other means to address the crisis. The aforementioned conduct of
18
19   Defendants proximately caused damage to the Plaintiff including increased healthcare and other

20   program costs, and lost productivity.
21              432.    But for Defendants’ actions, opioid use would not have become so
22
     widespread, including within the geographic area and among the population served by the
23
     Plaintiff, and the enormous public health hazard of prescription opioid and heroin overuse, abuse,
24
25   and addiction that now exists would have been averted.

26
27


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 1              433.    As a direct and proximate cause of Defendants’ unreasonable and negligent

 2   conduct, the Plaintiff has suffered and will continue to suffer harm, and is entitled to damages in
 3
     an amount determined at trial.
 4
                                   COUNT 5: NEGLIGENCE PER SE
 5                                     (Against All Defendants)
 6
                434.    The Plaintiff incorporates by reference all preceding paragraphs of this
 7
     Complaint as if fully set forth herein and further alleges as follows.
 8
                435.    All Defendants were obligated to prevent the diversion of prescription opioids
 9
10   under the CSA and its implementing regulations.

11              436.    The CSA and its implementing regulations were enacted to promote safety
12
     and to prevent exactly the type of harm that occurred as a result of Defendants’ failures.
13
                437.    For negligence per se, the court may adopt as the standard of conduct the
14
     requirements of a legislative enactment or administrative regulation when the purpose of that
15
16   legislation or regulation is found to be exclusively or in part: (a) to protect a class of persons

17   which includes the one whose interest is invaded; (b) to protect the particular interest which is
18   being invaded; (c) to protect that interest against the kind of harm which has resulted; and (d) to
19
     protect that interest against the particular hazard from which the harm results. Estate of Logusak
20
     ex rel. Logusak v. City of Togiak, 185 P.3d 103, 107 (Alaska 2008). As long as the legislative
21
22   enactment is “not too obscure, outdated or irrational to operate as a standard of reasonable care,

23   the court will instruct the jury that violation of a statute establishes negligence per se.” Sinclair
24   v. Okata, 874 F. Supp. 1051, 1062 (D. Alaska 1994).
25
                438.    The Plaintiff belongs to the class of persons that the statute was designed to
26
     protect, because the CSA was designed to protect the public from the harms that may be caused
27


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 1   by the diversion of dangerous drugs from legal to illegal channels and uses. Plaintiff has suffered

 2   harms, as detailed above, of the sort contemplated by the CSA because of Defendants’ failures,
 3
     among other things, to prevent the diversion of opioids.
 4
                439.    Defendants’ conduct was negligent per se in that Defendants failed to perform
 5
     their statutory and regulatory obligations under the CSA.
 6
 7              440.    Defendants’ breaches of their duty of care foreseeably and proximately

 8   caused damage to the Plaintiff, as alleged above.
 9
                441.    The Plaintiff is entitled to damages from Defendants in an amount to be
10
     determined in this litigation.
11
                                  COUNT 6: UNJUST ENRICHMENT
12
                                      (Against All Defendants)
13
                442.    The Plaintiff incorporates by reference all preceding paragraphs of this
14
     Complaint as if fully set forth herein and further alleges as follows.
15
16              443.    Defendants have unjustly retained a benefit to the Plaintiff’s detriment, and

17   Defendants’ retention of that benefit violates the fundamental principles of justice, equity, and
18   good conscience.
19
                444.    The Plaintiff has expended substantial amounts of money to address, remedy,
20
     and/or mitigate the harms caused by Defendants’ conduct, including providing unreimbursed
21
22   health care and otherwise having to manage the crisis of opioid addiction, overdose, injury, and

23   death that Defendants helped create.
24              445.    For example, the expenditures by the Plaintiff in providing treatment services
25
     to people who use or are affected by opioids have added to Defendants’ wealth. Plaintiff also
26
     provides public safety and other services. These expenditures should have been borne by the
27


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 1   Defendants, and instead the Plaintiff has helped to sustain Defendants’ business.

 2               446.    The Plaintiff has conferred a benefit upon Defendants, by paying for what
 3
     may be called Defendants’ externalities—the costs of the harm caused by Defendants’ negligent
 4
     distribution and sales practices. This includes providing treatment services to people who use or
 5
     are affected by opioids. It includes necessary training and retraining to correct the
 6
 7   misinformation that patients, doctors and the general public, including members served by the

 8   Plaintiff, have received.
 9
                 447.    Defendants were aware they were receiving this obvious benefit.
10
                 448.    Meanwhile, Defendants made substantial profits while fueling the opioid
11
     epidemic in Alaska and the geographic area and patient population served by the Plaintiff.
12
13               449.    Defendants continue to receive considerable profits from the distribution of

14   controlled substances in Alaska and the geographic area served by the Plaintiff.
15               450.    It would be inequitable for Defendants to retain the full benefit or financial
16
     advantage of their wrongdoing without paying for the externalities necessarily borne by the
17
     Plaintiff, and Defendants should be disgorged of money retained by reason of their deceptive
18
19   and illegal acts.

20               451.    Because the Defendants were unjustly enriched, the Plaintiff is entitled to
21   recover from Defendants’ prescription opioid profits the amounts the Plaintiff has spent and will
22
     have to spend in the future to address the effects of Defendants’ actions.
23
                                   COUNT 7: CIVIL CONSPIRACY
24                                    (Against All Defendants)
25
                 452.    The Plaintiff incorporates by reference all preceding paragraphs of this
26
     Complaint as if fully set forth herein and further alleges as follows.
27


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 1              453.    A civil conspiracy claim requires (1) two or more persons (or entities); (2) an

 2   object to be accomplished; (3) a meeting of minds on the object or course of action; (4) one or
 3
     more unlawful, overt acts; and (5) damages as the proximate result. Hensel v. Allstate Ins. Co.,
 4
     2007 WL 5613094; see 16 Am.Jur. 2d Conspiracy § 51.
 5
                454.    The Defendants engaged in a civil conspiracy by agreeing to participate in a
 6
 7   campaign to accomplish the goals of flooding the market with false and misleading information

 8   about the safety of prescription opioid use for the treatment of chronic pain, evading controls on
 9
     opioid diversion, and increasing opioid quotas.
10
                455.    The Defendants did so in an effort to profit off the increased sales of
11
     prescription opioids.
12
13              456.    Each Defendant took one or more unlawful, overt act, including making false

14   or misleading statements directly and through third parties to further the objectives of their
15   conspiracy. These overt acts, as further described above, include but are not limited to acts of
16
     mail fraud and wire fraud in furtherance of the Enterprises, and violations of the CSA.
17
                457.    The Plaintiff was directly and proximately harmed by the Defendants’ civil
18
19   conspiracy, as alleged in this Complaint, in an amount to be determined in this litigation.

20               COUNT 8: FRAUD AND NEGLIGENT MISREPRESENTATION
                             (Against Manufacturer Defendants)
21
22              458.    The Plaintiff incorporates by reference all preceding paragraphs of this

23   Complaint as if fully set forth herein and further alleges as follows.
24              459.    Manufacturer      Defendants       made      fraudulent   and/or       negligent
25
     misrepresentations and omissions of material fact about the use of opioids as part of a widespread
26
     misinformation campaign, as more fully described in Paragraphs 150 to 193 and throughout
27


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 1   Complaint, which are specifically incorporated here by reference. These misrepresentations and

 2   omissions include:
 3
                   a. Defendant Purdue, with assistance from Defendant Abbott from 1996 through
 4
                          2002, made and/or disseminated deceptive statements, including, but not
 5
                          limited to, the following: (a) advertising that opioids improved long-term
 6
 7                        functioning and were suitable for the treatment of chronic non-cancer pain;

 8                        (b) promoting the concept of pseudo-addiction; (c) brochures concerning
 9
                          indicators of possible opioid abuse; (d) suitability of opioids for high-risk
10
                          patients; (e) publications presenting an unbalanced treatment of the long-term
11
                          and dose-dependent risks of opioids versus NSAIDs; (f) concealment of
12
13                        funding of pro-opioid KOL doctors regarding treatment for chronic non-

14                        cancer pain; (g) downplaying of the risks of opioid addiction; (h) CMEs
15                        promoting the use of opioids to treat chronic non-cancer pain; (i) promotion
16
                          of misleading scientific studies regarding the safety and efficacy of opioids
17
                          for long-term treatment of chronic non-cancer pain; (j) misuse and promotion
18
19                        of data to mask the true safety and efficacy of opioids for the long-term

20                        treatment of chronic non-cancer pain, including rates of abuse and addiction
21                        and the lack of validation for long-term efficacy; (k) misleading statements in
22
                          education materials for doctors and staff across the United States and in
23
                          Alaska under the guise of educating them on new pain standards; (l) in-person
24
25                        detailing; and (m) withholding from law enforcement the names of

26                        prescribers Purdue believed to be facilitating the diversion of its products,
27


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 1                 while simultaneously marketing opioids to these doctors by disseminating

 2                 patient and prescriber education materials and advertisements and CMEs.
 3
                b. Defendant Endo made and/or disseminated deceptive statements, including,
 4
                   but not limited to, the following: (a) false patient education materials; (b)
 5
                   advertising the ability of opioids to improve function long-term and the
 6
 7                 efficacy of opioids long-term for the treatment of chronic non-cancer pain;

 8                 (c) promoting chronic opioid therapy as safe and effective for long term use
 9
                   for high- risk patients; (d) creating and disseminating advertisements that
10
                   falsely and inaccurately conveyed the impression that Endo’s opioids would
11
                   provide a reduction in oral, intranasal, or intravenous abuse; (e) concealing
12
13                 the true risk of addiction and promoting the misleading concept of pseudo-

14                 addiction; (f) promoting an unbalanced treatment of the long-term and dose-
15                 dependent risks of opioids versus NSAIDs; (g) secretly funding pro-opioid
16
                   KOLs, who made deceptive statements concerning the use of opioids to treat
17
                   chronic non-cancer pain; (h) funding pro-opioid pain organizations
18
19                 responsible for egregious misrepresentations concerning the use of opioids to

20                 treat chronic non-cancer pain; (i) downplaying the risks of opioid addiction
21                 in the elderly; (j) CMEs containing deceptive statements concerning the use
22
                   of opioids to treat chronic non-cancer pain; (k) misleading scientific studies
23
                   concluding opioids are safe and effective for the long-term treatment of
24
25                 chronic non-cancer pain and quality of life, while concealing contrary data;

26                 (l) funding and promoting pro-opioid KOLs concerning the use of opioids to
27


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 1                 treat chronic non-cancer pain, including the concept of pseudo-addiction; (m)

 2                 manipulation of data regarding safety and efficacy of opioids for the long-
 3
                   term treatment of chronic non-cancer pain, including known rates of abuse
 4
                   and addiction and the lack of validation for long-term efficacy; and (n) in-
 5
                   person detailing.
 6
 7              c. Defendant Janssen made and/or disseminated deceptive statements,

 8                 including, but not limited to, the following: (a) patient education materials
 9
                   containing deceptive statements regarding the suitability, benefits, and
10
                   efficacy of opioids; (b) stating that opioids were safe and effective for the
11
                   long-term treatment of chronic non-cancer pain; (c) stating that opioids
12
13                 improve quality of life, while concealing contrary data; (d) concealing the true

14                 risk of addiction; (e) promoting the deceptive concept of pseudo-addiction;
15                 (f) promoting opioids for the treatment of conditions for which Janssen knew,
16
                   due to the scientific studies it conducted, that opioids were not efficacious,
17
                   and concealing this information; (g) presenting to the public and doctors an
18
19                 unbalanced treatment of the long-term and dose-dependent risks of opioids

20                 versus NSAIDs; (h) funding pro-opioid KOLs, who made deceptive
21                 statements concerning the use of opioids to treat chronic non-cancer pain; (i)
22
                   funding pro-opioid pain organizations that made deceptive statements,
23
                   including in patient education materials, concerning the use of opioids to treat
24
25                 chronic non-cancer pain; (j) using CMEs to promote false statements

26
27


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 1                 concerning the use of opioids to treat chronic non-cancer pain; and (k) in-

 2                 person detailing.
 3
                d. Defendant Cephalon made and/or disseminated untrue, false, and deceptive
 4
                   statements including, but not limited to, the following: (a) minimizing the risk
 5
                   of opioid addiction; (b) promoting the deceptive concept of pseudo-addiction;
 6
 7                 (c) advocating the use of opioids for chronic non-cancer pain; (d) funding

 8                 misleading CMEs, KOL doctors, and pain organizations; (e) minimizing the
 9
                   addictiveness of Cephalon’s potent rapid-onset opioids; and (f) promoting the
10
                   suitability of Cephalon’s rapid-onset opioids to general practitioners,
11
                   neurologists, sports medicine specialists, and workers’ compensation
12
13                 programs.

14              e. Defendant Insys made and/or disseminated untrue, false, and deceptive
15                 statements including, but not limited to, the following: (a) minimizing the risk
16
                   of opioid addiction; (b) promoting the deceptive concept of pseudo-addiction;
17
                   and (c) advocating the use of opioids for chronic non-cancer pain by funding
18
19                 pain organizations and KOLs. Further, Insys, through its sales representatives

20                 and other marketing efforts, deceptively promoted Subsys as safe and
21                 appropriate for uses such as neck and back pain, without disclosing the lack
22
                   of approval or evidence for such uses, and misrepresented the appropriateness
23
                   of Subsys for treatment of those conditions. Insys further implemented a
24
25                 kickback scheme wherein it paid prescribers for fake speakers programs in

26                 exchange for prescribing Subsys.
27


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 1                  f. Defendants Actavis and Mallinckrodt made and/or disseminated deceptive

 2                      statements, including, but not limited to, the following: (a) promotion of use
 3
                        of opioids to treat chronic non-cancer pain to prescribers throughout the
 4
                        country and in Alaska through in-person detailing; (b) advertising that opioids
 5
                        were safe and effective for the long-term treatment of chronic non-cancer pain
 6
 7                      and that opioids improved quality of life; and (c) advertising that concealed

 8                      the risk of addiction in the long-term treatment of chronic non-cancer pain.
 9
                460.    Manufacturer Defendants knew or reasonably should have known that their
10
     statements were untrue, and they failed to correct these misrepresentations and omissions. The
11
     misrepresentations and omissions were recklessly or negligently made.
12
13              461.    Manufacturer Defendants made those misrepresentations and omissions in an

14   intentional effort to deceive health care providers, physicians, and the general public throughout
15   the United States and Alaska. Manufacturer Defendants intended that healthcare providers,
16
     physicians, and the public would rely on these statements and omissions.
17
                462.    Manufacturer Defendants knew or reasonably should have known that the
18
19   statements and omissions would and did, in fact, deceive physicians, health care providers, their

20   patients, and the public throughout the United States, including Alaska, including physicians and
21   other health care providers serving the Plaintiff and its patients. These deceptive acts had the
22
     intent and effect of inducing over-prescription, over-reliance, and over-use of prescription
23
     opioids.
24
25
26
27


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 1              463.    As a direct       and proximate result        of      Manufacturer   Defendants’

 2   misrepresentations and material omissions, the Plaintiff has suffered and continues to suffer
 3
     damages in an amount to be determined in this litigation.
 4
           COUNT 9: VIOLATIONS OF THE ALASKA UNFAIR TRADE PRACTICES
 5                       AND CONSUMER PROTECTION ACT
                                 AS 45.50.471, et seq.
 6
                               (Against All Defendants)
 7
                464.    The Plaintiff incorporates by reference all preceding paragraphs of this
 8
     Complaint as if fully set forth herein and further alleges as follows.
 9
10              465.    The Alaska Unfair Trade Practices and Consumer Protection Act is codified at

11   AS 45.50.471 et seq. (UTPA).
12
                466.    The UTPA prohibits unfair methods of competition and unfair or deceptive
13
     acts or practices in the conduct of trade or commerce.
14
                467.    All Defendants are engaged in trade or commerce in the State of Alaska.
15
16              468.    Defendants violated the UTPA by engaging in deceptive trade practices

17   through the marketing, advertising, and distribution of opioids. These violations include:
18                  a. Representing that prescription opioids have sponsorship, approval,
19
                        characteristics, ingredients, uses, benefits, or quantities that they do not have,
20
                        in violation of AS 45.50.47 l(b)(4);
21
22                  b. Disparaging the goods, services, or business of another by false or misleading

23                      representation of fact, in violation of AS 45.50.471(7);
24                  c. Engaging in other conduct creating a likelihood of confusion or of
25
                        misunderstanding and which misled, deceived, or damaged a buyer or a
26
                        competitor in connection with the sale or advertisement of goods or services,
27


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 1                  in violation of AS 45.50.471(b)(11); and

 2              d. Using or employing deception, fraud, false pretense, false promise,
 3
                    misrepresentation, or knowingly concealing, suppressing, or omitting a
 4
                    material fact with intent that others rely upon the concealment, suppression, or
 5
                    omission in connection with the sale or advertisement of goods or services, in
 6
 7                  violation of AS 45.50.471(b)(12).

 8           469.   The violations include, but are not limited to, deceptively and misleadingly:
 9
                a. Denying that pain patients would become addicted to opioids;
10
                b. Omitting that opioids are highly addictive and may result in overdose or death;
11
                c. Claiming that signs of addiction were “pseudo-addiction” reflecting
12
13                  undertreated pain, and should be responded to with more opioids;

14              d. Claiming that the risk of addiction to opioids could be managed and avoided
15                  through risk screening tools and other strategies;
16
                e. Claiming that opioid doses can be increased, without disclosing the greater
17
                    risks of addiction, other injury, or death at higher doses;
18
19              f. Misleadingly comparing opioids and NSAIDs, including overstating the risks

20                  of NSAIDs and citing risks of NSAIDs without disclosing risks of opioids;
21              g. Claiming that opioids are an appropriate treatment for chronic pain, and failing
22
                    to disclose the lack of long-term evidence for their use;
23
                h. Claiming chronic opioid therapy would improve patients' function and quality
24
25                  of life;

26              i. Claiming that “extended release” opioids provided long-lasting pain relief,
27


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 1                        and failing to disclose that they do not for many patients;

 2                  j. Claiming abuse-deterrent opioids reduce addiction and abuse and are safer
 3
                          than other opioids, and failing to disclose that they do not limit oral abuse, can
 4
                          be defeated with relative ease, and may increase overall abuse; and
 5
                    k. Promoting themselves as cooperating with law enforcement and taking any
 6
 7                        available steps to prevent opioid abuse.

 8              470.      These deceptive acts and practices had the capacity and tendency to deceive
 9
     and were capable of being interpreted in a misleading way. In fact, these deceptive acts and
10
     practices were reasonably calculated to deceive, and did in fact deceive, medical professionals
11
     and the public at large for the purposes of increasing Defendants’ profits for the manufacturing
12
13   and distributing of opioids.

14              471.      Defendants’ acts and practices were also unfair under AS 45.50.471(a). These
15   acts or practices, which relied on deceptive marketing and other misrepresentation to promote
16
     addictive drugs that patients would be unable to stop taking, were immoral, unethical, oppressive,
17
     or unscrupulous, caused substantial injury to consumers and businesses, and violated public
18
19   policy, including, among others, the State of Alaska’s efforts to curb the opioid epidemic (which

20   has become so severe that Governor Walker issued a Declaration of Disaster due to a statewide
21   “public health emergency”) and the policy, reflected in 21 U.S.C. 823(e); 21 C.F.R. 1301.74(b)
22
     and AS 17.30.020 & 17.30.080, aimed at reducing diversion and requiring reporting of suspicious
23
     orders of opioids.
24
25              472.      Defendants’ acts and practices also constituted unfair competition. At all

26   times relevant to this Complaint, Defendants promoted opioids as superior to other competing
27


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 1   analgesics, such as NSAIDs, and exaggerated the risks of NSAIDs while ignoring risks of adverse

 2   effects of opioids.
 3
                 473.      As a direct result of the foregoing deceptive acts and practices, Defendants
 4
     obtained income, profits, and other benefits that they would not otherwise have obtained.
 5
                 474.      The Plaintiff has suffered actual damages, including an ascertainable loss of
 6
 7   money or property, as a result of Defendants’ conduct, in violation of AS 45.50.471. The Plaintiff

 8   has paid significant sums of money treating eligible patients for opioid-related conditions, and
 9
     has incurred other costs to address the opioid epidemic as described in this Complaint.
10
                 475.      Pursuant to A.S. 45.50.531 and A.S. 45.50.537, the Plaintiff is entitled to
11
     actual and treble damages in amounts to be determined at trial, attorneys’ fees and costs, and other
12
13   relief the court considers necessary and proper.

14                            COUNT 10: STRICT PRODUCTS LIABILITY
                              DESIGN DEFECT AND FAILURE TO WARN
15                                 (Against Manufacturer Defendants)
16
                 476.      The Plaintiff incorporates by reference all preceding paragraphs of this
17
     Complaint as if fully set forth herein and further alleges as follows.
18
19               477.      At all times material and relevant to this action, Manufacturer Defendants’

20   opioids were defective in design and failed to perform as safely as an ordinary consumer would
21   expect when used in an intended or reasonably foreseeable manner because: (1) Manufacturer
22
     Defendants’ opioids carried far greater risk and actual rate of addiction than the public was lead
23
     to believe; (2) Manufacturer Defendants’ opioids failed to provide functional improvement for
24
25   chronic pain patients and caused side effects, including addiction, that diminished their function

26   and quality of life; and (3) Purdue’s OxyContin failed to provide the 12-hour relief promised,
27


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 1   and its end-of-dose failure fueled addiction and abuse.

 2               478.    Under the circumstances, which include Manufacturer Defendants’ unfair and
 3
     deceptive marketing and their failure to change their opioids’ labels to account for post-
 4
     marketing information, the Manufacturer Defendants failed to provide adequate warnings that:
 5
     (a) clearly indicated the scope of the risk or danger posed by their opioids; (b) reasonably
 6
 7   communicated the extent or seriousness of harm that could result from this risk or danger; and

 8   (c) were conveyed in a manner that would alert a reasonably prudent person.
 9
                 479.    Manufacturer Defendants actually knew of the defective nature of their
10
     opioids, but continued to market and sell them without proper warning, and with
11
     misrepresentations and omissions that contradicted and undermined their drug labels, in order to
12
13   increase sales and profits, in conscious disregard for the foreseeable harm caused by these drugs.

14               480.    Manufacturer Defendants knew their opioids would be used by the consumer
15   without inspection for defect and that physicians, health care providers and patients would rely
16
     on Defendants' representations that the product was safe.
17
                 481.    As a proximate cause and legal result of Manufacturer Defendants’ opioids’
18
19   failure to perform as reasonably expected and Manufacturer Defendants’ failure to appropriately

20   warn of known and reasonably knowable dangers associated with the use of their opioids, the
21   Plaintiff has suffered and will continue to suffer damages as outlined in this Complaint.
22
                                        PRAYER FOR RELIEF
23
            WHEREFORE, the Plaintiff respectfully requests judgment in its favor granting the
24
25   following relief:

26          a)      Entering Judgment in favor of the Plaintiff in a final order against each of the
27


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 1              Defendants;

 2        b)    An award of actual, compensatory, consequential, and incidental damages in an
 3
                amount to be determined at trial;
 4
          c)    An award of all damages resulting from Defendants’ violation of 18 U.S.C. §
 5
                1962(c) and (d), including prejudgment interest, the sum trebled pursuant to 18
 6
 7              U.S.C. § 1962(c);

 8        d)    An Order obligating Defendants to disgorge all revenues and profits derived from
 9
                their scheme;
10
          e)    An Order ordering that Defendants compensate the Plaintiff for past and future
11
                costs to abate the ongoing public nuisance caused by the opioid epidemic;
12
13        f)    An Order ordering Defendants to fund an “abatement fund” for the purposes of

14              abating the public nuisance;
15        g)    Injunctive relief prohibiting Defendants from continuing their wrongful conduct;
16
          h)    An Order that the conduct alleged herein violates the Alaska UTPA and that the
17
                Plaintiff is entitled to treble damages pursuant to the Alaska UTPA;
18
19        i)    An award of the Plaintiff’s costs, including reasonable attorney’s fees, pursuant

20              to 18 U.S.C. § 1964(c) and/or any applicable provision of law, including the
21              Alaska UTPA;
22
          j)    Pre- and post-judgment interest as allowed by law; and
23
          k)    Any other relief deemed just, proper, and/or equitable.
24
25
26
27


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 1          PLAINTIFF DEMANDS A JURY TRIAL ON ALL CLAIMS SO TRIABLE

 2
     DATED: December 17, 2018
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 5
                                        By:   s/ Geoffrey D. Strommer
 6
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